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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 EASTON TECHNICAL PRODUCTS,
 Inc. a Utah corporation and JAS. D.
 EASTON, INC. a Delaware Corporation;                    Case No. 1:18-cv-01222 RGA

         Plaintiff,                                         (Jury Trial Demanded)

 v.

 FERADYNE OUTDOORS, LLC, a
 Delaware corporation,

         Defendant.

                         JOINT CLAIM CONSTRUCTION CHART

        Pursuant to the Court’s Scheduling Orders (Dkt. 14, 31), Plaintiffs Easton Technical

Products, Inc. and Jas D. Easton (collectively “Easton”) and Defendant FeraDyne Outdoors, LLC

(“FeraDyne”) respectfully submit this Joint Claim Construction Chart.

       Claim Chart
       Attachment A is a joint claim chart identifying the disputed claim terms, each party’s
proposed construction of each disputed term, and the intrinsic evidence supporting each party’s
proposed construction.

        Asserted Patents
        Attachment B is a copy of U.S. Patent No. 7,004,859.

        Attachment C is a copy of U.S. Patent No. 7,374,504.

        Intrinsic Evidence
        Attachment D is a copy of U.S. Patent No. 7,270,618.

        Attachment E is a copy of U.S. Patent No. 7,115,055.

        Attachment F contains excerpts from the relevant file history.




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                                                             ATTACHMENT A
                                                          U.S. Patent No. 7,004,859
Claim Term        Plaintiffs’ Proposed         Plaintiffs’ Intrinsic         Defendant’s Proposed           Defendant’s Intrinsic Evidence
(claim 1)         Construction                 Evidence                      Construction
“internal fit     A non-outsert arrow          (Exhibit F) August 24,        An internal insert             (Exhibit B) ’859 patent, Claim 1;
component”        component, (such as          2006 Response to Office       component that is              3:22-25; 3:27-30; 7:52-54; 8:54 –
                  nocks, points, or inserts)   Action (File History of       receptive of a point and       9:18; Figs. 1, 5C, 5D, 5E;
                  that does not extend         U.S. Patent No.               fits inside the end of an
                  beyond the outside           7,270,618);                   arrow shaft, the insert        (Exhibit D) U.S. Patent No.
                  diameter of the shaft                                      being disposed completely      7,270,618, Claim 1;
                                               (Exhibit F) December 20,      within the end of the shaft.
                                               2006 Interview Summary                                       (Exhibit E) U.S. Patent No.
                                               (File History of U.S.                                        7,115,055, Claim 7.
                                               Patent No. 7,270,618);

                                               (Exhibit F) April 5, 2007
                                               Interview Summary (File
                                               History of U.S. Patent No.
                                               7,270,618);

                                               (Exhibit F) April 27, 2007
                                               Response to Office Action
                                               (File History of U.S.
                                               Patent No. 7,270,618);

                                               (Exhibit B) ’859 patent at
                                               Figs. 5-6; 1:24-2:15; 2:65-
                                               3:18; 7:52-54; 14:31-40.




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“FRP”             Any combination of fiber       (Exhibit B) ’859 patent at   Any combination of          (Exhibit B) ’859 patent at 7:41-44.
                  or resin materials of which    1:15-23; 2:16-31; 2:42-64;   materials of which carbon
                  carbon is one, including       7:41-44; 11:15-40; 12:35-    is one.
                  without limitation fiber       58; 13:3-36; 14:31-39.
                  reinforced materials,
                  advanced composites, and
                  other material sets that
                  include only carbon

“FRP hunting      An FRP (as defined above       (Exhibit B) ’859 patent at   An FRP arrow shaft which    (Exhibit B) ’859 patent at 14:34-
arrow shaft”      re: “FRP”) arrow shaft that    1:15-23; 2:16-31; 2:42-64;   has spine/weight            36
                  is intended specifically for   7:38-44; 11:15-40; 12:35-    relationships useful for
                  hunting                        58; 13:3-36; 14:31-39.       hunting.

“hunting arrow Plain meaning: An arrow           (Exhibit B) ’859 patent at   An FRP arrow shaft which    (Exhibit B) ’859 patent at 14:34-
shaft”         shaft that is intended            7:38-40; 14:31-40.           has spine/weight            36.
               specifically for hunting                                       relationships useful for
                                                                              hunting.




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“an arrow shaft Plain meaning: An arrow       (Exhibit B) ’859 patent at   An arrow shaft with an            (Exhibit B) ’859 patent at 3:22-25;
to receive      shaft designed to receive     7:1-18, 7:66-9:18, 15:18-    internal opening, or non-         7:52-54.
internal fit    internal fit components       17:2                         zero inside diameter, at
components”                                                                one or both ends of the
                                                                           shaft to receive internal
                                                                           insert components.

“the spine or     Plain language within the  (Exhibit B) ’859 patent at    The spine or the outside          (Exhibit B) ’859 patent, Claim 1;
the outside       context of the invention   Fig. 12; 2:31-41; 3:33-47,    diameter falling on a plot        5:48-53.
diameter          comprising an “arrow shaft 14:24-16:46.                  of spine versus outside
falling on a      having a weight in                                       diameter below and to the
plot of spine     proportion to twenty-nine                                left of a straight line that is
versus outside    inches of arrow shaft”                                   defined by the equation
diameter                                                                   y = -10.66x + 3.46.
below and to      no construction needed
the left of a
straight line”

“straight line    Plain language within the  (Exhibit B) ’859 patent at    A straight line that extends      (Exhibit B) ’859 patent, Claim 1.
that includes     context of the invention   Fig. 12; 2:31-41; 3:33-47,    in both directions and
… a first point   comprising an “arrow shaft 14:24-16:46.                  passes through the first
… and a           having a weight in                                       and second points.
second point”     proportion to twenty-nine
                  inches of arrow shaft”

                  no construction needed




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                                                            U.S. Patent No. 7,374,504
Claim Term         Plaintiffs’ Proposed            Plaintiffs’ Intrinsic          Defendant’s Proposed             Defendant’s Intrinsic
(claim 1)          Construction                    Evidence                       Construction                     Evidence
“internal fit      A non-outsert arrow             (Exhibit F) August 24, 2006    An internal insert               (Exhibit C) ’504 patent,
component”         component, (such as nocks,      Response to Office Action      component that is receptive      Claim 1; 3:22-25; 3:27-30;
                   points, or inserts) that does   (File History of U.S. Patent   of a point and fits inside the   7:52-54; 8:54 – 9: 18;
                   not extend beyond the           No. 7,270,618);                end of an arrow shaft, the       Figs. 1, 5C, 5D, 5E;
                   outside diameter of the shaft                                  insert being disposed
                                                   (Exhibit F) December 20,       completely within the end of     (Exhibit D) U.S. Patent No.
                                                   2006 Interview Summary         the shaft.                       7,270,618, Claim 1;
                                                   (File History of U.S. Patent
                                                   No. 7,270,618);                                                 (Exhibit E) U.S. Patent No.
                                                                                                                   7,115,055, Claim 7.
                                                   (Exhibit F) April 5, 2007
                                                   Interview Summary (File
                                                   History of U.S. Patent No.
                                                   7,270,618);

                                                   (Exhibit F) April 27, 2007
                                                   Response to Office Action
                                                   (File History of U.S. Patent
                                                   No. 7,270,618);

                                                   (Exhibit C) ’504 patent at
                                                   Figs. 5-6; 1:24-2:15; 2:65-
                                                   3:18; 7:52-54; 15:18-27.




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“FRP”              Any combination of             (Exhibit C) ’504 patent at   Any combination of             (Exhibit C) ’504 patent at
                   materials of which carbon is   1:15-23; 2:16-31; 2:42-64;   materials of which carbon is   7:41-44.
                   one, including without         7:41-44; 11:15-43; 12:58-    one.
                   limitation fiber reinforced    13:14; 13:26-61; 15:18-28.
                   materials, advanced
                   composites, and other
                   material sets that include
                   only carbon, but not
                   including aluminum

“FRP hunting       An FRP (as defined above       (Exhibit C) ’504 patent at   An FRP arrow shaft which       (Exhibit B) ’504 patent at
arrow shaft”       re: “FRP”) arrow shaft that    1:15-23; 2:16-31; 2:42-64;   has spine/weight               15:22-24.
                   is intended specifically for   7:38-44; 11:15-43; 12:58-    relationships useful for
                   hunting                        13:14; 13:26-61; 15:18-28.   hunting.

“hunting arrow     Plain meaning: An arrow        (Exhibit C) ’504 patent at   An FRP arrow shaft which       (Exhibit C) ’504 patent at
shaft”             shaft that is intended         7:38-40; 15:18-28.           has spine/weight               15:22-24.
                   specifically for hunting                                    relationships useful for
                                                                               hunting.


“an arrow shaft    Plain meaning: An arrow        (Exhibit C) ’504 patent at   An arrow shaft with an         (Exhibit C) ’504 patent at
to receive         shaft designed to receive      7:1-18; 7:66-9:18; 16:5-     internal opening, or non-      3:22-25; 7:52-54.
internal fit       internal fit components        17:52.                       zero inside diameter, at one
components”                                                                    or both ends of the shaft to
                                                                               receive internal insert
                                                                               components.




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“the weight or     Plain language within the    (Exhibit C) ’504 patent at   The weight or the outside         (Exhibit C) ’504 patent,
the outside        context of the invention     Fig. 13; 2:31-41; 3:33-47,   diameter falling on a plot of     Claim 1; 5:47-53.
diameter falling   comprising “an arrow shaft   15:11-17:30.                 weight versus outside
on a plot of       … having an outside                                       diameter above and to the
weight versus      diameter and a weight in                                  left of a straight line that is
outside            proportion to twenty-nine                                 defined by the equation y =
diameter below     inches of arrow shaft”                                    4,333x – 1,001.
and to the left
of a straight      no construction needed
line”

“straight line     Plain language within the    (Exhibit C) ’504 patent at   A straight line that extends      (Exhibit C) ’504 patent,
that includes …    context of the invention     Fig. 13; 2:31-41; 3:33-47,   in both directions and passes     Claim 1.
a first point …    comprising “an arrow shaft   15:11-17:30.                 through the first and second
and a second       … having an outside                                       points.
point”             diameter and a weight in
                   proportion to twenty-nine
                   inches of arrow shaft”

                   no construction needed




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                              ATTACHMENT B
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                                                                                                            USOO7004859B2


 (12) United States Patent                                                              (10) Patent No.:                     US 7,004,859 B2
        Palomaki et al.                                                                 (45) Date of Patent:                            Feb. 28, 2006
 (54) ARROW SYSTEM                                                                          5,242,720 A          9/1993 Blake ........................ 428/34.5
                                                                                            5,273,293 A      12/1993 Lekavich .................... 273/416
 (75) Inventors: Teddy D. Palomaki, Park City, UT                                           5,291,875 A       3/1994 Koziol ......                126/41 R
                        (US); Jacob C. Smith, Salt Lake City,                               5,465.979 A      11/1995 Buhler ......                 ... 273/416
                        UT (US)                                                             5,496.042 A       3/1996 Craft et al. .               ... 273/421
                                                                                            5,516,117 A       5/1996 Rangel ......                ... 273/416
 (73) Assignee: Jas. D. Easton, Inc., Van Nuys, CA                                          :A                   5.                 r                 3.
                        (US)                                                                6,017,284. A         1/2000 Giles ......               ... 473/578
                                                - 0                                         6,241,634 B1         6/2001 Armer, Jr. ...             ... 473/581
 (*) Notice:            Subject to any disclaimer, the term of this                         6.251,036 B1         6/2001 Wu et al. ......         ... 473/578
                        patent is extended or adjusted under 35                             6,274,230 B1         8/2001 Sarrelongue ...            428/293.7
                        U.S.C. 154(b) by 0 days.                                            6,520,876 B1         2/2003 Eastman, II ................ 473/578
                                                                                            6,554,726 B1         4/2003 Thurber ...................... 473/578
 (21) Appl. No.: 11/012,740                                                           2003/0013565 A1            1/2003 Song ......                ... 473/578
                                                                                      2003/0073524 A1            4/2003 Song .............         ... 473/578
 (22) Filed:            Dec. 15, 2004                                                 2003/0104884 A1            6/2003 Eastman, II ................ 473/578
 (65)                      Prior Publication Data                                                      OTHER PUBLICATIONS
                                                                                     Bernan Products Catalog, 1999.
         US 2005/0148414A1 Jul. 7, 2005                                              Game Tracker Catalog, 1998.
              Related U.S. Application Data                                          Advertisement for Easton P/C All-Carbon Hunting Shaft,
                                                                                     date unknown.
 (62) Division of application No. 10/678.821, filed on Oct.
         3, 2003.                                                                    Primary Examiner John A. Ricci
                                                                                     (74) Attorney, Agent, or Firm-Holland & Hart
 (51) Int. Cl.
         F42B 6/04                  (2006.01)                                        (57)                         ABSTRACT
 (52) U.S. Cl. ...................................................... 473/578        The invention involves an arrow System having a shaft
 (58) Field of Classification Search ................ 473/578,                       having a first end and an insert receptive of a standard point,
                                                 473/582,583                         the insert being disposed completely within the first end of
      See application file for complete Search history.                              the shaft. An insert installation tool may be used as part of
                                                                                     the invention to facilitate insertion of the insert into the first
 (56)                      References Cited                                          end of the shaft. The invention further includes a reduced
                    U.S. PATENT DOCUMENTS                                            diameter hunting arrow shaft that maintains Sufficient Spine
                                                                                     and weight characteristics. The reduced diameter hunting
        3.277.893   A      10/1966    Clark ......................... 128/215        arrow shaft is receptive of Standard or non-Standard internal
        3,401,938   A       9/1968    Bear ....                 ... 273/106.5        components for increasing arrow penetration and shot accu
        4.203,601   A       5/1980    Simo .......................... 273/421        racy. Still further, the invention includes an arrow tip assem
        4,533,146   A       8/1985    Schaar ....................... 273/422         bly including a male insert and a female point to assist in
        4,706,965   A      11/1987    Schaar ....................... 273/416
        4,943,067   A       7/1990    Saunders .................... 273/416          aligning points with arrow shafts.
        5,035,764   A       7/1991    Blake ......................... 156/327
        5,090,149   A       2/1992    Muk Kim .................... 43/18.1                           7 Claims, 14 Drawing Sheets

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                            Fig. 1                          Fig. 2
                          (Prior Art)                      (Prior Art)
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                                Deflection (n) = Spine




                                       28 in.

                                    Fig. 3
                                  (Prior Art)




                                   Fig. 4A
                                  (Prior Art)


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                504                                                    536


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                                   Fig. 4B
                                  (Prior Art)
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                                         Fig. 5E
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             300    350    400       450      500     550   600     650    700
                                     Arrow Mass (Grains)
                                           Fig. 7
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                                   Arrow Mass (Grain)
                                             Fig. 8




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          11




                                   KE at Impact (ft-lbs)

                                             Fig. 9
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                        Gelatin Penetration
                           Depth (inches)
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                                   Spine (inch)
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                                                     US 7,004,859 B2
                               1                                                                      2
                       ARROW SYSTEM                                    rest can result in unpredictable disturbances during launch of
                                                                       the arrow, and therefore will affect the accuracy of the shot.
                 RELATED APPLICATION                                      Third, the point outsert 200 has a larger diameter relative
                                                                       to the diameter of the shaft, which makes the arrows
   This is a divisional of U.S. patent application Ser. No.       5    containing the point outsert 200 more difficult to extract
 10/678,821, filed 3 Oct. 2003.                                        from various targets as compared to arrows with insert
                                                                       components only. Use of the point outsert 200 often results
                       TECHNICAL FIELD                                 in damaged points and outserts 200, and further causes
                                                                       points and outserts 200 to detach from the arrow shaft and
    This invention relates to arrow Systems, including in              remain inside the target after the arrow is pulled from the
 particular hunting arrow Systems.                                     target. Points and/or outserts 200 lost inside a target may
                                                                       cause damage to Subsequent arrows that happen to impact
          BACKGROUND OF THE INVENTION                                  the target at the same location as the lost points or outserts.
                                                                       AS a result, Some commercial archery ranges have banned
                                                                  15   outsert-equipped arrow shafts.
   Many different types of arrows and arrow shafts are                    In an apparent attempt to address the limitations described
 known for use in hunting and Sport archery. One arrow type            above, modem FRP arrows with new types of construction
 of relatively recent design is the fiber reinforced polymer           have been developed. The typical modem FRP arrows
 (FRP) arrow. FRP is a generic term including, but not limited         include glass and/or carbon fibers arranged in multiple
 to, fiberglass composites and carbon fiber composites. Tra            directions, as opposed to the unidirectional fiber arrange
 ditional FRP arrow shafts have been typically produced by             ment of the earlier FRP arrows. The multi-directional fiber
 a number of different manufacturing processes. The first              arrangement (e.g., fibers that run perpendicularly or at an
 FRParrow shafts were constructed with unidirectional rein
 forcing fiberS aligned parallel to the axis of the Shaft.             angle relative to each other) increases the hoop strength of
                                                                       the shafts, which allows the shafts to Support greater internal
    Prior designs and processes for constructing FRP shafts       25   loads, including internal loads generated by insert compo
 resulted in a low circumferential or hoop Strength. The hoop          nents. Such modern FRP arrows have, however, been tra
 Strength of these arrow shafts was So low that the arrows             ditionally made having an outside diameter and wall thick
 could not withstand even Small internal loads applied in a            neSS of a size Sufficient to accommodate Standard-sized
 direction radially outwardly from the center of the shaft. For        inserts. These carbon-composite arrows were generally
 example, internal loads generated from inserting Standard             lighter than aluminum shafts, but were generally of the same
 components into the inside of these types of shafts would             Spine. “Spine' is an industry-standard measurement of
 have resulted in failure of the arrow shaft. Standard arrow           arrow shaft stiffness. Spine is measured according the
 components, Such as those shown in FIG. 1, include inserts            parameters shown in FIG. 3. As shown, a shaft 304 is
 100, points 116 ("point” as used herein means any structure           supported at two points 306 and 308, which are separated by
 formed at or secured to the forward or distal end of the         35   a distance of 28 inches. A 1.94 pound weight is applied at a
 arrow, including without limitation field points, broadheads,         mid point 310 of the shaft 304. The deflection 312 of the
 etc.), and nocks 102, all of which are mounted to an arrow            shaft 304 relative to the horizontal is defined as the “spine.”
 shaft 104. It should be noted that fletching, required for            An arrow must have certain spine characteristics, depending
 proper arrow flight, is not shown in the drawings, but is well        on its length and the draw weight of the archery bow, to
 understood by those skilled in the art.                          40   achieve proper flight. Generally, the heavier the draw weight
    Because insert components have not been practical for use          the Stiffer the spine (i.e., less deflection) must be.
 with the relatively small diameter FRP prior art shafts of               As a major portion of the archery market has moved
 types discussed above, externally attached components have            toward lighter weight shafts, the modem FRP arrow has
 been developed and used. FIG. 2 illustrates two such exter            gained widespread acceptance. Lighter arrow shafts have the
 nal components, known as “outserts' in the industry. The         45   principal advantage of higher Velocities when launched from
 term “outsert,” as it Suggests, refers to an arrow component          the same bow. Such higher velocities result in a flatter arrow
 that is inserted or installed over the outside diameter of the        trajectory. The practical advantage of flatter trajectory is that
 arrow. The two outserts shown in FIG. 2 include an outsert            a misjudgment by an archer of the range to a target has leSS
 receptacle 200 to receive a point 116 and an outsert nock             effect on the point of impact.
 202. Outserts were, at the time, the only viable way to attach   50     Due to material and Structural considerations, however, in
 the various other arrow components to these prior FRP                 designing internal-component FRParrow shafts for reduced
 shafts because of their low hoop stress. Arrow shaft outserts         weight, it became necessary to both increase shaft outside
 have, however, at least three key disadvantages. First, out           diameter and reduce wall thickneSS relative to the prior art
 sert nocks 202 have a feel that is objectionable to most              FRP outsert shafts in order to provide desirable spine/weight
 archers. Generally, archers prefer a Smooth Outer Surface of     55   combinations. For aluminum arrow shafts, for example, to
 the shaft without any projections (other than the fletching).         provide lighter weight arrows, the wall thickness must be
 This smooth outside diameter preference correlates with the           reduced and the diameter of the arrow, both the inside
 general understanding that an arrow will have better aero             diameter and the outside diameter, must be increased to
 dynamic efficiency with fewer Structural projections outside          maintain adequate Spine. This process of thinning the wall
 of the arrow shaft.                                              60   and increasing shaft diameter has, however, practical limi
    Second, OutSert nockS 202 frequently result in mechanical          tations. At Some point, if taken to an illogical eXtreme, the
 interference with many types of arrow rests when launching            arrow would have mechanical properties similar to an alu
 the arrow. Most arrow rests hold the arrow in a particular            minum beverage can with no practical resistance to Side
 position when the archery bow is drawn and the arrow is               loads or crushing.
 released. With many arrow rests, the arrow continues to          65     With Some arrows, inserts, such as "half-out” inserts,
 contact the arrow rest as the arrow passes the location of the        were introduced to the market Some time ago. A typical
 arrow rest. Contact between the nock outsert and the arrow            half-out insert assembly is shown in FIG. 4A. A half-out
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                                3                                                                     4
 insert 400 includes a first insert portion 412 with a diameter          0.275 inches, and a spine of 0.500 inches or less. This
 Smaller than the standard insert 100 shown in FIG. 1 Such               embodiment may include an insert embedded completely
 that the first insert portion 412 may be inserted into a                within the shaft and a point coupled to the insert.
 reduced diameter shaft 404. A second portion 414 of the                   Another embodiment comprises a reduced diameter FRP
 half-out insert 400 has a larger outside diameter that is               hunting arrow shaft including an inside diameter of approxi
 receptive of a Standard point 416, yet its outside diameter             mately 0.204 inches, a spine of approximately 0.500 inches
 corresponds to the outside diameter of shaft 404. Therefore,            or less, and an outside diameter of 0.275 inches or less. The
 half-out inserts facilitate use of standard field points with           inside diameter of about 0.204 is receptive of standard point
 arrow shafts having inside diameters Smaller than Standard              inserts.
 arrow shafts.                                                              Another embodiment of the invention comprises an arrow
   Half-out assemblies have, however, Several disadvantages              including a shaft with a first end, a male insert disposed
 and have not been well accepted. Half-out assemblies are                partially within the first end and extending beyond the first
 cantilevered at the front of the arrow shaft 404. The canti             end, and a female point having a flange or skirt that extends
 lever results in a System that tends to deform more readily             over the arrow shaft in a tight-fitting manner to assist in
 on impact as compared to other arrow assemblies. The               15   alignment of the point with the arrow Shaft.
 half-out assemblies also make it more difficult to precisely               Still another embodiment comprises a reduced diameter
 align points 416 with the shaft 404, as will be discussed               FRP hunting arrow shaft including an inside diameter of
 below in greater detail.                                                approximately 0.200 inches, a spine of approximately 0.500
             SUMMARY OF THE INVENTION                                    inches or less. The outside diameter may range between
                                                                         approximately 0.255 and 0.271 inches. The inside diameter
    The present invention comprises an arrow including a                 of about 0.200 is receptive of standard half-out inserts.
 shaft with a first end and an insert receptive of a point, the             Another embodiment comprises a reduced diameter FRP
 insert being disposed completely within the first end of the            hunting arrow Shaft, including an inside diameter less than
 shaft. Hunters commonly use field points for practice and          25
                                                                         0.200 inches, a spine of 0.500 inches or less, and an outside
 broadheads (either expandable or fixed-blade) for hunting.              diameter of 0.275 inches or less. The inside diameter may be
 Although this aspect of the present invention (i.e., an inter           approximately 0.187 inches.
 nal component Small outside diameter arrow shaft and a                     Another embodiment comprises a point assembly includ
 novel insert installation System) is advantageous when field            ing a male insert having a first end configured to engage an
 points are used, the invention is particularly advantageous             arrow shaft and a Second end, and a female point configured
                                                                         to mate with the second end of the male insert. The male
 when using broadheads because broadheads exacerbate                     insert may include a tapered head between the first and
 many shaft/insert/point alignment problems.
    According to one embodiment, the point may include a                 Second ends, and the female point may include an interior
 shoulder and the shaft may include an end wall. The insert              tapered Surface Shaped to mate with the tapered head of the
                                                                         male insert.
 is seated at a depth within the shaft such that the shoulder of    35
 the point bears directly against the end wall of the shaft                Yet another embodiment of the invention comprises an
 when the point is engaged with the insert. In one embodi                arrow including a shaft with a first end, a male insert
 ment, the shaft may have an inside diameter of approxi                  disposed partially within the first end and extending beyond
 mately 0.204 inches, a spine of approximately 0.500 inches              the first end, and a female point engaged with the male
 or less, and an outside diameter less than 0.275 inches. When      40
                                                                         insert.
 Spine is discussed herein, “stiffer' Spine means less arrow                Still another embodiment comprises an insert installation
 deflection (i.e., a Smaller numeric value), and “weaker”                tool including a positioning rod, where the rod includes a
 spine means greater arrow deflection (i.e., a larger numeric            first end, a Second end, a first diameter at the first end sized
 value). Thus, the terms “less spine” and “stiffer spine” have           Smaller than an inside diameter of an insert, one or more lips
 the same meaning throughout. In a similar manner, the terms        45   disposed between the first and Second ends, the one or more
 "more spine” and “weaker Spine' have the same meaning                   lipS having a diameter sized to provide an interference fit
 throughout.                                                             with an inside diameter of an arrow Shaft, and a shoulder
    Another embodiment comprises an arrow including a                    disposed between the first end and the one or more lipS sized
 shaft having an inside diameter, a first end, and a first end           larger than the inside diameter of the insert; where the first
 wall, and a point having a head, a shoulder, and a Shank,          50   end of the rod is configured to engage the point insert. The
 where the shoulder of the point bears directly against the first        installation tool is designed to position the insert at a desired
 end wall and the Shank fits Snugly inside the arrow Shaft and           depth inside the arrow shaft.
 bears against the inside Surface of the arrow shaft. The direct            Another aspect of the invention involves a method of
 contact between the point and arrow Shaft improves align                coupling a point to an arrow shaft including inserting an
 ment between these two components. In this embodiment,             55   entire point insert into the arrow Shaft and fastening the point
 the insert is disposed completely inside the Shaft and the              to the point insert. According to this method, the point
 point is threadedly received by the insert.                             includes a shoulder and a Shank, where the shoulder directly
    Still another embodiment comprises a reduced diameter                engages an end wall of the arrow Shaft and the Shank directly
 carbon-composite hunting arrow shaft including an inside                engages the inside Surface of the arrow Shaft, all of which
 diameter of approximately 0.204 inches, a Spine of approxi         60   assists with point alignment.
 mately 0.500 inches or less, and an outside diameter less                  Another aspect of the invention involves a method of
 than approximately 0.275 inches. In this embodiment, an                 coupling a point to an arrow shaft including installing a point
 insert may be disposed completely within the Shaft and a                insert onto the installation tool and pressing the point insert
 point coupled to the insert.                                            into the shaft with the tool to a predetermined depth such
    Yet another embodiment comprises a hunting arrow                65   that a first end of the point inserted is flush with or interior
 including a hollow shaft having an inside diameter sized to             to a first end of the shaft. The insert installation tool may
 accept Standard points, an outside diameter of less than                include a grip with a diameter larger than an outside diam
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                                 S                                                                       6
 eter the arrow shaft or another similar end wall that limits the             FIG. 4A is a side view of an FRParrow utilizing half-out
 extent to which the point insert can be pushed inside of the              inserts according to the prior art;
 arrow shaft.                                                                 FIG. 4B is a partial sectional side elevation view of a PIN
    Yet another aspect of the invention involves a method of               nock System according to the prior art,
 improving alignment between an arrow point and an arrow                      FIG. 5A is an exploded perspective assembly view of an
 shaft by embedding an insert completely within the shaft and              arrow according to one embodiment of the present inven
 coupling the arrow point to the insert, where the arrow point             tion;
 and the shaft directly interface between each other at a first              FIG. 5B is an assembled perspective view of the arrow
 location where a shoulder of the point and an end Surface of              shown in FIG. 5A;
 the shaft contact each other and at a Second location where                 FIG. 5C is an exploded partial sectional side elevation
 the shank of the point and the inside diameter of the shaft               view of an end of the arrow shown in FIG. 5A;
 contact each other. Embedding the insert may include                        FIG. 5D is a partial sectional side elevation view of the
 extending the insert to a predetermined depth within the                  end of the arrow as shown in FIG. 5B;
 shaft.                                                                       FIG. 5E is an enlarged view of the area 5E-5E of FIG.
    Still another embodiment of the invention comprises an            15   5D, according to one embodiment of the present invention;
 arrow including a shaft with a first end defining a first end                FIG. 5F is a perspective view of an arrow being prepared
 wall, an insert with a first end defining a first end wall, the           for receipt of an arrow insert System according to the present
 insert being disposed inside the shaft Such that the first end            invention;
 wall of the insert is flush with or interior to the first end wall           FIG. 5G is a side elevation view, partly in section, of the
 of the shaft.                                                             arrow preparation process shown in FIG. G.;
    In another embodiment, an arrow System includes an                        FIG. 6A is a perspective view of an arrow insert instal
 insert of Substantially constant outside diameter Such that the           lation tool according to one embodiment of the present
 insert is fully insertable into an arrow shaft, the insert                invention;
 including a threaded portion, and a point including a                       FIG. 6B is a side elevation view of the arrow insert
 threaded portion engagable with the threaded portion of the          25
                                                                           installation tool of FIG. 6A with an insert Secured thereto;
 insert.
                                                                              FIG. 6C is a side elevation view, partly in section, of the
    Another aspect of the invention involves an arrow prepa                arrow insert installation tool of FIG. 6A showing the insert
 ration tool comprising an abrasive material to engage an end              being installed inside an arrow shaft;
 wall of an arrow Shaft and a protuberance extending from the                 FIG. 6D is a perspective view of an alternative embodi
 abrasive material, where the protuberance is sized to inter               ment of an arrow insert installation tool according to the
 face with an inside Surface of the arrow shaft Such that
 rotation of the arrow shaft relative to the abrasive material
                                                                           present invention;
 will cause a chamfer to form between the inside Surface of                   FIG. 6E is a perspective view of another alternative
 the arrow shaft and the end wall of the arrow shaft.                      embodiment of an arrow insert installation tool according to
    Still another aspect of the present invention involves an         35
                                                                           the present invention;
 internal fit component FRP hunting arrow shaft comprising                    FIG. 7 is a graph illustrating a constant kinetic energy
 an arrow Shaft to receive internal fit components, where the              curve plotted on a mass verSuS Velocity chart;
 arrow shaft has a weight in proportion to twenty-nine inches                 FIG. 8 is a graph illustrating penetration depth of various
 of arrow shaft, and wherein the weight or the Spine falls on              arrows into a gelatin material, each arrow having Substan
 a plot of weight Versus Spine above and to the left of a             40   tially the same kinetic energy;
 Straight line that includes a first point having a weight of 190             FIG. 9 is a graph illustrating penetration depth of various
 grains and an outside diameter of 0.275 inches, and a Second              arrows into a gelatin material as a function of kinetic energy
 point having a weight of 320 grains and an outside diameter               for various arrows,
 of 0.305 inches.                                                             FIG. 10 is a graph illustrating penetration depth of dif
    Another aspect of the present invention involves an               45   ferent FRParrow shafts into a gelatin material where kinetic
 internal fit component FRP hunting arrow shaft comprising                 energy has been maintained constant and the Shaft outside
 an arrow shaft to receive internal fit components, wherein                diameter has changed;
 the arrow shaft spine or the outside diameter of the arrow                   FIG. 11 is a graph illustrating Spine VS. weight character
 shaft falls on a plot of Spine versus outside diameter below              istics of various prior art shafts as well as shafts according
 and to the left of a Straight line that includes a first point       50   to the present invention;
 having a spine of 0.320 inches and an outside diameter of                    FIG. 12 is a graph illustrating various Spine VS. outside
 0.295 inches, and a second point having a spine of 0.480                  diameter characteristics of various prior art arrow shafts as
 inches and an outside diameter of 0.280 inches.                           compared to arrow shafts according to the present invention;
                                                                              FIG. 13 is a graph illustrating weight VS. outside diameter
           BRIEF DESCRIPTION OF THE DRAWINGS                          55   characteristics of various prior art arrow Shafts compared to
                                                                           arrow shafts according to the present invention;
    The accompanying drawings illustrate various embodi                       FIG. 14A is an exploded Sectional Side elevational assem
 ments of the present invention and are a part of the Speci                bly view of an arrow System according to an alternative
 fication. The illustrated embodiments are merely examples                 embodiment of the present invention; and
 of the present invention and do not limit the Scope of the           60      FIG. 14B is a sectional side elevational assembly view of
 invention.                                                                an arrow System according to yet another alternative
   FIG. 1 is a side view of an FRP arrow utilizing inserts                 embodiment of the present invention; and
 according to the prior art,                                                  FIG. 14C is an exploded sectional side elevational assem
   FIG. 2 is a side view of an FRP arrow utilizing outserts                bly view of an arrow System according to Still another
 according to the prior art,                                          65   alternative embodiment of the present invention.
   FIG.3 is a diagram illustrating Spine measurement param                    Throughout the drawings, identical reference numbers
 eters,                                                                    designate Similar, but not necessarily identical, elements.
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                DETAILED DESCRIPTION                                   the present invention is shown. According to FIGS. 5A-E,
                                                                       the hunting arrow 520 includes a shaft 504 and an insert 500.
    The present Specification describes a novel arrow System           The insert 500 is receptive of a point 516. The insert 500 is
 that may be used for archery, and particularly for bowhunt            advantageously sized to fit Snugly completely within the
 ing. One aspect of the novel arrow System relates to a                shaft 504 as shown in FIGS. 5B and 5D. Previous inserts, for
 reduced diameter hunting arrow. The reduction in diameter             example the insert 100 shown in FIG. 1, include a lip 118
 of a hunting arrow facilitates more accurate shooting and             that prevents disposing the insert 100 completely with the
 better penetration than previous arrows. The reduced diam             shaft 104. The insert 500 of the embodiment shown in FIGS.
 eter hunting arrow may be sized to accommodate Standard               5A-E, however, may be fully embedded within the shaft
 arrow point assemblies, half-out arrow point assemblies, or           504. Accordingly, the insert 500 may have a substantially
 Smaller diameter arrow point assemblies. The reduced diam             constant outside diameter (without regard to conventional
 eter hunting arrow may also be used to accommodate a new              glue grooves) sized to fit within an inside diameter of the
 point insert System and a new arrow point assembly, both of           Shaft 504.
 which are further described below. The novel arrow system                The insert 500 may include one or more ridges 526 about
 also involves an insert installation tool to facilitate place    15   its outer diameter, as shown in FIGS.5A and 5B. The ridges
 ment of the novel insert into an arrow shaft and an arrow             526 do not, however, extend beyond the substantially con
 shaft preparation tool to ensure the shaft will properly              stant outside diameter of the insert 500 and thus do not
 accommodate a point.                                                  prevent full insertion of the insert 500 into the shaft 504. The
    Accordingly, the Specification describes various aspects           insert may include a through hole, as shown in FIGS. 5C and
 of the invention according to the following order. First,             5D, or may have a so-called blind hole in the back wall of
 embodiments of an arrow utilizing the new point inserts are           the insert (not shown).
 shown and described, along with the arrow point assembly                 The shaft 504 is preferably constructed of a carbon
 tool. Second, experimental data illustrating the advantages           composite material and includes a first end 522 and a first
 of a reduced diameter arrow is discussed. Third, various              end wall 524. The first end wall 524 corresponds to the
 embodiments of reduced diameter arrow shafts are                 25   terminating end of shaft 504. The shaft 504 also includes a
 described. Fourth, various embodiments relative to the new            second end 534 that is receptive of a nock 536. A nock
 arrow System and assembly method for reduced diameter                 adapting insert 538 may be included between the shaft 504
 arrows are shown and described.                                       and the nock 536. Although FIGS. 5A and 5B show such an
    AS used in this specification and the appended claims, the         insert, it is to be understood that any nock System, Such as
 phrases “completely within' or “completely inside” mean               without limitation, direct fit nock Systems (e.g., as shown in
 that an item is located interior to an object and does not            FIG. 1), UNITM bushings with g-nock systems (e.g., as
 protrude or extend from the object. “Completely within” and           shown in FIG. 5B), and PIN nock systems with PIN nocks
 “completely inside” also include arrangements in which the            (e.g., as shown in FIG. 4B), may be used without departing
 item is located interior to and flush with the object.                from the Scope of the present invention. In addition, a
    The term “insert” is used broadly to encompass any            35   plurality of Vanes or other fletching (not shown in the
 apparatus that is or may be at least partially introduced into        drawings) may be secured to the second end 534 of the shaft.
 or inside an arrow Shaft.                                               As mentioned above, the insert 500 is receptive of the
   “Hunting arrow' is also used broadly to include any                 point 516. The point 516 is preferably a standard size,
 arrows, parts of arrows, or arrow assemblies that are                 commercially available point. The point 516 includes a head
 intended Specifically for hunting.                               40   529 and a shoulder 530 where a relatively greater outside
   “Fiber reinforced polymer (FRP)” refers to any combi                diameter of the point 516 transitions to a shank 531. Accord
 nation of materials of which carbon is one, including without         ing to principles described herein, the insert 500 has no lip
 limitation fiber reinforced materials, advanced composites,           (e.g., element 118 in FIG. 1) and is inserted to be at least
 and other material Sets that include only carbon.                     flush with or below the end wall 524 of shaft 504. Therefore,
    “Spine” is used to indicate a StiffneSS measurement           45   the shoulder 530 of the point 516 advantageously bears
 according to the Standard parameters described above, as              directly against the end surface 524 of the shaft 504 as
 understood by those skilled in the art.                               shown in FIGS. 5B, 5D, and 5E. The direct engagement
    “Point” as used to describe the present invention shall            between the shoulder 530 and the end surface 524 according
 mean, for purposes of Simplifying the description, any type           to FIGS. 5A-D provides a first direct interface location 532
 of arrow point, including without limitation field points and    50   (FIGS.5D and 5E) between the end wall 524 of the shaft 504
 broadheads.                                                           and the shoulder 530 of point 516 which facilitates a simpler,
    “Internal insert components' means inserts that fit inside         more precise alignment between the point and the arrow
 of an arrow shaft as well as any type of arrow point received         shaft.
 by Such inserts.                                                        The novel arrow System also provides a Second interface
    AS mentioned above, a number of developments in arrow         55   location 537 (FIGS. 5D and 5E) between the arrow 504 and
 technology, and particularly hunting arrow technology, have           the point 516. Specifically, the outside surface of the shank
 recently occurred. While there are many different types of            531 of point 516 bears directly against and the inside surface
 arrows available, conventional arrows have traditionally not          533 of the arrow Shaft 504.
 provided the combination of accuracy, flat trajectory, short            In contrast, prior art arrow Systems, as shown in FIG. 1,
 travel time, penetration and internal fit components offered     60   provided an extra Structural element (i.e., the insert) between
 by a reduced diameter hunting arrow shaft according to the            the arrow shaft and the point at all locations. Thus, prior art
 present invention. The methods and devices described                  arrow systems provided at least four (4) different sets of
 herein include various reduced diameter arrow shafts and              interfacing Surfaces, all of which have the potential to affect
 other associated devices. The particular implementations,             alignment of the respective parts. One Set is located between
 however, are exemplary in nature, and not limiting.              65   the shoulder 117 of the point 116 and the outer, flat surface
   Turning now to the figures, and in particular to FIGS.              of lip 118 extending from insert 100. Another is located
 5A-E, a hunting arrow 520 according to one embodiment of              between the bottom surface 119 of lip 118 and the end
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 Surface 124 of the arrow shaft 104. Still another set of                first end 644 is sized to fit within the threaded section of
 interfacing Surfaces is between the cylindrical outer Surface           insert 500. FIG. 6B shows an insert positioned on the first
 of the insert 100 and the inside Surface 111 of the arrow shaft         end 644 of the installation tool 640. FIG. 6C shows the insert
 104. A final set of interfacing surfaces is between the shank           500 being positioned inside the arrow shaft 504 using the
 115 on the point 116 and the corresponding inside cylindri              installation tool 640. The outside diameter of the rod 642 is
 cal Surface 113 of the insert 100.                                      different than the outside diameter of the tip 644 such that a
    Thus, arrow System of the present invention eliminates               first shoulder 652 is formed. Therefore, the first shoulder 652
 two of these Sets of interfacing Surfaces to improve greatly            is sized to abut the insert 500, as shown in FIG. 6B, which
 the alignment between the point and the arrow shaft. Spe                will allow an operator to push the insert 500 into the arrow
 cifically, as shown in FIGS. 5C, 5D, and 5E, the present                shaft 504 to a predetermined, precise depth.
 invention provides two Sets of direct interfacing Surfaces                 The rod 642 may also include one or more wipers. The
 (interfaces 532 and 537 as shown in detail in FIG. 5E)                  embodiment of FIG. 6A-6C comprises a first peripheral ring
 between the arrow shaft 504 and the point 516 to greatly                or lip 648 and a second peripheral ring or lip 650 disposed
 improve alignment. It is to be understood that while Some               between the first shoulder 652 and second shoulder 654 of
 aspects of the present invention are directed to hunting           15
                                                                         the insert installation tool 640. The first and second wipers
 arrows only, this particular aspect of the present invention            648 and 650 may have equal diameters and may be sized to
 applies to all types of arrows, both hunting arrows and target          provide an interference fit with an inside diameter of the
   OWS.
    As shown in FIGS. 5F and 5G, an arrow preparation tool               arrow shaft 504. The first and second wipers 648 and 650 are
 550 is provided to appropriately place a chamfer on the                 intended to remove any exceSS adhesive from the inside
 distal end 522 of shaft 504. The arrow preparation tool 550             Surface of the shaft. According to one embodiment, the
 comprises a frusto-conically shaped protuberance 552 over               diameter of the first and second wipers 648 and 650 is
 which an end of arrow shaft 504 is inserted. After the arrow            approximately 0.206 inches. Such diameters are not, how
 shaft is inserted over protuberance 552, a downward force F             ever, limited to any particular measurement, nor are the first
                                                                         and second wipers 648 and 650 necessarily of equal diam
 is applied to the arrow shaft as the shaft is rotated R (FIG.      25
                                                                         eter.
 5G) back and forth until the end wall 524 abuts the top                   Another embodiment of an insert installation tool 740 is
 surface of preparation tool 550. At that point, a proper                shown in FIG. 6D. Each end of the insert installation tool
 chamfer 539 has been created on the distal end 522 of shaft
 504 between the end wall 524 and the inside Surface 537 of              740 includes a rod 742 which extends toward and terminates
 shaft 504. In addition, a portion of end wall 524 will also             at a tip or first end 744. Each rod 742 attaches to a handle
 remain. AS shown in FIG. 5E, the purpose for preparing the              or second end 746, which may be made of any suitable size
 arrow shaft with a chamfered Surface 539 is to accommodate              or shape. The handle 746 incorporates an ergonomic design
 points that may have a radius R (FIG. 5E) between the                   to facilitate grasping by a perSon doing the insert installa
 shoulder 530 and the shank 531. It is to be understood that             tion. Any Suitable design may be incorporated into the
 the arrow preparation tool 550 may be made of any appro            35   handle 746. The outside diameter of each tip or first end 744
                                                                         is sized to fit within the threaded section of the inside
 priately abrasive material, Such as bonded aluminum oxide.
 As shown in FIGS. 5F and 5G, the arrow preparation tool                 diameter of the insert 500 (FIG. 6C). Each rod end 744
                                                                         terminates at a first shoulder 752 and transitions to a second
 550 may be placed on top of a flat surface so that as the
 arrow is rotated back and forth R as shown in FIG. 5G,                  Section 742, which terminates, in turn, at the handle portion
 there is no need to hold the porous, abrasive arrow prepa          40   746. Each first shoulder 752 is designed to abut an insert
 ration tool 550. Alternatively, the arrow preparation tool 550          500, in a manner similar to what is shown in FIG. 6B, to
 may be held by the perSon performing the chamfering                     allow an operator to push the insert 500 into the arrow shaft
 process. Those skilled in the art will understand that other            504 to a predetermined, precise depth.
 arrow preparation tools may be utilized without departing                  Each rod 742 also includes one or more wipers in the form
 from the scope of the present invention. Still further, pre        45   of a first peripheral ring or lip 748 and an optional Second
 prepared arrow shafts with appropriate chamferS may be                  peripheral ring or lip 750 disposed between the first shoulder
 provided to accommodate points with radii, without depart               752 and wall 754 of handle portion 746. The first and second
 ing from the Scope of the present invention.                            wiperS 748 and 750 may be of equal diameters and may be
    After the shaft 504 has been properly conditioned, per               sized to provide an interference fit with an inside diameter
 haps by arrow preparation tool 550, the insert 500 of FIGS.        50   of the arrow shaft 504. The first and second wiperS 748 and
 5A-E may be installed completely within the shaft 504 in a              750 are intended to remove excess adhesive from the inside
 number of ways. One way might be for a user to couple the               Surface of the shaft. According to one embodiment, the
 insert 500 to the point 516 and install both together as a unit.        diameter of the first and second wiperS 748 and 750 is
 Another way, however, may be to use an insert installation              approximately 0.206 inches. Such diameters are not, how
 tool 640, as shown in FIGS. 6A-C. The tool 640 allows the          55   ever, limited to any particular measurement, nor are the first
 interface 532 between point 516 and shaft 504 to be more                and second wiperS 748 and 750 necessarily of equal diam
 precisely controlled. The tool, as discussed below, provides            eter. When tool 740 is used to install insert 500 into shaft
 the advantage of precise depth control of the insert 500 and            504, the wall 754 of handle 746 abuts the end 524 of the
 prevents adhesive contamination on the portion of the inside            shaft.
 of the shaft corresponding to the area of interface 537 (FIGS.     60      In order to facilitate the interference fit between the
 5D and 5E) between shank 531 of point 516 and the inside                wipers and the inside diameter of the arrow shaft 504, the
 Surface 533 of shaft 504.                                               insert installation tools 640, 740 may be made of multiple
   According to the embodiment of FIGS. 6A-C, the insert                 grades and "pliabilities” of plastic or another Suitable mate
 installation tool 640 includes a rod 642 which extends                  rial that can fleX and provide an appropriate interference fit.
 toward and terminates at a tip or first end 644. The rod 642       65   Still further, the tool 640, 740 could be made of any other
 attaches to a handle or Second end 646, which may be made               material, Such as metal, where, for example and without
 of any Suitable size or shape. The outside diameter of the              limitation, rubber O-rings are used for the wiperS.
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    Alternatively, as shown in FIG. 6E, tool 740 may include                          The penetration results from Shooting the four arrows
 a specialized depth gauge 759 (FIG. 6D) on one end of tool                        according to the test parameters are shown in FIG.8. The
 740 to ensure that chamfer 539 has been properly instilled                        results show that the penetration for all four arrow shafts was
 into shaft 504.                                                                   the same, approximately 12.5 inches. Such results indicate
    AS described in the background, the phenomenon of                              that for a constant arrow shaft OD, penetration performance
 increased penetration for reduced shaft diameter was gen                          is a Strong function of kinetic energy, and Separate from the
 erally felt by archers and bowhunters to be true, but was not                     independent parameters of mass and Velocity. That is, within
 well addressed in a Scientific manner in the past.                                the range of arrow masses and impact Velocities tested,
    Therefore, a number of experiments were performed                              penetration depth was constant if impact kinetic energy was
 according the present invention to better understand and
 evaluate arrow penetration. The tests were performed shoot                        constant, regardless of whether the kinetic energy was
 ing arrows into industry-standard ballistic gelatin that has                      achieved by a low mass arrow traveling at high Velocity, or
 heretofore been used for analysis of firearms and ammuni                          a high mass arrow traveling at a low Velocity.
 tion.                                                                                To confirm the hypothesis that penetration is only a strong
    According to one test measuring arrow penetration (Test                   15   function of kinetic energy, Test 2 was conducted whereby
 1), arrow mass and impact velocity were varied according to                       the bow draw weight and resultant impact Velocity were
 the graph shown in FIG. 7 to provide a constant kinetic                           varied. The specific test parameters are shown in Table 3
 energy                                                                            below.

                                             1                                                                      TABLE 3
                           (kinetic energy = sm y?,
                                                                                          Bow Draw Weights and Kinetic Energy at Impact in Test 2.
                                                                                                                            Bow Peak         Kinetic Energy
 where m=total arrow mass and v=impact velocity) of 65                                 Arrow Size Designation             Draw Weight          at Impact
 foot-pounds. The arrows tested were aluminum shafts with                     25       (Aluminum Shafts)                      (1b)               (ft-lb)
 a nominal outside diameter of 0.344 inches. Table 1 (below)                           2212
                                                                                       2216
                                                                                                                               50
                                                                                                                               60
                                                                                                                                                     47
                                                                                                                                                     69
 lists the four Specific shafts tested.                                                2219 Standard                           70                    77
                                                                                       2219 Heavy (plastic weight               70                   8O
                                 TABLE 1.                                              tube added to shaft ID)
                       Penetration Test Shaft Description
                                                  Arrow Mass (grain) (total           The results of Test 2 are shown in FIG. 9. Again, pen
                                                    flight weight of shaft,        etration is shown to be a strong linear function of impact
 Arrow Size Designation            Shaft Outside      point, nock, vanes,          kinetic energy.
 (Aluminum Shafts)                 Diameter (in.) bushing and adhesives)      35
                                                                                      Another test, designated as Test 3, then investigated the
 2212                                  O.3452                424.9                 effect of Shaft outside diameter on penetration performance.
 2216                                  O3460                 SO8.3                 For Test 3, two arrows with different outside diameters were
 2219 Standard                         O3440                 567.8
 2219 Heavy (plastic weight            O3440                 653.8                 used. The first arrow was an ICSHunter(R) 400 Heavy, and is
 tube added to shaft ID)                                                      40
                                                                                   an internal component carbon-composite Shaft. The Second
                                                                                   was a 2413 aluminum alloy arrow. Again, both were tested
                                                                                   with New Archery Products 85 grain Thunderhead(R) fixed
    Each arrow included an identical arrow point, which was                        broadheads. Table 4 (below) lists the parameters and results
 a fixed-blade broadhead known as a New Archery Products                           of Test 3.
 Thunderhead(R). Each arrow point had a mass of 85 grains.                    45
 As shown in Table 1, the variation in shaft outside diameter                                                       TABLE 4
 for each arrow was relatively Small Such that the interface
 between arrow and target was Substantially the Same. How                                      Shaft Diameter and Kinetic Energy at Impact in Test 3
 ever, the difference in mass between the arrows was Sub
 stantial. Therefore, the bow draw weight was adjusted for                                                           Arrow Mass (grain)
 each arrow to provide an impact Velocity yielding an                         50
                                                                                                           Shaft      (total flight weight   Impact       Pene
                                                                                                          Outside       of shaft, point,     Kinetic tration
 approximately constant level of kinetic energy at impact.                         Arrow Size            Diameter    nock, vanes, bushing Energy          Depth
 The bow draw weights used for each arrow are shown in                             Designation             (in.)        and adhesives)       (ft-lb)      (in.)
 Table 2 below.
                                                                                   ICSHunter (E) 400      O.2935            464.4             SO.8        12.2
                                                                                   Heavy (FRP)
                                 TABLE 2                                      55   (plastic weight
                                                                                   tube added to
         Bow Draw Weights and Kinetic Energy at Impact in Test 1                   shaft ID)
                                                                                   2413 (aluminum)        O.3719            464.1             50.6        1.O.O
                                   Bow Peak        Impact       Kinetic
 Arrow Size Designation          Draw Weight      Velocity     Energy at
 (Aluminum Shafts)                   (1b)           (fps)    Impact (ft-lb)   60      Based on the results of Tests 1 and 2, it was anticipated
 2212                                 64.O         263.6             65.5          that the two arrows shot according to the parameters of Test
 2216                                 6O.O         241.O             65.5          3 would have nearly identical penetration depths, given the
 2219 Standard                        59.5         228.9             66.O          approximately identical impact kinetic energy. Instead, the
 2219 Heavy (plastic                  59.0         213.3             66.O
 weight tube added to                                                              unexpected result was 22% greater penetration for the
 shaft ID)                                                                    65   smaller diameter ICSHunter(R) 400 Heavy than for the larger
                                                                                   diameter 2413. Test 3 shows that the effective outer dimen
                                                                                   Sions is another key factor in improving penetration perfor
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                                                                   US 7,004,859 B2
                                     13                                                                        14
 mance, and that as the outside diameter of the shaft is                          larger outside diameter shafts of the prior art. FIG. 10 plots
 reduced, the penetration increases.                                              depth of penetration as a function of Shaft outside diameter
   Another test (Test 4) was conducted to isolate one other                       for the arrow shafts evaluated in Test 5. AS can be appre
 variable and confirm the unexpected results of Test 3.                           ciated, penetration depth turns out to be a very Strong linear
 According to the parameters of Test 3, there was room for                        function of shaft outside diameter. In FIG. 10, the Solid line
 Speculation as to whether the improved penetration depth of                      connecting the three data points represents the actual physi
 the ICSHunter(R) 400 Heavy was due to its smaller diameter,                      cal testing conducted. The dashed line extrapolates this data
 or to Some other factor given FRP construction (as opposed                       to even Smaller Shaft outside diameters that have not been
 to the aluminum construction of the 2413) of the shaft.                          tested, but would reasonably be expected to exhibit the same
 Therefore, in Test 4 an aluminum shaft and FRP shaft having                      improved penetration performance. Accordingly, these
 Substantially the same outside diameters were tested for                         ranges of outside diameters shall be considered part of the
 penetration performance. Table 5 (below) shows the param                         present invention.
 eters and results of Test 4.
                                                                                                               TABLE 6
                                 TABLE 5                                     15
                                                                                           Arrow Parameters and Penetration Parameters of Test 5
             Shaft Material and Kinetic Energy at Impact in Test 4
                                                                                                      OD Avg Wit Avg Impact Avg KE Penetration
                      Shaft    Arrow Mass (grain) (total Impact      Pene         Model               (in) (gr)   Vel (fps) (ft-lb) Depth (in)
                     Outside     flight weight of shaft,   Kinetic tration        Invention          O.264   3O4.O      258.2        44.7          13.4
 Arrow Size         Diameter       point, nock, vanes,     Energy    Depth        ICSHunter (E)      O.296   3O4.2      257.1        44.6          13.0
 Designation           (in.)     bushing and adhesives)    (ft-lb)   (in.)        FatBoy TM          O.353   3O4.1      257.9        44.9          12.1
 1816                 O.2840              4O9.7             SO.O     11.4
 (aluminum)
 Evolution TM         O.30O3              411.2             50.3     11.3            Therefore, according to embodiments of the present
 500 (FRP)                                                                   25   invention, the arrow Shaft outside diameter is reduced rela
                                                                                  tive to Standard sizes to increase arrow penetration perfor
    The results of Test 4 indicate that shaft material had no                     mance. The embodiments described below include shaft
 appreciable affect on penetration depth. Thus, the unex                          diameters of reduced size relative to conventional hunting
 pected results achieved pursuant to the results of Test 3                        arrows to better optimize accuracy, time-of-flight, trajectory,
 (shown in Table 4) were not attributable to differences in                       and penetration.
 shaft material.                                                                     The arrow Shaft invention is unique in that it provides a
    Another penetration test, Test 5, was performed to assess                     certain combination of Spine and weight with a Smaller
 the effect of Shaft diameter on penetration performance. In                      outside diameter (OD) than the prior art hunting arrows on
 Test 5, three different arrow shafts were constructed accord                     the market today. The present invention pertains to FRP
 ing to the parameters of Table 6, set forth below. All shafts               35   shafts which use internal fit components and have spine/
 were constructed from FRP material. Additionally, the over                       weight relationships useful for hunting, and further pertains
 all length of each shaft was adjusted Such that the total arrow                  to all types of aluminum-carbon arrow shafts. It does not
 mass would be substantially identical. As in the other                           include other external fit (outsert) components, nor does it
 penetration tests, NAP ThunderheadTM 85 grain broadheads                         include the general class of target arrows, which have a Spine
 were used. The only difference among the various shafts was                 40   from 0.450 inches to greater than 1.000 inches.
 the outside diameters. The ICSHunter(R) and Fat BoyTM                               FIG. 11 shows a typical plot of spine vs. weight for
 models and other similar large diameter Shafts represent                         various internal fit component, FRParrow shafts. According
 shafts available on the market today. The bow parameters                         to FIG. 11, the spine-weight relationship of the arrow shaft
 utilized in Test 5 were Selected and adjusted during the test                    of the present invention is well within the range of other,
 So that the impact Velocities, and thus the kinetic energies at             45   common Spine-Weights that have been established for hunt
 impact, for all arrows into the ballistic gelatin targets were                   ing arrows. FIG. 11 does not, however, distinguish among
 substantially identical. Prior tests, specifically Test 1, estab                 the outside diameters of the shafts.
 lished that penetration depth into the gelatin target was                           FIG. 12 shows a plot of the same arrow shafts in FIG. 11,
 identical if the kinetic energy at impact was held constant                      but FIG. 12 plots the spine vs. outside diameter of the arrows
 and the outside “envelope” (i.e., the shaft diameter and point              50   represented. FIG. 12 shows that prior art arrow shaft designs
 interfacing with the target material) were unchanged. AS                         are all tightly grouped together. The Stiffest shafts (those
 with the prior test, the kinetic energy for Test 5 was                           with spine values of 0.340 inches or less) fall in an OD range
 maintained constant.                                                             of 0.294 inches to 0.303 inches. The weakest prior art shafts
    In Test 5, the kinetic energy at impact was constant                          (those with spine values of 0.480 inches or greater) in FIG.
 because both arrow masses and impact Velocities were held                   55   12 fall in an OD range of 0.280 inches to 0.293 inches. In
 constant. Therefore, one might expect that the penetration                       contrast, the arrow shaft of the present invention has, in one
 depth would be the same for all arrows tested, unless another                    embodiment, an OD of 0.275 inches for a spine of 0.300
 variable had a Significant effect on the penetration result. In                  inches. In another embodiment, the arrow shaft of the
 Test 5, the variable of shaft outside diameter was well                          present invention has an OD of 0.258 inches for a spine of
 isolated, and would be the only factor which could have an                  60   0.500 inches.
 effect on depth of penetration. The present invention dem                          FIG. 13 shows a plot of the weights vs. ODS for the same
 onstrates that shaft outside diameter is a variable that                         family of arrow shafts as FIGS. 11 and 12. Again, prior art
 directly and linearly affects depth of penetration.                              designs are tightly grouped together. The heaviest shafts
    Table 6 shows the results of Test 5, particularly relative to                 (those weighing 255 grains and up) from the prior art group
 penetration depth. Unlike the results in Test 1, the penetra                65   have ODs ranging from 0.296 inches to 0.303 inches. The
 tion depths are not the Same. Rather, the Smaller outside                        lightest shafts (those weighing 211 grains or less) from the
 diameter shaft had improved penetration relative to the                          prior art group have ODs ranging from 0.280 inches to 0.293
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                                                             US 7,004,859 B2
                                  15                                                                             16
 inches. This is a significant difference from the arrow shaft
 of the present invention, which has an OD of 0.275 inches                                                   TABLE 8
 for the heaviest design of one embodiment (310 grains) and                                       Reduced diameter arrow parameters
 an OD of 0.258 inches for its lightest design of 235 grains.                                       according to some embodiments
   Thus, FIGS. 12 and 13 are clear illustrations that the shaft                                           Wall Thickness            Weight (grainsfin.,
 of this invention is new and unique in its combination of                       Spine (in.)   OD (in.)        (in.)       ID (in.) optional parameter)
 Spine/weight/outside diameters. None of the prior art hunt
 ing Shafts recognize the utility of this combination, and in                      O.300
                                                                                   O.340
                                                                                                0.271
                                                                                                O.267
                                                                                                              O.O37
                                                                                                              O.O.35
                                                                                                                           O.2OO
                                                                                                                           O.2OO
                                                                                                                                            10.8
                                                                                                                                            10.2
 fact are all grouped together in a significantly larger OD                        O.400        O.263         O.O33        O.2OO             9.2
 regime.                                                                           O.SOO        0.255         O.O29        O.2OO             8.2
    The accuracy of reduced diameter arrows made according
 to principles described herein is increased because the                           In addition to using half-out inserts, the insert 500 of
 propensity of an arrow to be influenced during flight by                       FIGS. 5A-D may be specially sized to fit within the 0.200
 external factors (e.g., cross winds) is reduced by a Smaller              15
                                                                                inch inside diameter shafts. New, Specially sized points of a
 diameter shaft. A Smaller diameter shaft has a Smaller                         diameter and thread different than Standard points currently
 Surface area for a croSS wind or other external force to act                   in use may be needed to engage Such a specially sized insert.
 upon. Because of the many point and nock components of                            Arrow shaft diameters may be even further reduced,
 Standard sizes currently available, however, it may also be                    although they may not be compatible with Standard points or
 desirable to combine reduced outside diameter shafts for the
                                                                                half-out inserts. Instead, the arrow shaft diameters may
 purposes described above, with inside diameters receptive of                   necessitate insert components (including inserts shaped
 Standard arrow components.                                                     according to principles described above) sized to fit the
    Therefore, hunting arrow Shafts may, according to prin                      further reduced diameter Shafts. For example, according to
 ciples described herein, include shafts that have an inside               25   embodiments of the present invention there may be arrow
 diameter of 0.204 inches to accommodate all standard                           shafts having an inside diameter of less than 0.200 inches, a
 hunting points currently available. The hunting arrows                         spine of 0.500 inches or less, and an outside diameter of less
 according to principles described herein may therefore                         than 0.275 inches. The inside diameter may be, for example,
 include the advantages of a Smaller shaft diameter and the                     0.187 inches and the outside diameter may range between
 convenience of compatibility with Standard hunting points.                     0.230 and 0.270 inches. Other exemplary embodiments may
 For example, according to Some embodiments of the present                      include arrow Shafts having the following combinations of
 invention there may be arrow Shafts having an inside diam                      parameters (see Table 9 below).
 eter of 0.204 inches, a spine of 0.500 inches or less, and an
 outside diameter of less than 0.275 inches. The outside                                                     TABLE 9
 diameter may range, according to Some embodiments,                        35
 between 0.248 and 0.275 inches, depending upon spine.                                            Reduced diameter arrow parameters
 According to another embodiment the inside diameter is                                             according to some embodiments
 0.204 inches, the spine is 0.500 inches or less, and the                                                 Wall Thickness            Weight (grainsfin.,
 outside diameter is less than approximately 0.275 inches.                       Spine (in.)   OD (in.)        (in.)       ID (in.) optional parameter)
 Other exemplary embodiments may include arrow shafts                      40      O.300        O.266         O.O40        O.187           11.5
 having the following combinations of parameters (see Table                        O.340        O.263         O.O38        O.187           10.7
 7 below).                                                                         O.400        O.254         O.O34        O.187            9.5
                                                                                   O.SOO        O.248         O.O31        O.187            8.5
                              TABLE 7
                   Reduced diameter arrow parameters                       45     The outside diameters shown in Table 9 may be even
                     according to Some embodiments                              further reduced, if desired.
                           Wall Thickness            Weight (grainsfin.,          Although it may be convenient to use readily available
  Spine (in.)   OD (in.)        (in.)       ID (in.) optional parameter)        Standard points for the shafts and inserts described above, a
                                                                                new arrow point assembly according to various embodi
    O.3OO        0.275         O.O.35       O.204           10.7
    O.340        O.267         O.O31        O.204            9.5
                                                                           50   ments of the present invention are shown with reference to
    O.400        O.264         O.O3O        O.204            9.O                FIGS. 14A-14C. Typical arrow point assemblies (e.g. FIG.
    O.SOO        O.258         0.027        O.204            8.1                1) include the female insert 100, FIG. 1 and the male point
                                                                                116, FIG. 1. However, according to the embodiment of
                                                                                FIGS. 14A-14C, there is a male insert 1000 and a female
   The reduced diameter arrow shafts may also be used with                 55   point 1016. The male insert 1000 includes a first end 1060
 the insert 500 and the insert installation tool 640 described                  sized for insertion into a Standard or non-Standard arrow
 above.                                                                         shaft 1004. The first end 1060 may include one or more
    Arrow shaft diameters may be even further reduced,                          ridges 1026 disposed about its outside diameter. The male
 although they may no longer be compatible with Standard                        insert includes a second end 1064 externally threaded to
 points. Instead, the arrow shaft diameters may be sized for               60   engage internal threading 1062 of the female field point
 half-out inserts. For example, according to embodiments of                     1016. Between the first and Second ends 1060 and 1064 is
 the present invention there may be arrow shafts having an                      a tapered head 1066 that includes a shoulder 1068 sized to
 inside diameter of 0.200 inches, a spine of 0.500 inches or                    approximately the same outside diameter of the shaft 1004.
 less, and an outside diameter of 0.271 inches or less. Other                   Shoulder 1068 bears against the shaft 1004 when the first
 exemplary embodiments may include arrow shafts having                     65   end 1060 of the male insert 1000 is inserted into the shaft
 the following combinations of parameters (see Table 8                          1004. The head 1066 also includes a tapered surface 1070
 below).                                                                        opposite of the shoulder 1068. A mating internal taper 1072
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                                                     US 7,004,859 B2
                               17                                                                  18
 is disposed in the point 1016 and facilitates alignment                 an arrow Shaft to receive internal fit components, the
 between the field point 1016 and the insert 1000.                         arrow shaft having a weight in proportion to twenty
    As shown in FIG. 14B, the point 1016 may include an                    nine inches of arrow shaft, the arrow Shaft having a
 extension or flange in the form of a skirt 1073 that extends              Spine and an outside diameter, the Spine or the outside
 over shaft 1004 so that the skirt 1073 in essence envelops the            diameter falling on a plot of Spine versus outside
 shaft 1004 to aid in alignment.                                           diameter below and to the left of a straight line that
   An alternative embodiment is shown in FIG. 14C. The                     includes a first point having a spine of 0.320 inches and
 point 1016 may include a pilot aperture or female pocket                  an outside diameter of 0.295 inches, and a Second point
 1032 which interfaces with a pilot extension or male end                  having a spine of 0.480 inches and an outside diameter
 1034 of the male insert 1000. The pilot aperture 1032 and        1O
                                                                           of 0.280 inches.
 pilot extension 1034 are circular in cross section, which
 allows point 1016 to be rotated relative to insert 1000. The            2. An internal fit component FRP hunting arrow shaft
 pilot members 1032, 1034 further aid in alignment of the              according to claim 1 wherein the spine is 0.300 inches and
 point 1016 and shaft 1004.                                            the outside diameter is 0.275 inches.
    Although the arrow point assembly of FIGS. 14A-14C            15     3. An internal fit component FRP hunting arrow shaft
 may be used with the reduced diameter shafts described                according to claim 1 wherein the spine is 0.500 inches and
 above, it should not be so limited. The arrow point assembly          the outside diameter is 0.258 inches.
 of FIGS. 14A-14C may also be used with any other type of                4. An internal fit component FRP hunting arrow shaft
 Suitable arrow shafts.                                                according to claim 1 wherein the spine is 0.300 inches and
    While this invention has been described with reference to          the outside diameter is 0.271 inches.
 certain Specific embodiments and examples, it will be rec               5. An internal fit component FRP hunting arrow shaft
 ognized by those skilled in the art that many variations are          according to claim 1 wherein the spine is 0.500 inches and
 possible without departing from the Scope and Spirit of this          the outside diameter is 0.255 inches.
 invention. The invention, as defined by the claims, is                  6. An internal fit component FRP hunting arrow shaft
 intended to cover all changes and modifications of the           25
                                                                       according to claim 1 wherein the spine is 0.300 inches and
 invention which do not depart from the spirit of the inven            the outside diameter is 0.266 inches.
 tion. The words “including” and “having,” as used in the
 Specification, including the claims, shall have the same                7. An internal fit component FRP hunting arrow shaft
 meaning as the word “comprising.”                                     according to claim 1 wherein the spine is 0.500 inches and
   The invention claimed is:                                           the outside diameter is 0.248 inches.
   1. An internal fit component FRP hunting arrow shaft
 comprising:
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                              ATTACHMENT C
Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 34 of 157 PageID #: 725
                                                                                                                         USOO7374504B2


 (12) United States Patent                                                                    (10) Patent No.:                                   US 7,374,504 B2
        Palomaki et al.                                                                       (45) Date of Patent:                                              May 20, 2008
 (54) ARROW SYSTEM                                                                             4,706,965 A                   11/1987 Schaar
                                                                                               4,943,067 A                   7, 1990 Saunders
 (75) Inventors: Teddy D. Palomaki, Park City, UT                                              5,035,764 A                   7, 1991 Blake
                          (US); Jacob C. Smith, Salt Lake City,                                5,090,149 A                   2/1992 Muk Kim
                          UT (US)                                                              5,242,720 A                   9, 1993 Blake
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                                                                                               5,291,875 A                    3, 1994 Koziol
 (73) Assignee: Jas. D. Easton, Inc., Van Nuys, CA                                             5,465,979 A                   11/1995 Buhler
                          (US)                                                                 5,496,042 A                   3/1996 Craft et al.
   c                                                                                           5,516,117 A                   5/1996 Rangel
 (*) Notice:              Subject to any disclaimer, the term of this                          5,902,199 A                   5/1999 Adams, Jr.
                          patent is extended or adjusted under 35                              5,921,875 A                   7, 1999 Bickel
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 (21) Appl. No.: 11/541,589                                                                    6,241,634 B1                  6/2001 Armer, Jr.
 (22) Filed:              Oct. 2, 2006                                                                                           (Continued)
                                                                                                                    OTHER PUBLICATIONS
 (65)                Prior Publication Data                                            Beman Products Catalog, 1999.
         US 2007/0026979 A1     Feb. 1, 2007
                                                                                                               (Continued)
             Related U.S. Application Data                                             Primary Examiner John Ricci
 (62) Division of application No. 10/678,821, filed on Oct.                            (74) Attorney, Agent, or Firm—Holland & Hart
         3, 2003, now Pat. No. 7,115,055.                                              (57)                                    ABSTRACT
 (51) Int. Cl.                                                                         The invention involves an arrow system having a shaft
      F42B 6/04                         (2006.01)                                      having a first end and an insert receptive of a standard point,
 (52) U.S. Cl. ...................................................... 473/578          the insert being disposed completely within the first end of
 (58) Field of Classification Search ................ 473/578,                         the shaft. An insert installation tool may be used as part of
                                                            473/582,583                the invention to facilitate insertion of the insert into the first
         See application file for complete search history.                             end of the shaft. The invention further includes a reduced
 (56)                       References Cited                                           diameter hunting arrow shaft that maintains Sufficient spine
                                                                                       and weight characteristics. The reduced diameter hunting
                      U.S. PATENT DOCUMENTS                                            arrow shaft is receptive of standard or non-standard internal
                                                                                       components for increasing arrow penetration and shot accu
        3,277,893     A      10, 1966    Clark                                         racy. Still further, the invention includes an arrow tip assem
        3,401,938     A       9, 1968    Bear
        4,203,601     A       5, 1980    Simo                                          bly including a male insert and a female point to assist in
        4,533,146     A       8, 1985    Schaar                                        aligning points with arrow shafts.
        4,534,568     A       8, 1985    Tone
        4,671,517     A       6, 1987    Winters                                                              7 Claims, 14 Drawing Sheets

                                                                                Irvention
                                                                                                                                                                     Prior
                                                                                                                                                                      Art


                                           520                   290
          516
                532              531                             28
                                   5




            539-5E                                  54           24                                                                                                     --CS Hunter
                                                                                                                                                                        --Eyoti
                                                                                                                                                                        -a-Epic"
                                                                                                                                                                        -o-lightspeed"
                                                                                                                                                                        --Excelawk"
                                                                                                                                                                        -e-6cce-Black"
                                                                                                                                                                        --Carboxpress-cx"
                                                                                                                                                                        -z-Blackhawk
                                                                                                                                                                        --twensonable
                                                                                                                                                                        --lemonable 8
                                                                                                                                                                        -e-liversionable.9

                                                                         24     .245   0.25    255   0.260   0285    (.270   0.275   0.28     0.285   0.290   0295   0.300   0.305       0.310   0,315
                                                                                                                    Outside Diameter (inch)
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                                                                         Page 2

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                                                     - - - - - -   473,578
                                                                              Easton Bowhunting and Target Archery Guide, 4-9, 1-13.
      7,270,618         9, 2007   Palomaki et al. .... ... 473,578
  2003, OO13565         1, 2003   Song                                        * cited by examiner
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                           Fig. 1                          Fig. 2
                         (Prior Art)                     (Prior Art)
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                                Deflection (n) = Spine




                                   Fig. 4A
                                  (Prior Art)


                                           538           536a
                504                                                536


                Z(<ZAZZZZ
               ZYZZZZZZZZZZZZZZZZZZZZZZZZZZZZZZZZZ


                                                            538a
                                   Fig. 4B
                                  (Prior Art)
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        529
              516
                                   530
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                                            531
                                                         nySynnanny
                                                  -...-S.
                                                   NSN


                    t”.
                               524

                                      Fig. 5C
                                                              520
                    532                       531
              516
                                                    00                          533
                     7      44444444444444

    2
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                             2XN                  F.
                           1477-7777.27772/XXX-XX-XXXX/7ZYZZZZZZZZYZZZZZZZZZYZZZYZZZZZZZZZZZY




                    516       (7. R z

                                    2
                                   23.
                                      2     (7                 (a 537
                             539
                                              532                        504

                                         Fig. 5E
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                            504

                                  539

                  550
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                     640

        646                \
                                      ,
                                    EyyyyyyMYZZ           9%2
                                    642                  644
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                     640

       646                 \
                                                  asN 12           p
                                    -E-2XYWYMY2Y777
                                    NNNSN
                                                          9%           41



                                    642          644    504
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                                                     112M
                                                     Test


  Veloc ity
    (fps)



                                                                   700
                                Arrow Mass (Grains)
                                     Fig. 7
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                        112 MV2= 65 ft-Ibs




     f
     9
         s
         o



                 425                518                 568      654
                                   Arrow Mass (Grain)
                                          Fig. 8




                                   KEat Impact (ft-lbs)

                                             Fig. 9
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                         Gelatin Penetration
                           Depth (inches)
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                                    || || 7 |
                                            TV

                                      W77||




                             Spine (inch)
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                 0870 0970 07 0       0 70       0980 0980
                                  Spine (inch)
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                                                          US 7,374,504 B2




                                                                C




                                                                Co




                          Weight (O29" (grains)
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                                           1064
                  1062             1072
           1016

                                          SS


                    1000
  1016
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                     ZZZZZZZZZZZZZZYZZZZZZZYZZZZZZZYZZZYZZYZYZZZZZZZZZZYZZZ


                                                            1004

                                   Fig. 14B

                                        1000
          1016



         1032                                                          1004
                         1034
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                                                     US 7,374,504 B2
                               1.                                                                     2
                     ARROW SYSTEM                                      rest can result in unpredictable disturbances during launch of
                                                                       the arrow, and therefore will affect the accuracy of the shot.
                 RELATED APPLICATION                                      Third, the point outsert 200 has a larger diameter relative
                                                                       to the diameter of the shaft, which makes the arrows
   This is a divisional of U.S. patent application Ser. No.       5    containing the point outsert 200 more difficult to extract
 10/678,821 filed 3 Oct. 2003, now U.S. Pat. No. 7,115,055.            from various targets as compared to arrows with insert
                                                                       components only. Use of the point outsert 200 often results
                    TECHNICAL FIELD                                    in damaged points and outserts 202, and further causes
                                                                       points and outserts 200 to detach from the arrow shaft and
    This invention relates to arrow systems, including in         10   remain inside the target after the arrow is pulled from the
 particular hunting arrow systems.                                     target. Points and/or outserts 200 lost inside a target may
                                                                       cause damage to Subsequent arrows that happen to impact
          BACKGROUND OF THE INVENTION                                  the target at the same location as the lost points or outserts.
                                                                       As a result, some commercial archery ranges have banned
                                                                  15   outsert-equipped arrow shafts.
    Many different types of arrows and arrow shafts are                   In an apparent attempt to address the limitations described
 known for use in hunting and sport archery. One arrow type            above, modem FRP arrows with new types of construction
 of relatively recent design is the fiber reinforced polymer           have been developed. The typical modem FRP arrows
 (FRP) arrow. FRP is a generic term including, but not limited         include glass and/or carbon fibers arranged in multiple
 to, fiberglass composites and carbon fiber composites. Tra            directions, as opposed to the unidirectional fiber arrange
 ditional FRP arrow shafts have been typically produced by             ment of the earlier FRParrows. The multi-directional fiber
 a number of different manufacturing processes. The first              arrangement (e.g., fibers that run perpendicularly or at an
 FRParrow shafts were constructed with unidirectional rein
 forcing fibers aligned parallel to the axis of the shaft.             angle relative to each other) increases the hoop strength of
                                                                       the shafts, which allows the shafts to support greater internal
    Prior designs and processes for constructing FRP shafts       25   loads, including internal loads generated by insert compo
 resulted in a low circumferential or hoop strength. The hoop          nents. Such modern FRP arrows have, however, been tra
 strength of these arrow shafts was so low that the arrows             ditionally made having an outside diameter and wall thick
 could not withstand even Small internal loads applied in a            ness of a size sufficient to accommodate standard-sized
 direction radially outwardly from the center of the shaft. For        inserts. These carbon-composite arrows were generally
 example, internal loads generated from inserting standard        30   lighter than aluminum shafts, but were generally of the same
 components into the inside of these types of shafts would             spine. “Spine' is an industry-standard measurement of
 have resulted in failure of the arrow shaft. Standard arrow           arrow shaft, stiffness. Spine is measured according the
 components, such as those shown in FIG. 1, include inserts            parameters shown in FIG. 3. As shown, a shaft 304 is
 100, points 116 (“point’ as used herein means any structure           supported at two points 306 and 308, which are separated by
 formed at or secured to the forward or distal end of the         35   a distance of 28 inches. A 1.94 pound weight is applied at a
 arrow, including without limitation field points, broadheads,         mid point 310 of the shaft 304. The deflection 312 of the
 etc.), and nocks 102, all of which are mounted to an arrow            shaft 304 relative to the horizontal is defined as the “spine.”
 shaft 104. It should be noted that fletching, required for            An arrow must have certain spine characteristics, depending
 proper arrow flight, is not shown in the drawings, but is well        on its length and the draw weight of the archery bow, to
 understood by those skilled in the art.                          40   achieve proper flight. Generally, the heavier the draw weight
    Because insert components have not been practical for use          the stiffer the spine (i.e., less deflection) must be.
 with the relatively small diameter FRP prior art shafts of               As a major portion of the archery market has moved
 types discussed above, externally attached components have            toward lighter weight shafts, the modem FRP arrow has
 been developed and used. FIG. 2 illustrates two such exter            gained widespread acceptance. Lighter arrow shafts have the
 nal components, known as “outserts' in the industry. The         45   principal advantage of higher Velocities when launched from
 term “outsert,” as it suggests, refers to an arrow component          the same bow. Such higher velocities result in a flatter arrow
 that is inserted or installed over the outside diameter of the        trajectory. The practical advantage of flatter trajectory is that
 arrow. The two outserts shown in FIG. 2 include an outsert            a misjudgment by an archer of the range to a target has less
 receptacle 200 to receive a point 116 and an outsert nock             effect on the point of impact.
 202. Outserts were, at the time, the only viable way to attach 50 Due to material and structural considerations, however, in
 the various other arrow components to these prior FRP designing internal-component FRParrow shafts for reduced
 shafts because of their low hoop stress. Arrow shaft outserts weight, it became necessary to both increase shaft outside
 have, however, at least three key disadvantages. First, out diameter and reduce wall thickness relative to the prior art
 sert nocks 202 have a feel that is objectionable to most FRP outsert shafts in order to provide desirable spine/weight
 archers. Generally, archers prefer a smooth outer Surface of 55 combinations. For aluminum arrow shafts, for example, to
 the shaft without any projections (other than the fletching). provide lighter weight arrows, the wall thickness must be
 This smooth outside diameter preference correlates with the reduced and the diameter of the arrow, both the inside
 general understanding that an arrow will have better aero diameter and the outside diameter, must be increased to
 dynamic efficiency with fewer structural projections outside maintain adequate spine. This process of thinning the wall
 of the arrow shaft.                                            60 and increasing shaft diameter has, however, practical limi
    Second, outsert nocks 202 frequently result in mechanical tations. At some point, if taken to an illogical extreme, the
 interference with many types of arrow rests when launching arrow would have mechanical properties similar to an alu
 the arrow. Most arrow rests hold the arrow in a particular minum beverage can with no practical resistance to side
 position when the archery bow is drawn and the arrow is loads or crushing.
 released. With many arrow rests, the arrow continues to 65 With some arrows, inserts, such as "half-out” inserts,
 contact the arrow rest as the arrow passes the location of the were introduced to the market some time ago. A typical
 arrow rest. Contact between the nock outsert and the arrow        half-out insert assembly is shown in FIG. 4A. A half-out
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                                 3                                                                    4
 insert 400 includes a first insert portion 412 with a diameter          0.275 inches, and a spine of 0.500 inches or less. This
 smaller than the standard insert 100 shown in FIG. 1 such               embodiment may include an insert embedded completely
 that the first insert portion 412 may be inserted into a                within the shaft and a point coupled to the insert.
 reduced diameter shaft 404. A second portion 414 of the                   Another embodiment comprises a reduced diameter FRP
 half-out insert 400 has a larger outside diameter that is          5    hunting arrow shaft including an inside diameter of approxi
 receptive of a standard point 416, yet its outside diameter             mately 0.204 inches, a spine of approximately 0.500 inches
 corresponds to the outside diameter of shaft 404. Therefore,            or less, and an outside diameter of 0.275 inches or less. The
 half-out inserts facilitate use of standard field points with           inside diameter of about 0.204 is receptive of standard point
 arrow shafts having inside diameters Smaller than standard              inserts.
 arrow shafts.                                                      10      Another embodiment of the invention comprises an arrow
   Half-out assemblies have, however, several disadvantages              including a shaft with a first end, a male insert disposed
 and have not been well accepted. Half-out assemblies are                partially within the first end and extending beyond the first
 cantilevered at the front of the arrow shaft 404. The canti             end, and a female point having a flange or skirt that extends
 lever results in a system that tends to deform more readily             over the arrow shaft in a tight-fitting manner to assist in
 on impact as compared to other arrow assemblies. The               15   alignment of the point with the arrow shaft.
 half-out assemblies also make it more difficult to precisely               Still another embodiment comprises a reduced diameter
 align points 416 with the shaft 404, as will be discussed               FRP hunting arrow shaft including an inside diameter of
 below in greater detail.                                                approximately 0.200 inches, a spine of approximately 0.500
             SUMMARY OF THE INVENTION                                    inches or less. The outside diameter may range between
                                                                         approximately 0.255 and 0.271 inches. The inside diameter
    The present invention comprises an arrow including a                 of about 0.200 is receptive of standard half-out inserts.
 shaft with a first end and an insert receptive of a point, the             Another embodiment comprises a reduced diameter FRP
 insert being disposed completely within the first end of the            hunting arrow shaft, including an inside diameter less than
 shaft. Hunters commonly use field points for practice and          25
                                                                         0.200 inches, a spine of 0.500 inches or less, and an outside
 broadheads (either expandable or fixed-blade) for hunting.              diameter of 0.275 inches or less. The inside diameter may be
 Although this aspect of the present invention (i.e., an inter           approximately 0.187 inches.
 nal component Small outside diameter arrow shaft and a                     Another embodiment comprises a point assembly includ
 novel insert installation system) is advantageous when field            ing a male insert having a first end configured to engage an
 points are used, the invention is particularly advantageous        30   arrow shaft and a second end, and a female point configured
                                                                         to mate with the second end of the male insert. The male
 when using broadheads because broadheads exacerbate                     insert may include a tapered head between the first and
 many shaft/insert/point alignment problems.
    According to one embodiment, the point may include a                 second ends, and the female point may include an interior
 shoulder and the shaft may include an end wall. The insert              tapered surface shaped to mate with the tapered head of the
                                                                         male insert.
 is seated at a depth within the shaft such that the shoulder of    35
 the point bears directly against the end wall of the shaft                Yet another embodiment of the invention comprises an
 when the point is engaged with the insert. In one embodi                arrow including a shaft with a first end, a male insert
 ment, the shaft may have an inside diameter of approxi                  disposed partially within the first end and extending beyond
 mately 0.204 inches, a spine of approximately 0.500 inches              the first end, and a female point engaged with the male
 or less, and an outside diameter less than 0.275 inches. When      40
                                                                         insert.
 spine is discussed herein, “stiffer spine means less arrow                 Still another embodiment comprises an insert installation
 deflection (i.e., a smaller numeric value), and “weaker'                tool including a positioning rod, where the rod includes a
 spine means greater arrow deflection (i.e., a larger numeric            first end, a second end, a first diameter at the first end sized
 value). Thus, the terms “less spine” and “stiffer spine” have           Smaller than an inside diameter of an insert, one or more lips
 the same meaning throughout. In a similar manner, the terms        45   disposed between the first and second ends, the one or more
 "more spine' and “weaker spine' have the same meaning                   lips having a diameter sized to provide an interference fit
 throughout.                                                             with an inside diameter of an arrow shaft, and a shoulder
    Another embodiment comprises an arrow including a                    disposed between the first end and the one or more lips sized
 shaft having an inside diameter, a first end, and a first end           larger than the inside diameter of the insert; where the first
 wall, and a point having a head, a shoulder, and a shank,          50   end of the rod is configured to engage the point insert. The
 where the shoulder of the point bears directly against the first        installation tool is designed to position the insert at a desired
 end wall and the shank fits Snugly inside the arrow shaft and           depth inside the arrow shaft.
 bears against the inside surface of the arrow shaft. The direct            Another aspect of the invention involves a method of
 contact between the point and arrow shaft improves align                coupling a point to an arrow shaft including inserting an
 ment between these two components. In this embodiment,             55   entire point insert into the arrow shaft and fastening the point
 the insert is disposed completely inside the shaft and the              to the point insert. According to this method, the point
 point is threadedly received by the insert.                             includes a shoulder and a shank, where the shoulder directly
    Still another embodiment comprises a reduced diameter                engages an end wall of the arrow shaft and the shank directly
 carbon-composite hunting arrow shaft including an inside                engages the inside surface of the arrow shaft, all of which
 diameter of approximately 0.204 inches, a spine of approxi         60   assists with point alignment.
 mately 0.500 inches or less, and an outside diameter less                  Another aspect of the invention involves a method of
 than approximately 0.275 inches. In this embodiment, an                 coupling a point to an arrow shaft including installing a point
 insert may be disposed completely within the shaft and a                insert onto the installation tool and pressing the point insert
 point coupled to the insert.                                            into the shaft with the tool to a predetermined depth such
    Yet another embodiment comprises a hunting arrow                65   that a first end of the point inserted is flush with or interior
 including a hollow shaft having an inside diameter sized to             to a first end of the shaft. The insert installation tool may
 accept standard points, an outside diameter of less than                include a grip with a diameter larger than an outside diam
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                                 5                                                                        6
 eter the arrow shaft or another similar end wall that limits the             FIG. 4A is a side view of an FRParrow utilizing half-out
 extent to which the point insert can be pushed inside of the              inserts according to the prior art;
 arrow shaft.                                                                 FIG. 4B is a partial sectional side elevation view of a PIN
    Yet another aspect of the invention involves a method of               nock system according to the prior art;
 improving alignment between an arrow point and an arrow              5       FIG. 5A is an exploded perspective assembly view of an
 shaft by embedding an insert completely within the shaft and              arrow according to one embodiment of the present inven
 coupling the arrow point to the insert, where the arrow point             tion;
 and the shaft directly interface between each other at a first              FIG. 5B is an assembled perspective view of the arrow
 location where a shoulder of the point and an end surface of              shown in FIG. 5A;
 the shaft contact each other and at a second location where          10     FIG. 5C is an exploded partial sectional side elevation
 the shank of the point and the inside diameter of the shaft               view of an end of the arrow shown in FIG. 5A;
 contact each other. Embedding the insert may include                        FIG. 5D is a partial sectional side elevation view of the
 extending the insert to a predetermined depth within the                  end of the arrow as shown in FIG. 5B;
 shaft.                                                                       FIG.5E is an enlarged view of the area 5E-5E of FIG.5D,
    Still another embodiment of the invention comprises an            15   according to one embodiment of the present invention;
 arrow including a shaft with a first end defining a first end                FIG. 5F is a perspective view of an arrow being prepared
 wall, an insert with a first end defining a first end wall, the           for receipt of an arrow insert system according to the present
 insert being disposed inside the shaft such that the first end            invention;
 wall of the insert is flush with or interior to the first end wall           FIG. 5G is a side elevation view, partly in section, of the
 of the shaft.                                                             arrow preparation process shown in FIG. G.;
    In another embodiment, an arrow system includes an                        FIG. 6A is a perspective view of an arrow insert instal
 insert of substantially constant outside diameter such that the           lation tool according to one embodiment of the present
 insert is fully insertable into an arrow shaft, the insert                invention;
 including a threaded portion, and a point including a                       FIG. 6B is a side elevation view of the arrow insert
 threaded portion engagable with the threaded portion of the          25
                                                                           installation tool of FIG. 6A with an insert secured thereto;
 insert.
                                                                              FIG. 6C is a side elevation view, partly in section, of the
    Another aspect of the invention involves an arrow prepa                arrow insert installation tool of FIG. 6A showing the insert
 ration tool comprising an abrasive material to engage an end              being installed inside an arrow shaft;
 wall of an arrow shaft and a protuberance extending from the                 FIG. 6D is a perspective view of an alternative embodi
 abrasive material, where the protuberance is sized to inter          30
                                                                           ment of an arrow insert installation tool according to the
 face with an inside surface of the arrow shaft such that
 rotation of the arrow shaft relative to the abrasive material
                                                                           present invention;
 will cause a chamfer to form between the inside surface of                   FIG. 6E is a perspective view of another alternative
 the arrow shaft and the end wall of the arrow shaft.                      embodiment of an arrow insert installation tool according to
    Still another aspect of the present invention involves an         35
                                                                           the present invention;
 internal fit component FRP hunting arrow shaft comprising                    FIG. 7 is a graph illustrating a constant kinetic energy
 an arrow shaft to receive internal fit components, where the              curve plotted on a mass versus Velocity chart;
 arrow shaft has a weight in proportion to twenty-nine inches                 FIG. 8 is a graph illustrating penetration depth of various
 of arrow shaft, and wherein the weight or the spine falls on              arrows into a gelatin material, each arrow having Substan
 a plot of weight versus spine above and to the left of a             40   tially the same kinetic energy;
 straight line that includes a first point having a weight of 190             FIG. 9 is a graph illustrating penetration depth of various
 grains and an outside diameter of 0.275 inches, and a second              arrows into a gelatin material as a function of kinetic energy
 point having a weight of 320 grains and an outside diameter               for various arrows;
 of 0.305 inches.                                                             FIG. 10 is a graph illustrating penetration depth of dif
    Another aspect of the present invention involves an               45   ferent FRParrow shafts into a gelatin material where kinetic
 internal fit component FRP hunting arrow shaft comprising                 energy has been maintained constant and the shaft outside
 an arrow shaft to receive internal fit components, wherein                diameter has changed;
 the arrow shaft spine or the outside diameter of the arrow                   FIG. 11 is a graph illustrating spine vs. weight character
 shaft falls on a plot of spine versus outside diameter below              istics of various prior art shafts as well as shafts according
 and to the left of a straight line that includes a first point       50   to the present invention;
 having a spine of 0.320 inches and an outside diameter of                    FIG. 12 is a graph illustrating various spine vs. outside
 0.295 inches, and a second point having a spine of 0.480                  diameter characteristics of various prior art arrow shafts as
 inches and an outside diameter of 0.280 inches.                           compared to arrow shafts according to the present invention;
                                                                              FIG. 13 is a graph illustrating weight vs. outside diameter
          BRIEF DESCRIPTION OF THE DRAWINGS                           55   characteristics of various prior art arrow shafts compared to
                                                                           arrow shafts according to the present invention;
    The accompanying drawings illustrate various embodi                       FIG. 14A is an exploded sectional side elevational assem
 ments of the present invention and are a part of the speci                bly view of an arrow system according to an alternative
 fication. The illustrated embodiments are merely examples                 embodiment of the present invention; and
 of the present invention and do not limit the scope of the           60      FIG. 14B is a sectional side elevational assembly view of
 invention.                                                                an arrow system according to yet another alternative
   FIG. 1 is a side view of an FRP arrow utilizing inserts                 embodiment of the present invention; and
 according to the prior art;                                                  FIG. 14C is an exploded sectional side elevational assem
   FIG. 2 is a side view of an FRP arrow utilizing outserts                bly view of an arrow system according to still another
 according to the prior art;                                          65   alternative embodiment of the present invention.
   FIG. 3 is a diagram illustrating spine measurement param                   Throughout the drawings, identical reference numbers
 eters;                                                                    designate similar, but not necessarily identical, elements.
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                               7                                                                    8
                DETAILED DESCRIPTION                                   the present invention is shown. According to FIGS. 5A-E,
                                                                       the hunting arrow 520 includes a shaft 504 and an insert 500.
    The present specification describes a novel arrow system           The insert 500 is receptive of a point 516. The insert 500 is
 that may be used for archery, and particularly for bowhunt            advantageously sized to fit Snugly completely within the
 ing. One aspect of the novel arrow system relates to a                shaft 504 as shown in FIGS. 5B and 5D. Previous inserts, for
 reduced diameter hunting arrow. The reduction in diameter             example the insert 100 shown in FIG. 1, include a lip 118
 of a hunting arrow facilitates more accurate shooting and             that prevents disposing the insert 100 completely with the
 better penetration than previous arrows. The reduced diam             shaft 104. The insert 500 of the embodiment shown in FIGS.
 eter hunting arrow may be sized to accommodate standard               5A-E, however, may be fully embedded within the shaft 504.
 arrow point assemblies, half-out arrow point assemblies, or      10   Accordingly, the insert 500 may have a substantially con
 smaller diameter arrow point assemblies. The reduced diam             stant outside diameter (without regard to conventional glue
 eter hunting arrow may also be used to accommodate a new              grooves) sized to fit within an inside diameter of the shaft
 point insert System and a new arrow point assembly, both of           SO4.
 which are further described below. The novel arrow system                The insert 500 may include one or more ridges 526 about
 also involves an insert installation tool to facilitate place    15   its outer diameter, as shown in FIGS.5A and 5B. The ridges
 ment of the novel insert into an arrow shaft and an arrow             526 do not, however, extend beyond the substantially con
 shaft preparation tool to ensure the shaft will properly              stant outside diameter of the insert 500 and thus do not
 accommodate a point.                                                  prevent full insertion of the insert 500 into the shaft 504. The
    Accordingly, the specification describes various aspects           insert may include a through hole, as shown in FIGS. 5C and
 of the invention according to the following order. First,             SD, or may have a so-called blind hole in the back wall of
 embodiments of an arrow utilizing the new point inserts are           the insert (not shown).
 shown and described, along with the arrow point assembly                 The shaft 504 is preferably constructed of a carbon
 tool. Second, experimental data illustrating the advantages           composite material and includes a first end 522 and a first
 of a reduced diameter arrow is discussed. Third, various              end wall 524. The first end wall 524 corresponds to the
 embodiments of reduced diameter arrow shafts are                 25   terminating end of shaft 504. The shaft 504 also includes a
 described. Fourth, various embodiments relative to the new            second end 534 that is receptive of a nock 536. A nock
 arrow system and assembly method for reduced diameter                 adapting insert 538 may be included between the shaft 504
 arrows are shown and described.                                       and the nock 536. Although FIGS.5A and 5B show such an
    As used in this specification and the appended claims, the         insert, it is to be understood that any nock system; such as
 phrases “completely within' or “completely inside” mean          30   without limitation, direct fit nock systems (e.g., as shown in
 that an item is located interior to an object and does not            FIG. 1), UNITM bushings with g-nock systems (e.g., as
 protrude or extend from the object. “Completely within' and           shown in FIG. 5B), and PIN nock systems with PIN nocks
 “completely inside' also include arrangements in which the            (e.g., as shown in FIG. 4B), may be used without departing
 item is located interior to and flush with the object.                from the scope of the present invention. In addition, a
    The term “insert” is used broadly to encompass any            35   plurality of vanes or other fletching (not shown in the
 apparatus that is or may be at least partially introduced into        drawings) may be secured to the second end 534 of the shaft.
 or inside an arrow shaft.                                                As mentioned above, the insert 500 is receptive of the
    “Hunting arrow’ is also used broadly to include any                point 516. The point 516 is preferably a standard size,
 arrows, parts of arrows, or arrow assemblies that are                 commercially available point. The point 516 includes a head
 intended specifically for hunting.                               40   529 and a shoulder 530 where a relatively greater outside
    “Fiber reinforced polymer (FRP) refers to any combi                diameter of the point 516 transitions to a shank 531. Accord
 nation of materials of which carbon is one, including without         ing to principles described herein, the insert 500 has no lip
 limitation fiber reinforced materials, advanced composites,           (e.g., element 118 in FIG. 1) and is inserted to be at least
 and other material sets that include only carbon.                     flush with or below the end wall 524 of shaft 504. Therefore,
    “Spine” is used to indicate a stiffness measurement           45   the shoulder 530 of the point 516 advantageously bears
 according to the standard parameters described above, as              directly against the end surface 524 of the shaft 504 as
 understood by those skilled in the art.                               shown in FIGS. 5B, 5D, and 5E. The direct engagement
    “Point as used to describe the present invention shall             between the shoulder 530 and the end surface 524 according
 mean, for purposes of simplifying the description, any type           to FIGS. 5A-D provides a first direct interface location 532
 of arrow point, including without limitation field points and    50   (FIGS.5D and 5E) between the end wall 524 of the shaft 504
 broadheads.                                                           and the shoulder 530 of point 516 which facilitates a simpler,
    “Internal insert components’ means inserts that fit inside         more precise alignment between the point and the arrow
 of an arrow shaft as well as any type of arrow point received         shaft.
 by Such inserts.                                                        The novel arrow system also provides a second interface
    As mentioned above, a number of developments in arrow         55   location 537 (FIGS. 5D and 5E) between the arrow 504 and
 technology, and particularly hunting arrow technology, have           the point 516. Specifically, the outside surface of the shank
 recently occurred. While there are many different types of            531 of point 516 bears directly against and the inside surface
 arrows available, conventional arrows have traditionally not          533 of the arrow shaft 504.
 provided the combination of accuracy, flat trajectory, short             In contrast, prior art arrow systems, as shown in FIG. 1,
 travel time, penetration and internal fit components offered     60   provided an extra structural element (i. e., the insert)
 by a reduced diameter hunting arrow shaft according to the            between the arrow shaft and the point at all locations. Thus,
 present invention. The methods and devices described                  prior art arrow systems provided at least four (4) different
 herein include various reduced diameter arrow shafts and              sets of interfacing surfaces, all of which have the potential
 other associated devices. The particular implementations,             to affect alignment of the respective parts. One set is located
 however, are exemplary in nature, and not limiting.              65   between the shoulder 117 of the point 116 and the outer, flat
   Turning now to the figures, and in particular to FIGS.              surface of lip 118 extending from insert 100. Another is
 5A-E, a hunting arrow 520 according to one embodiment of              located between the bottom surface 119 of lip 118 and the
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                                                      US 7,374,504 B2
                                                                                                      10
 end surface 124 of the arrow shaft 104. Still another set of            first end 644 is sized to fit within the threaded section of
 interfacing Surfaces is between the cylindrical outer Surface           insert 500. FIG. 6B shows an insert positioned on the first
 of the insert 100 and the inside surface 111 of the arrow shaft         end 644 of the installation tool 640. FIG. 6C shows the insert
 104. A final set of interfacing surfaces is between the shank           500 being positioned inside the arrow shaft 504 using the
 115 on the point 116 and the corresponding inside cylindri         5    installation tool 640. The outside diameter of the rod 642 is
 cal Surface 113 of the insert 100.                                      different than the outside diameter of the tip 644 such that a
    Thus, arrow system of the present invention eliminates               first shoulder 652 is formed. Therefore, the first shoulder 652
 two of these sets of interfacing Surfaces to improve greatly            is sized to abut the insert 500, as shown in FIG. 6B, which
 the alignment between the point and the arrow shaft. Spe                will allow an operator to push the insert 500 into the arrow
 cifically, as shown in FIGS. 5C, 5D, and 5E, the present           10   shaft 504 to a predetermined, precise depth.
 invention provides two sets of direct interfacing Surfaces                 The rod 642 may also include one or more wipers. The
 (interfaces 532 and 537 as shown in detail in FIG. 5E)                  embodiment of FIG. 6A-6C comprises a first peripheral ring
 between the arrow shaft 504 and the point 516 to greatly                or lip 648 and a second peripheral ring or lip 650 disposed
 improve alignment. It is to be understood that while some               between the first shoulder 652 and second shoulder 654 of
 aspects of the present invention are directed to hunting           15
                                                                         the insert installation tool 640. The first and second wipers
 arrows only, this particular aspect of the present invention            648 and 650 may have equal diameters and may be sized to
 applies to all types of arrows, both hunting arrows and target          provide an interference fit with an inside diameter of the
 aOWS.
    As shown in FIGS. 5F and 5G, an arrow preparation tool               arrow shaft 504. The first and second wipers 648 and 650 are
 550 is provided to appropriately place a chamfer on the                 intended to remove any excess adhesive from the inside
 distal end 522 of shaft 504. The arrow preparation tool 550             Surface of the shaft. According to one embodiment, the
 comprises a frusto-conically shaped protuberance 552 over               diameter of the first and second wipers 648 and 650 is
 which an end of arrow shaft 504 is inserted. After the arrow            approximately 0.206 inches. Such diameters are not, how
 shaft is inserted over protuberance 552, a downward force F             ever, limited to any particular measurement, nor are the first
                                                                         and second wipers 648 and 650 necessarily of equal diam
 is applied to the arrow shaft as the shaft is rotated R (FIG.      25
                                                                         eter.
 5G) back and forth until the end wall 524 abuts the top                   Another embodiment of an insert installation tool 740 is
 surface of preparation tool 550. At that point, a proper                shown in FIG. 6D. Each end of the insert installation tool
 chamfer 539 has been created on the distal end 522 of shaft
 504 between the end wall 524 and the inside Surface 537 of              740 includes a rod 742 which extends toward and terminates
 shaft 504. In addition, a portion of end wall 524 will also        30   at a tip or first end 744. Each rod 742 attaches to a handle
 remain. As shown in FIG. 5E, the purpose for preparing the              or second end 746, which may be made of any suitable size
 arrow shaft with a chamfered surface 539 is to accommodate              or shape. The handle 746 incorporates an ergonomic design
 points that may have a radius R (FIG. 5E) between the                   to facilitate grasping by a person doing the insert installa
 shoulder 530 and the shank 531. It is to be understood that             tion. Any suitable design may be incorporated into the
 the arrow preparation tool 550 may be made of any appro            35   handle 746. The outside diameter of each tip or first end 744
                                                                         is sized to fit within the threaded section of the inside
 priately abrasive material. Such as bonded aluminum oxide.
 As shown in FIGS. 5F and 5G, the arrow preparation tool                 diameter of the insert 500 (FIG. 6C). Each rod end 744
                                                                         terminates at a first shoulder 752 and transitions to a second
 550 may be placed on top of a flat surface so that as the
 arrow is rotated back and forth R as shown in FIG. 5G,                  section 742, which terminates, in turn, at the handle portion
 there is no need to hold the porous, abrasive arrow prepa          40   746. Each first shoulder 752 is designed to abut an insert
 ration toot 550. Alternatively, the arrow preparation tool 550          500, in a manner similar to what is shown in FIG. 6B, to
 may be held by the person performing the chamfering                     allow an operator to push the insert 500 into the arrow shaft
 process. Those skilled in the art will understand that other            504 to a predetermined, precise depth.
 arrow preparation tools may be utilized without departing                  Each rod 742 also includes one or more wipers in the form
 from the scope of the present invention. Still further, pre        45   of a first peripheral ring or lip 748 and an optional second
 prepared arrow shafts with appropriate chamfers may be                  peripheral ring or lip 750 disposed between the first shoulder
 provided to accommodate points with radii, without depart               752 and wall 754 of handle portion 746. The first and second
 ing from the scope of the present invention.                            wipers 748 and 750 may be of equal diameters and may-be
    After the shaft 504 has been properly conditioned, per               sized to provide an interference fit with an inside diameter
 haps by arrow preparation tool 550, the insert 500 of FIGS.        50   of the arrow shaft 504. The first and second wipers 748 and
 5A-E may be installed completely within the shaft 504 in a              750 are intended to remove excess adhesive from the inside
 number of ways. One way might be for a user to couple the               Surface of the shaft. According to one embodiment, the
 insert 500 to the point 516 and install both together as a unit.        diameter of the first and second wipers 748 and 750 is
 Another way, however, may be to use an insert installation              approximately 0.206 inches. Such diameters are not, how
 tool 640, as shown in FIGS. 6A-C. The tool 640 allows the          55   ever, limited to any particular measurement, nor are the first
 interface 532 between point 516 and shaft 504 to be more                and second wipers 748 and 750 necessarily of equal diam
 precisely controlled. The tool, as discussed below, provides            eter. When tool 740 is used to install insert 500 into shaft
 the advantage of precise depth control of the insert 500 and            504, the wall 754 of handle 746 abuts the end 524 of the
 prevents adhesive contamination on the portion of the inside            shaft.
 of the shaft corresponding to the area of interface 537 (FIGS.     60      In order to facilitate the interference fit between the
 5D and 5E) between shank 531 of point 516 and the inside                wipers and the inside diameter of the arrow shaft 504, the
 Surface 533 of shaft 504.                                               insert installation tools 640, 740 may be made of multiple
   According to the embodiment of FIGS. 6A-C, the insert                 grades and “pliabilities” of plastic or another suitable mate
 installation tool 640 includes a rod 642 which extends                  rial that can flex and provide an appropriate interference fit.
 toward and terminates at a tip or first end 644. The rod 642       65   Still further, the tool 640, 740 could be made of any other
 attaches to a handle or second end 646, which may be made               material. Such as metal, where, for example and without
 of any suitable size or shape. The outside diameter of the              limitation, rubber O-rings are used for the wipers.
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                                                                     US 7,374,504 B2
                              11                                                                                               12
    Alternatively, as shown in FIG. 6E, tool 740 may include
 a specialized depth gauge 759 (FIG. 6D) on one end of tool                                                       TABLE 2-continued
 740 to ensure that chamfer 539 has been properly instilled
 into shaft 504.
                                                                                                 Bow Draw Weights and Kinetic Energy at Impact in Test 1
    As described in the background, the phenomenon of 5
 increased penetration for reduced shaft diameter was gen
 erally felt by archers and bowhunters to be true, but was not                                     Arrow                Bow
 well addressed in a scientific manner in the past.                                          Size Designation        Peak Draw         Impact        Kinetic Energy at
    Therefore, a number of experiments were performed                                       (Aluminum Shafts)        Weight (1b)    Velocity (fps)    Impact (ft-lb)
 according the present invention to better understand and 10
 evaluate arrow penetration. The tests were performed shoot                                      Standard
 ing arrows into industry-standard ballistic gelatin that has
                                                                                                   2219                 59.0            213.3                66.O
 heretofore been used for analysis of firearms and ammuni
 tion.                                                                                        Heavy (plastic
    According to one test measuring arrow penetration (Test                          15    weight tube added to
 1), arrow mass and impact Velocity were varied according to                                    shaft ID)
 the graph shown in FIG. 7 to provide a constant kinetic
 energy
                                                                                             The penetration results from shooting the four arrows
                                              1                                           according to the test parameters are shown in FIG. 8. The
                           (kinetic energy = im. v.                                       results show that the penetration for all four arrow shafts was
                                                                                          the same, approximately 12.5 inches. Such results indicate
                                                                                          that for a constant arrow shaft OD, penetration performance
 where m=total arrow mass and V-impact velocity) of 65                               25   is a strong function of kinetic energy, and separate from the
 foot-pounds. The arrows tested were aluminum shafts with                                 independent parameters of mass and Velocity. That is, within
 a nominal outside diameter of 0.344 inches. Table 1 (below)                              the range of arrow masses and impact velocities tested,
 lists the four specific shafts tested.                                                   penetration depth was constant if impact kinetic energy was
                                                                                     30
                                                                                          constant, regardless of whether the kinetic energy was
                                 TABLE 1.                                                 achieved by a low mass arrow traveling at high Velocity, or
                       Penetration Test Shaft Description                                 a high mass arrow traveling at a low velocity.
                                                                                             To confirm the hypothesis that penetration is only a strong
                                                     Arrow Mass (grain) (total            function of kinetic energy, Test 2 was conducted whereby
                                                    flight weight of shaft, point,
  Arrow Size Designation       Shaft Outside          nock, vanes, bushing and       35   the bow draw weight and resultant impact velocity were
    (Aluminum Shafts)          Diameter (in.)                 adhesives)                  varied. The specific test parameters are shown in Table 3
            2212                   O.3452                       424.9                     below.
            2216                   O.3460                       SO8.3
            2219                   O.3440                       567.8                                                     TABLE 3
          Standard                                                                   40
            2219                   O.3440                       653.8
   Heavy (plastic weight                                                                        Bow Draw Weights and Kinetic Energy at Impact in Test 2.
  tube added to shaft ID)
                                                                                           Arrow Size Designation          Bow Peak      Kinetic Energy at Impact
                                                                                             (Aluminum Shafts)          Draw Weight (1b)          (ft-lb)
    Each arrow included an identical arrow point, which was                          45
 a fixed-blade broadhead known as a New Archery Products                                             2212                      50                       47
                                                                                                     2216                      60                       69
 Thunderhead(R). Each arrow point had a mass of 85 grains.                                           2219                      70                       77
 As shown in Table 1, the variation in shaft outside diameter                                      Standard
 for each arrow was relatively small such that the interface                                         2219                      70                       8O
 between arrow and target was Substantially the same. How                            50
                                                                                            Heavy (plastic weight
 ever, the difference in mass between the arrows was sub
 stantial. Therefore, the bow draw weight was adjusted for                                 tube added to shaft ID)
 each arrow to provide an impact velocity yielding an
 approximately constant level of kinetic energy at impact.
 The bow draw weights used for each arrow are shown in                               55      The results of Test 2 are shown in FIG. 9. Again, pen
 Table 2 below.                                                                           etration is shown to be a strong linear function of impact
                                                                                          kinetic energy.
                                 TABLE 2                                                     Another test, designated as Test 3, then investigated the
         Bow Draw Weights and Kinetic Energy at Impact in Test 1                     60
                                                                                          effect of shaft outside diameter on penetration performance.
                                                                                          For Test 3, two arrows with different outside diameters were
          Arrow
    Size Designation
                               Bow
                            Peak Draw             Impact      Kinetic Energy at
                                                                                          used. The first arrow was an ICSHunter(R) 400 Heavy, and is
   (Aluminum Shafts)        Weight (1b)     Velocity (fps)       Impact (ft-lb)           an internal component carbon-composite shaft. The second
                                                                                          was a 2413 aluminum alloy arrow. Again, both were tested
          2212                 64.O               263.6                 65.5
          2216                 6O.O               241.0                 65.5         65   with New Archery Products 85 grain Thunderhead(R) fixed
          2219                 59.5               228.9                 66.O              broadheads. Table 4 (below) lists the parameters and results
                                                                                          of Test 3.
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                                                                   US 7,374,504 B2
                                      13                                                                              14
                                           TABLE 4
                      Shaft Diameter and Kinetic Energy at Impact in Test 3
                                          Arrow Mass (grain)
                                         (total flight weight of        Impact
 Arrow Size             Shaft Outside shaft, point, nock, vanes,        Kinetic          Penetration
 Designation           Diameter (in.) bushing and adhesives)        Energy (ft-lb)       Depth (in.)
 ICSHunter (R) 400         O.2935                464.4                      SO.8               12.2
 Heavy (FRP)
 (plastic weight
 tube added to
 shaft ID)
 2413 (aluminum)           O.3719                464.1                      SO.6               1O.O

                                                                                   15

    Based on the results of Tests 1 and 2, it was anticipated shafts available on the market today. The bow parameters
 that the two arrows shot according to the parameters of Test utilized in Test 5 were selected and adjusted during the test
 3 would have nearly identical penetration depths, given the so that the impact velocities, and thus the kinetic energies at
 approximately identical impact kinetic energy. Instead, the 2O impact, for all arrows into the ballistic gelatin targets were
 unexpected result was 22% greater penetration for the substantially identical. Prior, tests, specifically Test 1, estab
 smaller diameter ICSHunterR 400 Heavy than for the larger lished that penetration depth into the gelatin target was
 diameter 2413. Test 3 shows that the effective outer dimen-                            identical if the kinetic energy at impact was held constant
 sions is another key factor in improving penetration perfor- and the outside “envelope” (i. e., the shaft diameter and
 mance, and that as the outside diameter of the shaft is       point interfacing with the target material) were unchanged.
 reduced, the penetration increases.                         * As with the prior test, the kinetic energy for Test 5 was
    Another test (Test 4) was conducted to isolate one other maintained constant.
 variable and confirm the unexpected results of Test 3.          In Test 5, the kinetic energy at impact was constant
 According to the parameters of Test.3, there was room for because both arrow masses and impact velocities were held
 speculation as to whether the improved penetration depth of constant. Therefore, one might expect that the penetration
 the ICSHunterR 400 Heavy was due to its smaller diameter, depth would be the same for all arrows tested, unless another
 or to some other factor given FRP construction (as opposed variable had a significant effect on the penetration result.
 to the aluminum construction of the 2413) of the shaft.         In Test 5, the variable of shaft outside diameter was well
 Therefore, in Test 4 an aluminum shaft and FRP shaft having isolated, and would be the only factor which could have an
 substantially the same outside diameters were tested for 35 effect on depth of penetration. The present invention dem
 penetration performance. Table 5 (below) shows the param-                              onstrates that shaft outside diameter is a variable that
 eters and results of Test 4.                                                           directly and linearly affects depth of penetration.

                                         TABLE 5
                     Shaft Material and Kinetic Energy at Impact in Test 4
                         Shaft Arrow Mass (grain) (total
                        Outside  flight weight of shaft,           Impact
 Arrow Size            Diameter       point, nock, vanes,          Kinetic         Penetration
 Designation              (in.)     bushing and adhesives)     Energy (ft-lb)      Depth (in.)
 1816                    O.2840             409.7                   SO.O                11.4
 (aluminum)
 Evolution TM SOO        O.3003             411.2                   S.O.3               11.3
 (FRP)


    The results of Test 4 indicate that shaft material had no                              Table 6 shows the results of Test 5, particularly relative to
 appreciable affect on penetration depth. Thus, the unex-                               penetration depth. Unlike the results in Test 1, the penetra
 pected results achieved pursuant to the results of Test 3                              tion depths are not the same. Rather, the smaller outside
 (shown in Table 4) were not attributable to differences in 55 diameter shaft had improved penetration relative to the
 shaft material.                                                  larger outside diameter shafts of the prior art. FIG. 10 plots
    Another penetration test, Test 5, was performed to assess depth of penetration as a function of shaft outside diameter
 the effect of shaft diameter on penetration performance. In for the arrow shafts evaluated in Test 5. As can be appre
 Test 5, three different arrow shafts were constructed accord-    ciated, penetration depth turns out to be a very strong linear
 ing to the parameters of Table 6, set forth below. All shafts 60 function of shaft outside diameter. In FIG. 10, the solid line
 were constructed from FRP material. Additionally, the over- connecting the three data points represents the actual physi
 all length of each shaft was adjusted such that the total arrow cal testing conducted. The dashed line extrapolates this data
 mass would be substantially identical. As in the other                                 to even smaller shaft outside diameters that have not been
 penetration tests, NAP ThunderheadTM 85 grain broadheads tested, but would reasonably be expected to exhibit the same
 were used. The only difference among the various shafts was 65 improved penetration performance. Accordingly, these
 the outside diameters. The ICSHunter(R) and Fat BoyTM ranges of outside diameters shall be considered part of the
 models and other similar large diameter shafts represent present invention.
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                                                             US 7,374,504 B2
                                     15                                                                     16
                                                                              propensity of an arrow to be influenced during flight by
                              TABLE 6                                         external factors (e.g., cross winds) is reduced by a smaller
                                                                              diameter shaft. A smaller diameter shaft has a smaller
          Arrow Parameters and Penetration Parameters of Test 5               Surface area for a cross wind or other external force to act
                           Avg Wit Avg Impact Avg KE Penetration              upon. Because of the many point and nock components of
 Model           OD (in)     (gr)   Vel (fps) (ft-lb) Depth (in)              standard sizes currently available, however, it may also be
                                                                              desirable to combine reduced outside diameter shafts for the
 Invention        O.264     3.04.0        258.2     44.7          13.4
 ICSHunter (R)    O.296     304.2         257.1     44.6          13.0        purposes described above, with inside diameters receptive of
 FatBoy TM        O3S3      3O4.1         257.9     44.9          12.1        standard arrow components.
                                                                         10      Therefore, hunting arrow shafts may, according to prin
    Therefore, according to embodiments of the present                        ciples described herein, include shafts that have an inside
                                                                              diameter of 0.204 inches to accommodate all standard
 invention, the arrow shaft outside diameter is reduced rela                  hunting points currently available. The hunting arrows
 tive to standard sizes to increase arrow penetration perfor                  according to principles described herein may therefore
 mance. The embodiments described below include shaft
 diameters of reduced size relative to conventional hunting
                                                                         15   include the advantages of a smaller shaft diameter and the
 arrows to better optimize accuracy, time-of-flight, trajectory,              convenience of compatibility with standard hunting points.
 and penetration.                                                             For example, according to Some embodiments of the present
                                                                              invention there may be arrow shafts having an inside diam
    The arrow shaft invention is unique in that it provides a                 eter of 0.204 inches, a spine of 0.500 inches or less, and an
 certain combination of spine and weight with a smaller                       outside diameter of less than 0.275 inches. The outside
 outside diameter (OD) than the prior art hunting arrows on                   diameter may range, according to some embodiments,
 the market today. The present invention pertains to FRP                      between 0.248 and 0.275 inches, depending upon spine.
 shafts which use internal fit components and have spine/                     According to another embodiment the inside diameter is
 weight relationships useful for hunting, and further pertains                0.204 inches, the spine is 0.500 inches or less, and the
 to all types of aluminum-carbon arrow shafts. It does not               25   outside diameter is less than approximately 0.275 inches.
 include other external fit (outsert) components, nor does it                 Other exemplary embodiments may include arrow shafts
 include the general class of target arrows, which have a spine               having the following combinations of parameters (see Table
 from 0.450 inches to greater than 1.000 inches.                              7 below).
    FIG. 11 shows a typical plot of spine vs. weight for
 various internal fit component, FRParrow shafts. According              30                               TABLE 7
 to FIG. 11, the spine-weight relationship of the arrow shaft
 of the present invention is well within the range of other,                    Reduced diameter arrow parameters according to Some embodiments
 common spine-weights that have been established for hunt                                            Wall Thickness              Weight (grains in.,
 ing arrows. FIG. 11 does not, however, distinguish among                     Spine (in.) OD (in.)        (in.)       ID (in.)   optional parameter)
 the outside diameters of the shafts.                                    35
                                                                                O.300      0.275         O.O3S         O.204            10.7
    FIG. 12 shows a plot of the same arrow shafts in FIG. 11,                   O.340      O.267         O.O31         O.204             9.5
 but FIG. 12 plots the spine vs. outside diameter of the arrows                 O4(OO      O.264         O.O3O         O.204             9.0
 represented. FIG. 12 shows that prior art arrow shaft designs                  OSOO       O.258         O.O27         O.204             8.1
 are all tightly grouped together. The stiffest shafts (those
 with spine values of 0.340 inches or less) fall in an OD range          40
 of 0.294 inches to 0.303 inches. The weakest prior art shafts                  The reduced diameter arrow shafts may also be used with
 (those with spine values of 0.480 inches or greater) in FIG.                 the insert 500 and the insert installation tool 640 described
                                                                              above.
 12 fall in an OD range of 0.280 inches to 0.293 inches. In
 contrast, the arrow shaft of the present invention has, in one                  Arrow shaft diameters may be even further reduced,
 embodiment, an OD of 0.275 inches for a spine of 0.300                  45
                                                                              although they may no longer be compatible with standard
 inches. In another embodiment, the arrow shaft of the                        points. Instead, the arrow shaft diameters may be sized for
 present invention has an OD of 0.258 inches for a spine of                   half-out inserts. For example, according to embodiments of
 0.500 inches.                                                                the present invention there may be arrow shafts having an
    FIG. 13 shows a plot of the weights vs. ODs for the same                  inside diameter of 0.200 inches, a spine of 0.500 inches or
 family of arrow shafts as FIGS. 11 and 12. Again, prior art             50   less, and an outside diameter of 0.271 inches or less. Other
 designs are tightly grouped together. The heaviest shafts                    exemplary embodiments may include arrow shafts having
 (those weighing 255 grains and up) from the prior art group                  the following combinations of parameters (see Table 8
 have ODs ranging from 0.296 inches to 0.303 inches. The                      below).
 lightest shafts (those weighing 211 grains or less) from the
 prior art group have ODs ranging from 0.280 inches to 0.293             55
                                                                                                          TABLE 8
 inches. This is a significant difference from the arrow shaft                  Reduced diameter arrow parameters according to some embodiments
 of the present invention, which has an OD of 0.275 inches
 for the heaviest design of one embodiment (310 grains) and                                          Wall Thickness              Weight (grains in.,
 an OD of 0.258 inches for its lightest design of 235 grains.                 Spine (in.) OD (in.)        (in.)       ID (in.)   optional parameter)
    Thus, FIGS. 12 and 13 are clear illustrations that the shaft         60     O.300      O.271         O.O37         O.200            10.8
 of this invention is new and unique in its combination of                      O.340      O.267         O.O3S         O.200            10.2
 spine/weight/outside diameters. None of the prior art hunt                     O4(OO
                                                                                OSOO
                                                                                           O.263
                                                                                           0.255
                                                                                                         O.O33
                                                                                                         O.O29
                                                                                                                       O.200
                                                                                                                       O.200
                                                                                                                                         9.2
                                                                                                                                         8.2
 ing shafts recognize the utility of this combination, and in
 fact are all grouped together in a significantly larger OD
 regime.                                                                 65     In addition to using half-out inserts, the insert 500 of
    The accuracy of reduced diameter arrows made according                    FIGS. 5A-D may be specially sized to fit within the 0.200
 to principles described herein is increased because the                      inch inside diameter shafts. New, specially sized points of a
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                               17                                                                            18
 diameter and thread different than standard points currently                    An alternative embodiment is shown in FIG. 14C. The
 in use may be needed to engage Such a specially sized insert.                 point 1016 may include a pilot aperture or female pocket
    Arrow shaft diameters may be even further reduced,                         1032 which interfaces with a pilot extension or male end
 although they may not be compatible with standard points or                   1034 of the male insert 1000. The pilot aperture 1032 and
 half-out inserts. Instead, the arrow shaft diameters may                      pilot extension 1034 are circular in cross section, which
 necessitate insert components (including inserts shaped                       allows point 1016 to be rotated relative to insert 1000. The
 according to principles described above) sized to fit the                     pilot members 1032, 1034 further aid in alignment of the
 further reduced diameter shafts. For example, according to                    point 1016 and shaft 1004.
 embodiments of the present invention there may be arrow                          Although the arrow point assembly of FIGS. 14A-14C
 shafts having an inside diameter of less than 0.200 inches, a            10   may be used with the reduced diameter shafts described
 spine of 0.500 inches or less, and an outside diameter of less                above, it should not be so limited. The arrow point assembly
 than 0.275 inches. The inside diameter may be, for example,                   of FIGS. 14A-14C may also be used with any other type of
 0.187 inches and the outside diameter may range between                       suitable arrow shafts.
 0.230 and 0.270 inches. Other exemplary embodiments may                         While this invention has been described with reference to
 include arrow shafts having the following combinations of                15   certain specific embodiments and examples, it will be rec
 parameters (see Table 9 below).                                               ognized by those skilled in the art that many variations are
                                                                               possible without departing from the scope and spirit of this
                             TABLE 9                                           invention. The invention, as defined by the claims, is
                                                                               intended to cover all changes and modifications of the
   Reduced diameter arrow parameters according to some embodiments             invention which do not depart from the spirit of the inven
                        Wall Thickness              Weight (grains in.,        tion. The words “including” and “having,” as used in the
 Spine (in.) OD (in.)        (in.)       ID (in.)   optional parameter)        specification, including the claims, shall have the same
   O.300      O.266         O.040         O.187            11.5
                                                                               meaning as the word “comprising.”
   O.340      O.263         O.O38         O.187            10.7
   O4(OO      O.254         O.O34         O.187             9.5           25     What is claimed is:
   OSOO       O.248         O.O31         O.187             8.5                  1. An internal fit component FRP hunting arrow shaft,
                                                                               comprising:
   The outside diameters shown in Table 9 may be even                            an arrow shaft to receive internal fit components, the
 further reduced, if desired.                                                       arrow shaft having an outside diameter and a weight in
    Although it may be convenient to use readily available
                                                                          30        proportion to twenty-nine inches of arrow shaft, the
                                                                                    weight or the outside diameter falling on a plot of
 standard points for the shafts and inserts described above, a                      weight versus outside diameter above and to the left of
 new arrow point assembly according to various embodi                               a straight line that includes a first point having a weight
 ments of the present invention are shown with reference to                         of 190 grains and an outside diameter of 0.275 inches,
 FIGS. 14A-14C. Typical arrow point assemblies (e.g. FIG.                 35        and a second point having a weight of 320 grains, and
 1) include the female insert 100, FIG. 1 and the male point                        an outside diameter of 0.305 inches.
 116, FIG. 1. However, according to the embodiment of                             2. An internal fit component FRPhunting arrow according
 FIGS. 14A-14C, there is a male insert 1000 and a female                       to claim 1 wherein the weight is 10.7 grains per inch and the
 point 1016. The male insert 1000 includes a first end 1060                    outside diameter is 0.275 inches.
 sized for insertion into a standard or non-standard arrow                40
 shaft 1004. The first end 1060 may include one or more                           3. An internal fit component FRP hunting arrow according
 ridges 1026 disposed about its outside diameter. The male                     to claim 1 wherein the weight is 8.1 grains per inch and the
                                                                               outside diameter is 0.258 inches.
 insert includes a second end 1064 externally threaded to
 engage internal threading 1062 of the female field point                         4. An internal fit component FRPhunting arrow according
 1016. Between the first and second ends 1060 and 1064 is                 45
                                                                               to claim 1 wherein the weight is 10.8 grains per inch and the
 a tapered head 1066 that includes a shoulder 1068 sized to                    outside diameter is 0.271 inches.
 approximately the same outside diameter of the shaft 1004.                       5. An internal fit component FRP hunting arrow according
 Shoulder 1068 bears against the shaft 1004 when the first                     to claim 1 wherein the weight is 8.2 grains per inch and the
 end 1060 of the male insert 1000 is inserted into the shaft                   outside diameter is 0.255 inches.
 1004. The head 1066 also includes a tapered surface 1070                 50      6. An internal fit component FRPhunting arrow according
 opposite of the shoulder 1068. A mating internal taper 1072                   to claim 1 wherein the weight is 11.5 grains per inch and the
 is disposed in the point 1016 and facilitates alignment                       outside diameter is 0.266 inches.
 between the field point 1016 and the insert 1000.                                7. An internal fit component FRP hunting arrow according
    As shown in FIG. 14B, the point 1016 may include an                        to claim 1 wherein the weight is 8.5 grains per inch and the
 extension or flange in the form of a skirt 1073 that extends             55   outside diameter is 0.248 inches.
 over shaft 1004 so that the skirt 1073 in essence envelops the
 shaft 1004 to aid in alignment.
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                              ATTACHMENT D
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                                                                                                      USOO7270618B2


 (12) United States Patent                                                         (10) Patent No.:                   US 7,270,618 B2
        Palomaki et al.                                                            (45) Date of Patent:                          Sep. 18, 2007
 (54) ARROW SYSTEM                                                                     5,465.979 A      11, 1995 Buhler
                                                                                       5,496,042 A       3, 1996 Craft et al.
 (75) Inventors: Teddy D. Palomaki, Park City, UT                                      5,516,117 A       5/1996 Rangel
                         (US); Jacob C. Smith, Salt Lake City,                         5,902,199 A       5/1999 Adams, Jr.
                         UT (US)                                                       5,921,875 A       7/1999 Bickel
                                                                                       6,017,284 A       1/2000 Giles
 (73) Assignee: Jas. D. Easton, Inc., Van Nuys, CA                                     6,241,634 B1      6/2001 Armer, Jr.
                         (US)                                                          6,251,036 B1      6/2001 Wu et al.
                                                                                       6,274,230 B1      8/2001 Sarrelongue et al.
 (*) Notice:             Subject to any disclaimer, the term of this                   6,520,876 B1      2/2003 Eastman, II
                         patent is extended or adjusted under 35                       6,554,726 B2      4/2003 Thurber
                         U.S.C. 154(b) by 0 days.                                      6,932,728 B2      8, 2005 Palomaki et al.
                                                                                 2003, OO13565 A1        1/2003 Song
 (21) Appl. No.: 11/269,480                                                      2003/0073524 A1         4/2003 Song
                                                                                 2003. O104884 A1        6/2003 Eastman, II
 (22) Filed:             Nov. 8, 2005
 (65)                      Prior Publication Data                                                 OTHER PUBLICATIONS
         US 2006/OO52190 A1                Mar. 9, 2006                         Beman Products Catalog, 1999.
                                                                                Game Tracker Catalog, 1998.
                  Related U.S. Application Data                                 Advertisement for Easton PC All-Carbon Hunting Shaft, date
                                                                                unknown.
 (63) Saty                 of application No. 10/678,821, filed on              Easton Bowhunting and Target Archery Guide, 2004, pp. 4-9, 11-13.
                                                                                Primary Exami
                                                                                 FIFOF EXOFille         John
                                                                                                         O   A. Ricci
                                                                                                                  1CC1
 (51) F's in                           (2006.01)                                (74) Attorney, Agent, or Firm—Holland & Hart
 (52) U.S. Cl. ...................................................... 473/578   (57)                      ABSTRACT
 (58) Field of Classification Search ................ 473/578,
      See application file for complete sers               583                  The invention involves an arrow system having a shaft
                pp                     p                            ry.         having a first end and an insert receptive of a standard point,
 (56)                      References Cited                                     the insert being disposed completely within the first end of
                    U.S. PATENT DOCUMENTS
                                                                                the shaft. An insert installation tool may be used as part of
                                                                                the invention to facilitate insertion of the insert into the first
        3,277,893    A      10, 1966    Clark                                   end of the shaft. The invention further includes a reduced
        3,401,938    A       9, 1968    Bear                                    diameter hunting arrow shaft that maintains Sufficient spine
        4,203,601    A       5, 1980    Simo                                    and weight characteristics. The reduced diameter hunting
        4,533,146    A       8, 1985    Schaar                                  arrow shaft is receptive of standard or non-standard internal
        4,706,965    A      11, 1987    Schaar                                  components for increasing arrow penetration and shot accu
        4,943,067    A       7, 1990    Saunders                                racy. Still further, the invention includes an arrow tip assem
        5,035,764    A       7, 1991    Blake                                   bly including a male insert and a female point to assist in
        5,090,149    A       2f1992     Muk Kim
        5,242,720    A       9, 1993    Blake                                   aligning points with arrow shafts.
        5,273,293    A      12/1993     Lekavich
        5,291,875    A       3, 1994    Koziol                                                 63 Claims, 14 Drawing Sheets




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                        117




                              Fig. 1                        Fig. 2
                          (Prior Art)                      (Prior Art)
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                              Deflection (n) = Spine




                                      28 n.

                                  Fig. 3
                                (Prior Art)




                                 Fig. 4A
                                (Prior Art)


                                              538          536a
                504                                                  536


                                                       M


                  - S. 15% Z1
                                                              538a
                                  Fig. 4B
                                 (Prior Art)
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             516                                 531              /          533


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               5391            5E                                      504

                                         Fig. 5D
                                         R




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                             539
                                    2.
                                   23. 5 3 7 2


                                                 532                   504

                                         Fig. 5E
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              320

              300

              280         NT I I I
                            N                                            I
     Velocity 2
      "I                                     NST-I
                    | || || || | Iss
                    300   350
                                 |400
                                     N    450     500    550    600     650    700
                                          Arrow Mass (Grains)
                                                Fig. 7
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                        112 MV2 = 65 ft-lbs

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     O)
     O
      O
     9

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     C)


                 425                518                  568      654
                                    Arrow Mass (Grain)
                                              Fig. 8




                                    KE at impact (ft-lbs)

                                              Fig. 9
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                                                                 Op




                         Gelatin Penetration
                            Depth (inches)
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              NC ¿|- + N I G   Spine (inch)
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                                         |-
        ITILTHZ II

                                 Spine (inch)
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     LºITE,_V|
        T“?WºIL_
                           Weight (029" (grains)
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                                                             1004
                                      Fig. 14A


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                                                     US 7,270,618 B2
                               1.                                                                     2
                     ARROW SYSTEM                                      rest can result in unpredictable disturbances during launch of
                                                                       the arrow, and therefore will affect the accuracy of the shot.
                 RELATED APPLICATION                                      Third, the point outsert 200 has a larger diameter relative
                                                                       to the diameter of the shaft, which makes the arrows
   This is a continuation of U.S. patent application Ser. No.     5    containing the point outsert 200 more difficult to extract
 10/678,821 filed 3 Oct. 2003.                                         from various targets as compared to arrows with insert
                                                                       components only. Use of the point outsert 200 often results
                    TECHNICAL FIELD                                    in damaged points and outserts 200, and further causes
                                                                       points and outserts 200 to detach from the arrow shaft and
    This invention relates to arrow systems, including in         10   remain inside the target after the arrow is pulled from the
 particular hunting arrow systems.                                     target. Points and/or outserts 200 lost inside a target may
                                                                       cause damage to Subsequent arrows that happen to impact
          BACKGROUND OF THE INVENTION                                  the target at the same location as the lost points or outserts.
                                                                       As a result, some commercial archery ranges have banned
                                                                  15   outsert-equipped arrow shafts.
    Many different types of arrows and arrow shafts are                   In an apparent attempt to address the limitations described
 known for use in hunting and sport archery. One arrow type            above, modern FRP arrows with new types of construction
 of relatively recent design is the fiber reinforced polymer           have been developed. The typical modern FRP arrows
 (FRP) arrow. FRP is a generic term including, but not limited         include glass and/or carbon fibers arranged in multiple
 to, fiberglass composites and carbon fiber composites. Tra            directions, as opposed to the unidirectional fiber arrange
 ditional FRP arrow shafts have been typically produced by             ment of the earlier FRParrows. The multi-directional fiber
 a number of different manufacturing processes. The first              arrangement (e.g., fibers that run perpendicularly or at an
 FRParrow shafts were constructed with unidirectional rein
 forcing fibers aligned parallel to the axis of the shaft.             angle relative to each other) increases the hoop strength of
                                                                       the shafts, which allows the shafts to support greater internal
    Prior designs and processes for constructing FRP shafts       25   loads, including internal loads generated by insert compo
 resulted in a low circumferential or hoop strength. The hoop          nents. Such modern FRP arrows have, however, been tra
 strength of these arrow shafts was so low that the arrows             ditionally made having an outside diameter and wall thick
 could not withstand even Small internal loads applied in a            ness of a size sufficient to accommodate standard-sized
 direction radially outwardly from the center of the shaft. For        inserts. These carbon-composite arrows were generally
 example, internal loads generated from inserting standard        30   lighter than aluminum shafts, but were generally of the same
 components into the inside of these types of shafts would             spine. “Spine' is an industry-standard measurement of
 have resulted in failure of the arrow shaft. Standard arrow           arrow shaft stiffness. Spine is measured according the
 components, such as those shown in FIG. 1, include inserts            parameters shown in FIG. 3. As shown, a shaft 304 is
 100, points 116 (“point’ as used herein means any structure           supported at two points 306 and 308, which are separated by
 formed at or secured to the forward or distal end of the         35   a distance of 28 inches. A 1.94 pound weight is applied at a
 arrow, including without limitation field points, broadheads,         mid point 310 of the shaft 304. The deflection 312 of the
 etc.), and nocks 102, all of which are mounted to an arrow            shaft 304 relative to the horizontal is defined as the “spine.”
 shaft 104. It should be noted that fletching, required for            An arrow must have certain spine characteristics, depending
 proper arrow flight, is not shown in the drawings, but is well        on its length and the draw weight of the archery bow, to
 understood by those skilled in the art.                          40   achieve proper flight. Generally, the heavier the draw weight
    Because insert components have not been practical for use          the stiffer the spine (i.e., less deflection) must be.
 with the relatively small diameter FRP prior art shafts of               As a major portion of the archery market has moved
 types discussed above, externally attached components have            toward lighter weight shafts, the modern FRP arrow has
 been developed and used. FIG. 2 illustrates two such exter            gained widespread acceptance. Lighter arrow shafts have the
 nal components, known as “outserts' in the industry. The         45   principal advantage of higher Velocities when launched from
 term “outsert,” as it suggests, refers to an arrow component          the same bow. Such higher velocities result in a flatter arrow
 that is inserted or installed over the outside diameter of the        trajectory. The practical advantage of flatter trajectory is that
 arrow. The two outserts shown in FIG. 2 include an outsert            a misjudgment by an archer of the range to a target has less
 receptacle 200 to receive a point 116 and an outsert nock             effect on the point of impact.
 202. Outserts were, at the time, the only viable way to attach 50 Due to material and structural considerations, however, in
 the various other arrow components to these prior FRP designing internal-component FRParrow shafts for reduced
 shafts because of their low hoop stress. Arrow shaft outserts weight, it became necessary to both increase shaft outside
 have, however, at least three key disadvantages. First, out diameter and reduce wall thickness relative to the prior art
 sert nocks 202 have a feel that is objectionable to most FRP outsert shafts in order to provide desirable spine/weight
 archers. Generally, archers prefer a smooth outer Surface of 55 combinations. For aluminum arrow shafts, for example, to
 the shaft without any projections (other than the fletching). provide lighter weight arrows, the wall thickness must be
 This smooth outside diameter preference correlates with the reduced and the diameter of the arrow, both the inside
 general understanding that an arrow will have better aero diameter and the outside diameter, must be increased to
 dynamic efficiency with fewer structural projections outside maintain adequate spine. This process of thinning the wall
 of the arrow shaft.                                            60 and increasing shaft diameter has, however, practical limi
    Second, outsert nocks 202 frequently result in mechanical tations. At some point, if taken to an illogical extreme, the
 interference with many types of arrow rests when launching arrow would have mechanical properties similar to an alu
 the arrow. Most arrow rests hold the arrow in a particular minum beverage can with no practical resistance to side
 position when the archery bow is drawn and the arrow is loads or crushing.
 released. With many arrow rests, the arrow continues to 65 With some arrows, inserts, such as "half-out” inserts,
 contact the arrow rest as the arrow passes the location of the were introduced to the market some time ago. A typical
 arrow rest. Contact between the nock outsert and the arrow        half-out insert assembly is shown in FIG. 4A. A half-out
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                                 3                                                                    4
 insert 400 includes a first insert portion 412 with a diameter          0.275 inches, and a spine of 0.500 inches or less. This
 smaller than the standard insert 100 shown in FIG. 1 such               embodiment may include an insert embedded completely
 that the first insert portion 412 may be inserted into a                within the shaft and a point coupled to the insert.
 reduced diameter shaft 404. A second portion 414 of the                   Another embodiment comprises a reduced diameter FRP
 half-out insert 400 has a larger outside diameter that is          5    hunting arrow shaft including an inside diameter of approxi
 receptive of a standard point 416, yet its outside diameter             mately 0.204 inches, a spine of approximately 0.500 inches
 corresponds to the outside diameter of shaft 404. Therefore,            or less, and an outside diameter of 0.275 inches or less. The
 half-out inserts facilitate use of standard field points with           inside diameter of about 0.204 is receptive of standard point
 arrow shafts having inside diameters Smaller than standard              inserts.
 arrow shafts.                                                      10      Another embodiment of the invention comprises an arrow
   Half-out assemblies have, however, several disadvantages              including a shaft with a first end, a male insert disposed
 and have not been well accepted. Half-out assemblies are                partially within the first end and extending beyond the first
 cantilevered at the front of the arrow shaft 404. The canti             end, and a female point having a flange or skirt that extends
 lever results in a system that tends to deform more readily             over the arrow shaft in a tight-fitting manner to assist in
 on impact as compared to other arrow assemblies. The               15   alignment of the point with the arrow shaft.
 half-out assemblies also make it more difficult to precisely               Still another embodiment comprises a reduced diameter
 align points 416 with the shaft 404, as will be discussed               FRP hunting arrow shaft including an inside diameter of
 below in greater detail.                                                approximately 0.200 inches, a spine of approximately 0.500
             SUMMARY OF THE INVENTION                                    inches or less. The outside diameter may range between
                                                                         approximately 0.255 and 0.271 inches. The inside diameter
    The present invention comprises an arrow including a                 of about 0.200 is receptive of standard half-out inserts.
 shaft with a first end and an insert receptive of a point, the             Another embodiment comprises a reduced diameter FRP
 insert being disposed completely within the first end of the            hunting arrow shaft, including an inside diameter less than
 shaft. Hunters commonly use field points for practice and          25
                                                                         0.200 inches, a spine of 0.500 inches or less, and an outside
 broadheads (either expandable or fixed-blade) for hunting.              diameter of 0.275 inches or less. The inside diameter may be
 Although this aspect of the present invention (i.e., an inter           approximately 0.187 inches.
 nal component Small outside diameter arrow shaft and a                     Another embodiment comprises a point assembly includ
 novel insert installation system) is advantageous when field            ing a male insert having a first end configured to engage an
 points are used, the invention is particularly advantageous        30   arrow shaft and a second end, and a female point configured
                                                                         to mate with the second end of the male insert. The male
 when using broadheads because broadheads exacerbate                     insert may include a tapered head between the first and
 many shaft/insert/point alignment problems.
    According to one embodiment, the point may include a                 second ends, and the female point may include an interior
 shoulder and the shaft may include an end wall. The insert              tapered surface shaped to mate with the tapered head of the
                                                                         male insert.
 is seated at a depth within the shaft such that the shoulder of    35
 the point bears directly against the end wall of the shaft                Yet another embodiment of the invention comprises an
 when the point is engaged with the insert. In one embodi                arrow including a shaft with a first end, a male insert
 ment, the shaft may have an inside diameter of approxi                  disposed partially within the first end and extending beyond
 mately 0.204 inches, a spine of approximately 0.500 inches              the first end, and a female point engaged with the male
 or less, and an outside diameter less than 0.275 inches. When      40
                                                                         insert.
 spine is discussed herein, “stiffer spine means less arrow                 Still another embodiment comprises an insert installation
 deflection (i.e., a smaller numeric value), and “weaker'                tool including a positioning rod, where the rod includes a
 spine means greater arrow deflection (i.e., a larger numeric            first end, a second end, a first diameter at the first end sized
 value). Thus, the terms “less spine” and “stiffer spine” have           Smaller than an inside diameter of an insert, one or more lips
 the same meaning throughout. In a similar manner, the terms        45   disposed between the first and second ends, the one or more
 "more spine' and “weaker spine' have the same meaning                   lips having a diameter sized to provide an interference fit
 throughout.                                                             with an inside diameter of an arrow shaft, and a shoulder
    Another embodiment comprises an arrow including a                    disposed between the first end and the one or more lips sized
 shaft having an inside diameter, a first end, and a first end           larger than the inside diameter of the insert; where the first
 wall, and a point having a head, a shoulder, and a shank,          50   end of the rod is configured to engage the point insert. The
 where the shoulder of the point bears directly against the first        installation tool is designed to position the insert at a desired
 end wall and the shank fits Snugly inside the arrow shaft and           depth inside the arrow shaft.
 bears against the inside surface of the arrow shaft. The direct            Another aspect of the invention involves a method of
 contact between the point and arrow shaft improves align                coupling a point to an arrow shaft including inserting an
 ment between these two components. In this embodiment,             55   entire point insert into the arrow shaft and fastening the point
 the insert is disposed completely inside the shaft and the              to the point insert. According to this method, the point
 point is threadedly received by the insert.                             includes a shoulder and a shank, where the shoulder directly
    Still another embodiment comprises a reduced diameter                engages an end wall of the arrow shaft and the shank directly
 carbon-composite hunting arrow shaft including an inside                engages the inside surface of the arrow shaft, all of which
 diameter of approximately 0.204 inches, a spine of approxi         60   assists with point alignment.
 mately 0.500 inches or less, and an outside diameter less                  Another aspect of the invention involves a method of
 than approximately 0.275 inches. In this embodiment, an                 coupling a point to an arrow shaft including installing a point
 insert may be disposed completely within the shaft and a                insert onto the installation tool and pressing the point insert
 point coupled to the insert.                                            into the shaft with the tool to a predetermined depth such
    Yet another embodiment comprises a hunting arrow                65   that a first end of the point inserted is flush with or interior
 including a hollow shaft having an inside diameter sized to             to a first end of the shaft. The insert installation tool may
 accept standard points, an outside diameter of less than                include a grip with a diameter larger than an outside diam
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                                 5                                                                        6
 eter the arrow shaft or another similar end wall that limits the             FIG. 4A is a side view of an FRParrow utilizing half-out
 extent to which the point insert can be pushed inside of the              inserts according to the prior art;
 arrow shaft.                                                                 FIG. 4B is a partial sectional side elevation view of a PIN
    Yet another aspect of the invention involves a method of               nock system according to the prior art;
 improving alignment between an arrow point and an arrow              5       FIG. 5A is an exploded perspective assembly view of an
 shaft by embedding an insert completely within the shaft and              arrow according to one embodiment of the present inven
 coupling the arrow point to the insert, where the arrow point             tion;
 and the shaft directly interface between each other at a first              FIG. 5B is an assembled perspective view of the arrow
 location where a shoulder of the point and an end surface of              shown in FIG. 5A;
 the shaft contact each other and at a second location where          10     FIG. 5C is an exploded partial sectional side elevation
 the shank of the point and the inside diameter of the shaft               view of an end of the arrow shown in FIG. 5A;
 contact each other. Embedding the insert may include                        FIG. 5D is a partial sectional side elevation view of the
 extending the insert to a predetermined depth within the                  end of the arrow as shown in FIG. 5B;
 shaft.                                                                       FIG.5E is an enlarged view of the area 5E-5E of FIG.5D,
    Still another embodiment of the invention comprises an            15   according to one embodiment of the present invention;
 arrow including a shaft with a first end defining a first end                FIG. 5F is a perspective view of an arrow being prepared
 wall, an insert with a first end defining a first end wall, the           for receipt of an arrow insert system according to the present
 insert being disposed inside the shaft such that the first end            invention;
 wall of the insert is flush with or interior to the first end wall           FIG. 5G is a side elevation view, partly in section, of the
 of the shaft.                                                             arrow preparation process shown in FIG. G.;
    In another embodiment, an arrow system includes an                        FIG. 6A is a perspective view of an arrow insert instal
 insert of substantially constant outside diameter such that the           lation tool according to one embodiment of the present
 insert is fully insertable into an arrow shaft, the insert                invention;
 including a threaded portion, and a point including a                       FIG. 6B is a side elevation view of the arrow insert
 threaded portion engagable with the threaded portion of the          25
                                                                           installation tool of FIG. 6A with an insert secured thereto;
 insert.
                                                                              FIG. 6C is a side elevation view, partly in section, of the
    Another aspect of the invention involves an arrow prepa                arrow insert installation tool of FIG. 6A showing the insert
 ration tool comprising an abrasive material to engage an end              being installed inside an arrow shaft;
 wall of an arrow shaft and a protuberance extending from the                 FIG. 6D is a perspective view of an alternative embodi
 abrasive material, where the protuberance is sized to inter          30
                                                                           ment of an arrow insert installation tool according to the
 face with an inside surface of the arrow shaft such that
 rotation of the arrow shaft relative to the abrasive material
                                                                           present invention;
 will cause a chamfer to form between the inside surface of                   FIG. 6E is a perspective view of another alternative
 the arrow shaft and the end wall of the arrow shaft.                      embodiment of an arrow insert installation tool according to
    Still another aspect of the present invention involves an         35
                                                                           the present invention;
 internal fit component FRP hunting arrow shaft comprising                    FIG. 7 is a graph illustrating a constant kinetic energy
 an arrow shaft to receive internal fit components, where the              curve plotted on a mass versus Velocity chart;
 arrow shaft has a weight in proportion to twenty-nine inches                 FIG. 8 is a graph illustrating penetration depth of various
 of arrow shaft, and wherein the weight or the spine falls on              arrows into a gelatin material, each arrow having Substan
 a plot of weight versus spine above and to the left of a             40   tially the same kinetic energy;
 straight line that includes a first point having a weight of 190             FIG. 9 is a graph illustrating penetration depth of various
 grains and an outside diameter of 0.275 inches, and a second              arrows into a gelatin material as a function of kinetic energy
 point having a weight of 320 grains and an outside diameter               for various arrows;
 of 0.305 inches.                                                             FIG. 10 is a graph illustrating penetration depth of dif
    Another aspect of the present invention involves an               45   ferent FRParrow shafts into a gelatin material where kinetic
 internal fit component FRP hunting arrow shaft comprising                 energy has been maintained constant and the shaft outside
 an arrow shaft to receive internal fit components, wherein                diameter has changed;
 the arrow shaft spine or the outside diameter of the arrow                   FIG. 11 is a graph illustrating spine vs. weight character
 shaft falls on a plot of spine versus outside diameter below              istics of various prior art shafts as well as shafts according
 and to the left of a straight line that includes a first point       50   to the present invention;
 having a spine of 0.320 inches and an outside diameter of                    FIG. 12 is a graph illustrating various spine vs. outside
 0.295 inches, and a second point having a spine of 0.480                  diameter characteristics of various prior art arrow shafts as
 inches and an outside diameter of 0.280 inches.                           compared to arrow shafts according to the present invention;
                                                                              FIG. 13 is a graph illustrating weight vs. outside diameter
          BRIEF DESCRIPTION OF THE DRAWINGS                           55   characteristics of various prior art arrow shafts compared to
                                                                           arrow shafts according to the present invention;
    The accompanying drawings illustrate various embodi                       FIG. 14A is an exploded sectional side elevational assem
 ments of the present invention and are a part of the speci                bly view of an arrow system according to an alternative
 fication. The illustrated embodiments are merely examples                 embodiment of the present invention; and
 of the present invention and do not limit the scope of the           60      FIG. 14B is a sectional side elevational assembly view of
 invention.                                                                an arrow system according to yet another alternative
   FIG. 1 is a side view of an FRP arrow utilizing inserts                 embodiment of the present invention; and
 according to the prior art;                                                  FIG. 14C is an exploded sectional side elevational assem
   FIG. 2 is a side view of an FRP arrow utilizing outserts                bly view of an arrow system according to still another
 according to the prior art;                                          65   alternative embodiment of the present invention.
   FIG. 3 is a diagram illustrating spine measurement param                   Throughout the drawings, identical reference numbers
 eters;                                                                    designate similar, but not necessarily identical, elements.
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                               7                                                                    8
                DETAILED DESCRIPTION                                   the present invention is shown. According to FIGS. 5A-E,
                                                                       the hunting arrow 520 includes a shaft 504 and an insert 500.
    The present specification describes a novel arrow system           The insert 500 is receptive of a point 516. The insert 500 is
 that may be used for archery, and particularly for bowhunt            advantageously sized to fit Snugly completely within the
 ing. One aspect of the novel arrow system relates to a                shaft 504 as shown in FIGS. 5B and 5D. Previous inserts, for
 reduced diameter hunting arrow. The reduction in diameter             example the insert 100 shown in FIG. 1, include a lip 118
 of a hunting arrow facilitates more accurate shooting and             that prevents disposing the insert 100 completely with the
 better penetration than previous arrows. The reduced diam             shaft 104. The insert 500 of the embodiment shown in FIGS.
 eter hunting arrow may be sized to accommodate standard               5A-E, however, may be fully embedded within the shaft 504.
 arrow point assemblies, half-out arrow point assemblies, or      10
                                                                       Accordingly, the insert 500 may have a substantially con
 smaller diameter arrow point assemblies. The reduced diam             stant outside diameter (without regard to conventional glue
 eter hunting arrow may also be used to accommodate a new              grooves) sized to fit within an inside diameter of the shaft
 point insert System and a new arrow point assembly, both of           SO4.
 which are further described below. The novel arrow system
 also involves an insert installation tool to facilitate place    15      The insert 500 may include one or more ridges 526 about
 ment of the novel insert into an arrow shaft and an arrow             its outer diameter, as shown in FIGS.5A and 5B. The ridges
 shaft preparation tool to ensure the shaft will properly              526 do not, however, extend beyond the substantially con
 accommodate a point.                                                  stant outside diameter of the insert 500 and thus do not
    Accordingly, the specification describes various aspects           prevent full insertion of the insert 500 into the shaft 504. The
 of the invention according to the following order. First,             insert may include a through hole, as shown in FIGS. 5C and
 embodiments of an arrow utilizing the new point inserts are           5D, or may have a so-called blind hole in the back wall of
 shown and described, along with the arrow point assembly              the insert (not shown).
 tool. Second, experimental data illustrating the advantages              The shaft 504 is preferably constructed of a carbon
 of a reduced diameter arrow is discussed. Third, various              composite material and includes a first end 522 and a first
 embodiments of reduced diameter arrow shafts are                 25
 described. Fourth, various embodiments relative to the new            end wall 524. The first end wall 524 corresponds to the
 arrow system and assembly method for reduced diameter                 terminating end of shaft 504. The shaft 504 also includes a
 arrows are shown and described.                                       second end 534 that is receptive of a nock 536. A nock
    As used in this specification and the appended claims, the         adapting insert 538 may be included between the shaft 504
 phrases “completely within' or “completely inside” mean          30   and the nock 536. Although FIGS.5A and 5B show such an
 that an item is located interior to an object and does not            insert, it is to be understood that any nock system, such as
 protrude or extend from the object. “Completely within' and           without limitation, direct fit nock systems (e.g., as shown in
 “completely inside' also include arrangements in which the            FIG. 1), UNITM bushings with g-nock systems (e.g., as
 item is located interior to and flush with the object.                shown in FIG. 5B), and PIN nock systems with PIN nocks
    The term “insert” is used broadly to encompass any            35   (e.g., as shown in FIG. 4B), may be used without departing
 apparatus that is or may be at least partially introduced into        from the scope of the present invention. In addition, a
 or inside an arrow shaft.                                             plurality of vanes or other fletching (not shown in the
    “Hunting arrow’ is also used broadly to include any                drawings) may be secured to the second end 534 of the shaft.
 arrows, parts of arrows, or arrow assemblies that are                    As mentioned above, the insert 500 is receptive of the
 intended specifically for hunting.                               40
                                                                       point 516. The point 516 is preferably a standard size,
    “Fiber reinforced polymer (FRP) refers to any combi                commercially available point. The point 516 includes a head
 nation of materials of which carbon is one, including without         529 and a shoulder 530 where a relatively greater outside
 limitation fiber reinforced materials, advanced composites,
 and other material sets that include only carbon.                     diameter of the point 516 transitions to a shank 531. Accord
    “Spine” is used to indicate a stiffness measurement           45   ing to principles described herein, the insert 500 has no lip
 according to the standard parameters described above, as              (e.g., element 118 in FIG. 1) and is inserted to be at least
 understood by those skilled in the art.                               flush with or below the end wall 524 of shaft 504. Therefore,
    “Point as used to describe the present invention shall             the shoulder 530 of the point 516 advantageously bears
 mean, for purposes of simplifying the description, any type           directly against the end surface 524 of the shaft 504 as
 of arrow point, including without limitation field points and    50   shown in FIGS. 5B, 5D, and 5E. The direct engagement
 broadheads.                                                           between the shoulder 530 and the end surface 524 according
    “Internal insert components’ means inserts that fit inside         to FIGS. 5A-D provides a first direct interface location 532
 of an arrow shaft as well as any type of arrow point received         (FIGS.5D and 5E) between the end wall 524 of the shaft 504
 by Such inserts.                                                      and the shoulder 530 of point 516 which facilitates a simpler,
    As mentioned above, a number of developments in arrow         55   more precise alignment between the point and the arrow
 technology, and particularly hunting arrow technology, have           shaft.
 recently occurred. While there are many different types of              The novel arrow system also provides a second interface
 arrows available, conventional arrows have traditionally not          location 537 (FIGS. 5D and 5E) between the arrow 504 and
 provided the combination of accuracy, flat trajectory, short          the point 516. Specifically, the outside surface of the shank
 travel time, penetration and internal fit components offered     60   531 of point 516 bears directly against and the inside surface
 by a reduced diameter hunting arrow shaft according to the            533 of the arrow shaft 504.
 present invention. The methods and devices described                     In contrast, prior art arrow systems, as shown in FIG. 1,
 herein include various reduced diameter arrow shafts and              provided an extra structural element (i.e., the insert) between
 other associated devices. The particular implementations,             the arrow shaft and the point at all locations. Thus, prior art
 however, are exemplary in nature, and not limiting.              65   arrow systems provided at least four (4) different sets of
   Turning now to the figures, and in particular to FIGS.              interfacing surfaces, all of which have the potential to affect
 5A-E, a hunting arrow 520 according to one embodiment of              alignment of the respective parts. One set is located between
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                              9                                                                       10
 the shoulder 117 of the point 116 and the outer, flat surface           toward and terminates at a tip or first end 644. The rod 642
 of lip 118 extending from insert 100. Another is located                attaches to a handle or second end 646, which may be made
 between the bottom surface 119 of lip 118 and the end                   of any suitable size or shape. The outside diameter of the
 surface 124 of the arrow shaft 104. Still another set of                first end 644 is sized to fit within the threaded section of
 interfacing Surfaces is between the cylindrical outer Surface      5    insert 500. FIG. 6B shows an insert positioned on the first
 of the insert 100 and the inside surface 111 of the arrow shaft         end 644 of the installation tool 640. FIG. 6C shows the insert
 104. A final set of interfacing surfaces is between the shank           500 being positioned inside the arrow shaft 504 using the
 115 on the point 116 and the corresponding inside cylindri              installation tool 640. The outside diameter of the rod 642 is
 cal Surface 113 of the insert 100.
    Thus, arrow system of the present invention eliminates          10
                                                                         different than the outside diameter of the tip 644 such that a
 two of these sets of interfacing Surfaces to improve greatly            first shoulder 652 is formed. Therefore, the first shoulder 652
 the alignment between the point and the arrow shaft. Spe                is sized to abut the insert 500, as shown in FIG. 6B, which
 cifically, as shown in FIGS. 5C, 5D, and 5E, the present                will allow an operator to push the insert 500 into the arrow
 invention provides two sets of direct interfacing Surfaces              shaft 504 to a predetermined, precise depth.
 (interfaces 532 and 537 as shown in detail in FIG. 5E)             15      The rod 642 may also include one or more wipers. The
 between the arrow shaft 504 and the point 516 to greatly                embodiment of FIG. 6A-6C comprises a first peripheral ring
 improve alignment. It is to be understood that while some               or lip 648 and a second peripheral ring or lip 650 disposed
 aspects of the present invention are directed to hunting                between the first shoulder 652 and second shoulder 654 of
 arrows only, this particular aspect of the present invention            the insert installation tool 640. The first and second wipers
 applies to all types of arrows, both hunting arrows and target          648 and 650 may have equal diameters and may be sized to
 aOWS.
                                                                         provide an interference fit with an inside diameter of the
    As shown in FIGS. 5F and 5G, an arrow preparation tool               arrow shaft 504. The first and second wipers 648 and 650 are
 550 is provided to appropriately place a chamfer on the                 intended to remove any excess adhesive from the inside
 distal end 522 of shaft 504. The arrow preparation tool 550             Surface of the shaft. According to one embodiment, the
 comprises a frusto-conically shaped protuberance 552 over          25
                                                                         diameter of the first and second wipers 648 and 650 is
 which an end of arrow shaft 504 is inserted. After the arrow
 shaft is inserted over protuberance 552, a downward force F             approximately 0.206 inches. Such diameters are not, how
 is applied to the arrow shaft as the shaft is rotated R (FIG.           ever, limited to any particular measurement, nor are the first
 5G) back and forth until the end wall 524 abuts the top                 and second wipers 648 and 650 necessarily of equal diam
                                                                         eter.
 surface of preparation tool 550. At that point, a proper           30
 chamfer 539 has been created on the distal end 522 of shaft               Another embodiment of an insert installation tool 740 is
 504 between the end wall 524 and the inside surface 537 of              shown in FIG. 6D. Each end of the insert installation tool
 shaft 504. In addition, a portion of end wall 524 will also             740 includes a rod 742 which extends toward and terminates
 remain. As shown in FIG. 5E, the purpose for preparing the              at a tip or first end 744. Each rod 742 attaches to a handle
 arrow shaft with a chamfered surface 539 is to accommodate         35   or second end 746, which may be made of any suitable size
 points that may have a radius R (FIG. 5E) between the                   or shape. The handle 746 incorporates an ergonomic design
 shoulder 530 and the shank 531. It is to be understood that             to facilitate grasping by a person doing the insert installa
 the arrow preparation tool 550 may be made of any appro                 tion. Any suitable design may be incorporated into the
 priately abrasive material. Such as bonded aluminum oxide.              handle 746. The outside diameter of each tip or first end 744
 As shown in FIGS. 5F and 5G, the arrow preparation tool            40   is sized to fit within the threaded section of the inside
 550 may be placed on top of a flat surface so that as the               diameter of the insert 500 (FIG. 6C). Each rod end 744
 arrow is rotated back and forth R as shown in FIG. 5G,                  terminates at a first shoulder 752 and transitions to a second
 there is no need to hold the porous, abrasive arrow prepa               section 742, which terminates, in turn, at the handle portion
 ration tool 550. Alternatively, the arrow preparation tool 550          746. Each first shoulder 752 is designed to abut an insert
 may be held by the person performing the chamfering                45
                                                                         500, in a manner similar to what is shown in FIG. 6B, to
 process. Those skilled in the art will understand that other            allow an operator to push the insert 500 into the arrow shaft
 arrow preparation tools may be utilized without departing               504 to a predetermined, precise depth.
 from the scope of the present invention. Still further, pre
 prepared arrow shafts with appropriate chamfers may be                     Each rod 742 also includes one or more wipers in the form
 provided to accommodate points with radii, without depart          50   of a first peripheral ring or lip 748 and an optional second
 ing from the scope of the present invention.                            peripheral ring or lip 750 disposed between the first shoulder
    After the shaft 504 has been properly conditioned, per               752 and wall 754 of handle portion 746. The first and second
 haps by arrow preparation tool 550, the insert 500 of FIGS.             wipers 748 and 750 may be of equal diameters and may be
 5A-E may be installed completely within the shaft 504 in a              sized to provide an interference fit with an inside diameter
 number of ways. One way might be for a user to couple the          55   of the arrow shaft 504. The first and second wipers 748 and
 insert 500 to the point 516 and install both together as a unit.        750 are intended to remove excess adhesive from the inside
 Another way, however, may be to use an insert installation              Surface of the shaft. According to one embodiment, the
 tool 640, as shown in FIGS. 6A-C. The tool 640 allows the               diameter of the first and second wipers 748 and 750 is
 interface 532 between point 516 and shaft 504 to be more                approximately 0.206 inches. Such diameters are not, how
 precisely controlled. The tool, as discussed below, provides       60   ever, limited to any particular measurement, nor are the first
 the advantage of precise depth control of the insert 500 and            and second wipers 748 and 750 necessarily of equal diam
 prevents adhesive contamination on the portion of the inside            eter. When tool 740 is used to install insert 500 into shaft
 of the shaft corresponding to the area of interface 537 (FIGS.          504, the wall 754 of handle 746 abuts the end 524 of the
 5D and 5E) between shank 531 of point 516 and the inside                shaft.
 Surface 533 of shaft 504.                                          65      In order to facilitate the interference fit between the
   According to the embodiment of FIGS. 6A-C, the insert                 wipers and the inside diameter of the arrow shaft 504, the
 installation tool 640 includes a rod 642 which extends                  insert installation tools 640, 740 may be made of multiple
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                                                                  US 7,270,618 B2
                               11                                                                                       12
 grades and “pliabilities” of plastic or another suitable mate
 rial that can flex and provide an appropriate interference fit.                                                     TABLE 2
 Still further, the tool 640, 740 could be made of any other
 material. Such as metal, where, for example and without                                     Bow Draw Weights and Kinetic Energy at Impact in Test 1
 limitation, rubber O-rings are used for the wipers.
    Alternatively, as shown in FIG. 6E, tool 740 may include                                                                       Impact          Kinetic
 a specialized depth gauge 759 (FIG. 6D) on one end of tool                           Arrow Size Designation       Bow Peak Draw   Velocity     Energy at
 740 to ensure that chamfer 539 has been properly instilled                           (Aluminum Shafts)              Weight (1b)     (fps)    Impact (ft-lb)
 into shaft 504.                                                                 10
    As described in the background, the phenomenon of                                 2212                             64.O         263.6           65.5
 increased penetration for reduced shaft diameter was gen                             2216                             6O.O         241.0           65.5
 erally felt by archers and bowhunters to be true, but was not                        2219 Standard                    59.5         228.9           66.O
 well addressed in a scientific manner in the past.                              15 2219 Heavy (plastic                59.0         213.3           66.O
    Therefore, a number of experiments were performed                                 weight tube added to
 according the present invention to better understand and                             shaft ID)
 evaluate arrow penetration. The tests were performed shoot
 ing arrows into industry-standard ballistic gelatin that has
 heretofore been used for analysis of firearms and ammuni                                The penetration results from shooting the four arrows
 tion.
                                                                                      according to the test parameters are shown in FIG. 8. The
    According to one test measuring arrow penetration (Test                           results show that the penetration for all four arrow shafts was
 1), arrow mass and impact Velocity were varied according to                          the same, approximately 12.5 inches. Such results indicate
 the graph shown in FIG. 7 to provide a constant kinetic                         25   that for a constant arrow shaft OD, penetration performance
 energy                                                                               is a strong function of kinetic energy, and separate from the
                                                                                      independent parameters of mass and Velocity. That is, within
                                                                                      the range of arrow masses and impact velocities tested,
                   1                                                                  penetration depth was constant if impact kinetic energy was
 (kinetic energy = sm . 2,                                                       30
                                                                                      constant, regardless of whether the kinetic energy was
                                                                                      achieved by a low mass arrow traveling at high Velocity, or
                       where m = total arrow mass and v = impact velocity)            a high mass arrow traveling at a low velocity.
                                                                                         To confirm the hypothesis that penetration is only a strong
                                                                                 35   function of kinetic energy, Test 2 was conducted whereby
 of 65 foot-pounds. The arrows tested were aluminum shafts                            the bow draw weight and resultant impact velocity were
 with a nominal outside diameter of 0.344 inches. Table 1                             varied. The specific test parameters are shown in Table 3
 (below) lists the four specific shafts tested.                                       below.
                                                                                 40
                                 TABLE 1.                                                                            TABLE 3
                       Penetration Test Shaft Description                                    Bow Draw Weights and Kinetic Energy at Impact in Test 2.
                                                 Arrow Mass (grain) (total                                            Bow Peak
                                                flight weight of shaft, point,   45
                                                                                      Arrow Size Designation            Draw       Kinetic Energy at Impact
 Arrow Size Designation          Shaft Outside nock, vanes, bushing and               (Aluminum Shafts)              Weight (1b)            (ft-lb)
 (Aluminum Shafts)               Diameter (in.)           adhesives)
 2212                               O.3452                  424.9                   2212                                 50                   47
 2216                               O346O                   SO8.3                   2216                                 60                   69
 2219 Standard                      O.3440                  567.8                50 2219 Standard                        70                   77
 2219 Heavy (plastic weight         O.3440                   653.8                    2219 Heavy (plastic weight         70                   8O
 tube added to shaft ID)                                                              tube added to shaft ID)


    Each arrow included an identical arrow point, which was                      55      The results of Test 2 are shown in FIG. 9. Again, pen
 a fixed-blade broadhead known as a New Archery Products                              etration is shown to be a strong linear function of impact
 Thunderhead(R). Each arrow point had a mass of 85 grains.                            kinetic energy.
 As shown in Table 1, the variation in shaft outside diameter                            Another test, designated as Test 3, then investigated the
 for each arrow was relatively small such that the interface                     60
                                                                                      effect of shaft outside diameter on penetration performance.
 between arrow and target was Substantially the same. How                             For Test 3, two arrows with different outside diameters were
 ever, the difference in mass between the arrows was sub                              used. The first arrow was an ICSHunter(R) 400 Heavy, and is
 stantial. Therefore, the bow draw weight was adjusted for                            an internal component carbon-composite shaft. The second
 each arrow to provide an impact velocity yielding an                                 was a 2413 aluminum alloy arrow. Again, both were tested
 approximately constant level of kinetic energy at impact.                       65   with New Archery Products 85 grain Thunderhead(R) fixed
 The bow draw weights used for each arrow are shown in                                broadheads. Table 4 (below) lists the parameters and results
 Table 2 below.                                                                       of Test 3.
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                                                                   US 7,270 618 B2
                                       13                                                                                  14
                                              TABLE 4
                        Shaft Diameter and Kinetic Energy at Impact in Test 3
                                              Arrow Mass (grain)
                                             (total flight weight of        Impact
 Arrow Size               Shaft Outside shaft, point, nock, vanes,          Kinetic             Penetration
 Designation             Diameter (in.) bushing and adhesives)          Energy (ft-lb)           Depth (in.)
 ICS Hunter (R) 400           O.2935                 464.4                      SO.8                  12.2
 Heavy (FRP)
 (plastic weight tube
 added to shaft ID)
 2413 (aluminum)              O.3719                 464.1                      SO.6                  1O.O


                                                                                       15
    Based on the results of Tests 1 and 2, it was anticipated                                utilized in Test 5 were selected and adjusted during the test
 that the two arrows shot according to the parameters of Test                                so that the impact velocities, and thus the kinetic energies at
 3 would have nearly identical penetration depths, given the                                 impact, for all arrows into the ballistic gelatin targets were
 approximately identical impact kinetic energy. Instead, the                                 substantially identical. Prior tests, specifically Test 1, estab
 unexpected result was 22% greater penetration for the                                       lished that penetration depth into the gelatin target was
 smaller diameter ICSHunterR 400 Heavy than for the larger                                   identical if the kinetic energy at impact was held constant
 diameter 2413. Test 3 shows that the effective outer dimen                                  and the outside “envelope” (i.e., the shaft diameter and point
 sions is another key factor in improving penetration perfor                                 interfacing with the target material) were unchanged. As
 mance, and that as the outside diameter of the shaft is                                     with the prior test, the kinetic energy for Test 5 was
 reduced, the penetration increases.                                                   25    maintained constant.
    Another test (Test 4) was conducted to isolate one other
 variable and confirm the unexpected results of Test 3.          In Test 5, the kinetic energy at impact was constant
 According to the parameters of Test 3, there was room for    because both arrow masses and impact velocities were held
 speculation as to whether the improved penetration depth of  constant. Therefore, one might expect that the penetration
 the ICSHunterR 400 Heavy was due to its smaller diameter, so depth would be the same for all arrows tested, unless another
 or to some other factor given FRP construction (as opposed variable had a significant effect on the penetration result. In
 to the aluminum construction of the 2413) of the shaft. Test 5, the variable of shaft outside diameter was well
 Therefore, in Test 4 an aluminum shaft and FRP shaft having isolated, and would be the only factor which could have an
 substantially the same outside diameters were tested for effect on depth of penetration. The present invention dem
 penetration performance. Table 5 (below) shows the param onstrates that shaft outside diameter is a variable that
 eters and results of Test 4.                                 directly and linearly affects depth of penetration.

                                            TABLE 5
                      Shaft Material and Kinetic Energy at Impact in Test 4
                         Shaft     Arrow Mass (grain) (total
                        Outside      flight weight of shaft,           Impact
 Arrow Size             Diameter        point, nock, vanes,            Kinetic              Penetration
 Designation              (in.)        bushing and adhesives)      Energy (ft-lb)           Depth (in.)
 1816 (aluminum)         O.2840                 409.7                   SO.O                   11.4
 Evolution TM SOO         O.3003                411.2                   S.O.3                  11.3
 (FRP)

                                                                                       50
    The results of Test 4 indicate that shaft material had no                                   Table 6 shows the results of Test 5, particularly relative to
 appreciable affect on penetration depth. Thus, the unex                                     penetration depth. Unlike the results in Test 1, the penetra
 pected results achieved pursuant to the results of Test 3                                   tion depths are not the same. Rather, the smaller outside
 (shown in Table 4) were not attributable to differences in                                  diameter shaft had improved penetration relative to the
 shaft material.
                                                                                       55    larger outside diameter shafts of the prior art. FIG. 10 plots
   Another penetration test, Test 5, was performed to assess                                 depth of penetration as a function of shaft outside diameter
 the effect of shaft diameter on penetration performance. In                                 for the arrow shafts evaluated in Test 5. As can be appre
 Test 5, three different arrow shafts were constructed accord                                ciated, penetration depth turns out to be a very strong linear
 ing to the parameters of Table 6, set forth below. All shafts                               function of shaft outside diameter. In FIG. 10, the solid line
 were constructed from FRP material. Additionally, the over                            60
                                                                                             connecting the three data points represents the actual physi
 all length of each shaft was adjusted such that the total arrow                             cal testing conducted. The dashed line extrapolates this data
 mass would be substantially identical. As in the other                                      to even smaller shaft outside diameters that have not been
 penetration tests, NAP ThunderheadTM 85 grain broadheads
 were used. The only difference among the various shafts was                                 tested, but would reasonably be expected to exhibit the same
 the outside diameters. The ICSHunter(R) and Fat BoyTM                                 65    improved penetration performance. Accordingly, these
 models and other similar large diameter shafts represent                                    ranges of outside diameters shall be considered part of the
 shafts available on the market today. The bow parameters                                    present invention.
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                                    15                                                                      16
                                                                                The accuracy of reduced diameter arrows made according
                              TABLE 6                                         to principles described herein is increased because the
          Arrow Parameters and Penetration Parameters of Test 5
                                                                              propensity of an arrow to be influenced during flight by
                                                                              external factors (e.g., cross winds) is reduced by a smaller
                                     Avg                                      diameter shaft. A smaller diameter shaft has a smaller
                  OD                Impact Avg KE Penetration                 Surface area for a cross wind or other external force to act
 Model            (in) Avg Wt (gr) Vel (fps) (ft-lb) Depth (in)               upon. Because of the many point and nock components of
 Invention       O.264      3O4.O        2S8.2      44.7          13.4        standard sizes currently available, however, it may also be
 ICSHunter (R)   O.296      3O4.2        257.1      44.6          13.0        desirable to combine reduced outside diameter shafts for the
 FatBoy TM       O.353      3O4.1        257.9      44.9          12.1   10   purposes described above, with inside diameters receptive of
                                                                              standard arrow components.
    Therefore, according to embodiments of the present                           Therefore, hunting arrow shafts may, according to prin
 invention, the arrow shaft outside diameter is reduced rela                  ciples described herein, include shafts that have an inside
 tive to standard sizes to increase arrow penetration perfor                  diameter of 0.204 inches to accommodate all standard
                                                                         15
 mance. The embodiments described below include shaft                         hunting points currently available. The hunting arrows
 diameters of reduced size relative to conventional hunting                   according to principles described herein may therefore
 arrows to better optimize accuracy, time-of-flight, trajectory,              include the advantages of a smaller shaft diameter and the
 and penetration.                                                             convenience of compatibility with standard hunting points.
                                                                              For example, according to Some embodiments of the present
    The arrow shaft invention is unique in that it provides a                 invention there may be arrow shafts having an inside diam
 certain combination of spine and weight with a smaller                       eter of 0.204 inches, a spine of 0.500 inches or less, and an
 outside diameter (OD) than the prior art hunting arrows on                   outside diameter of less than 0.275 inches. The outside
 the market today. The present invention pertains to FRP                      diameter may range, according to some embodiments,
 shafts which use internal fit components and have spine/                     between 0.248 and 0.275 inches, depending upon spine.
 weight relationships useful for hunting, and further pertains           25
                                                                              According to another embodiment the inside diameter is
 to all types of aluminum-carbon arrow shafts. It does not                    0.204 inches, the spine is 0.500 inches or less, and the
 include other external fit (outsert) components, nor does it                 outside diameter is less than approximately 0.275 inches.
 include the general class of target arrows, which have a spine               Other exemplary embodiments may include arrow shafts
 from 0.450 inches to greater than 1.000 inches.                              having the following combinations of parameters (see Table
                                                                         30
    FIG. 11 shows a typical plot of spine vs. weight for                      7 below).
 various internal fit component, FRParrow shafts. According
 to FIG. 11, the spine-weight relationship of the arrow shaft                                             TABLE 7
 of the present invention is well within the range of other,
 common spine-weights that have been established for hunt                       Reduced diameter arrow parameters according to some embodiments
                                                                         35
 ing arrows. FIG. 11 does not, however, distinguish among                                            Wall Thickness              Weight (grains in.,
 the outside diameters of the shafts.                                         Spine (in.) OD (in.)        (in.)       ID (in.)   optional parameter)
    FIG. 12 shows a plot of the same arrow shafts in FIG. 11,                   O.300      0.275         O.O3S         O.204            10.7
 but FIG. 12 plots the spine vs. outside diameter of the arrows                 O.340      O.267         O.O31         O.204             9.5
 represented. FIG. 12 shows that prior art arrow shaft designs           40
                                                                                O4(OO      O.264         O.O3O         O.204             9.0
 are all tightly grouped together. The stiffest shafts (those                   OSOO       O.258         O.O27         O.204             8.1
 with spine values of 0.340 inches or less) fall in an OD range
 of 0.294 inches to 0.303 inches. The weakest prior art shafts                  The reduced diameter arrow shafts may also be used with
 (those with spine values of 0.480 inches or greater) in FIG.                 the insert 500 and the insert installation tool 640 described
 12 fall in an OD range of 0.280 inches to 0.293 inches. In              45   above.
 contrast, the arrow shaft of the present invention has, in one                  Arrow shaft diameters may be even further reduced,
 embodiment, an OD of 0.275 inches for a spine of 0.300                       although they may no longer be compatible with standard
 inches. In another embodiment, the arrow shaft of the
 present invention has an OD of 0.258 inches for a spine of                   points. Instead, the arrow shaft diameters may be sized for
 0.500 inches.                                                                half-out inserts. For example, according to embodiments of
                                                                         50   the present invention there may be arrow shafts having an
    FIG. 13 shows a plot of the weights vs. ODs for the same                  inside diameter of 0.200 inches, a spine of 0.500 inches or
 family of arrow shafts as FIGS. 11 and 12. Again, prior art                  less, and an outside diameter of 0.271 inches or less. Other
 designs are tightly grouped together. The heaviest shafts                    exemplary/embodiments may include arrow shafts having
 (those weighing 255 grains and up) from the prior art group                  the following combinations of parameters (see Table 8
 have ODs ranging from 0.296 inches to 0.303 inches. The                 55
                                                                              below).
 lightest shafts (those weighing 211 grains or less) from the
 prior art group have ODs ranging from 0.280 inches to 0.293                                              TABLE 8
 inches. This is a significant difference from the arrow shaft
 of the present invention, which has an OD of 0.275 inches                      Reduced diameter arrow parameters according to some embodiments
 for the heaviest design of one embodiment (310 grains) and              60
                                                                                                     Wall Thickness              Weight (grains in.,
 an OD of 0.258 inches for its lightest design of 235 grains.                 Spine (in.) OD (in.)        in.         ID (in.)   optional parameter)
    Thus, FIGS. 12 and 13 are clear illustrations that the shaft
                                                                                O.300      O.271         O.O37         O.200            10.8
 of this invention is new and unique in its combination of                      O.340      O.267         O.O3S         O.200            10.2
 spine/weight/outside diameters. None of the prior art hunt                     O4(OO      O.263         O.O33         O.200             9.2
 ing shafts recognize the utility of this combination, and in            65     OSOO       0.255         O.O29         O.200             8.2
 fact are all grouped together in a significantly larger OD
 regime.
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                                                            US 7,270,618 B2
                               17                                                                            18
    In addition to using half-out inserts, the insert 500 of                   allows point 1016 to be rotated relative to insert 1000. The
 FIGS. 5A-D may be specially sized to fit within the 0.200                     pilot members 1032, 1034 further aid in alignment of the
 inch inside diameter shafts. New, specially sized points of a                 point 1016 and shaft 1004.
 diameter and thread different than standard points currently                     Although the arrow point assembly of FIGS. 14A-14C
 in use may be needed to engage Such a specially sized insert.                 may be used with the reduced diameter shafts described
    Arrow shaft diameters may be even further reduced,                         above, it should not be so limited. The arrow point assembly
 although they may not be compatible with standard points or                   of FIGS. 14A-14C may also be used with any other type of
                                                                               suitable arrow shafts.
 half-out inserts. Instead, the arrow shaft diameters may                        While this invention has been described with reference to
 necessitate insert components (including inserts shaped                  10   certain specific embodiments and examples, it will be rec
 according to principles described above) sized to fit the                     ognized by those skilled in the art that many variations are
 further reduced diameter shafts. For example, according to                    possible without departing from the scope and spirit of this
 embodiments of the present invention there may be arrow                       invention. The invention, as defined by the claims, is
 shafts having an inside diameter of less than 0.200 inches, a                 intended to cover all changes and modifications of the
 spine of 0.500 inches or less, and an outside diameter of less           15   invention which do not depart from the spirit of the inven
 than 0.275 inches. The inside diameter may be, for example,                   tion. The words “including” and “having,” as used in the
 0.187 inches and the outside diameter may range between                       specification, including the claims, shall have the same
 0.230 and 0.270 inches. Other exemplary embodiments may                       meaning as the word “comprising.”
 include arrow shafts having the following combinations of                       What is claimed is:
 parameters (see Table 9 below).
                                                                                 1. A hunting arrow system, comprising:
                             TABLE 9                                             a reduced diameter FRP hunting arrow shaft comprising
                                                                                 an inside diameter of 0.204 inches;
   Reduced diameter arrow parameters according to Some embodiments               a spine of 0.500 inches or less;
                        Wall Thickness              Weight (grains in.,   25     an outside diameter of no more than 0.275 inches;
 Spine (in.) OD (in.)        in.         ID (in.)   optional parameter)           an internal fit component coupled to the reduced diameter
   O.300      O.266         O.040         O.187            11.5
                                                                                      FRP hunting arrow shaft.
   O.340      O.263         O.O38         O.187            10.7                   2. A hunting arrow system according to claim 1 wherein
   O4(OO      O.254         O.O34         O.187             9.5                the outside diameter is approximately 0.275 inches.
   OSOO       O.248         O.O31         O.187             8.5           30      3. A hunting arrow system according to claim 1 wherein
                                                                               the inside diameter of about 0.204 inches is receptive of
                                                                               standard hunting paints.
   The outside diameters shown in Table 9 may be even                             4. A hunting arrow system according to claim 1, wherein
 further reduced, if desired.                                                  the internal fit component comprises an insert disposed
    Although it may be convenient to use readily available                35   completely within the reduced diameter FRP hunting arrow
 standard points for the shafts and inserts described above, a                 shaft, the hunting arrow system further comprising a point
 new arrow point assembly according to various embodi                          coupled to the insert.
 ments of the present invention are shown with reference to                       5. A hunting arrow system according to claim 4 wherein
 FIGS. 14A-14C. Typical arrow point assemblies (e.g. FIG.                 40
                                                                               the reduced diameter FRP hunting arrow shaft comprises a
 1) include the female insert 100, FIG. 1 and the male point                   first end and a first end wall, the point comprises a shoulder,
 116, FIG. 1. However, according to the embodiment of                          and the shoulder directly bears against the first end wall.
 FIGS. 14A-14C, there is a male insert 1000 and a female                          6. The hunting arrow system of claim 1 wherein the
 point 1016. The male insert 1000 includes a first end 1060                    internal fit component is a half-out insert.
 sized for insertion into a standard or non-standard arrow
                                                                          45
                                                                                  7. An arrow, comprising:
 shaft 1004. The first end 1060 may include one or more                           a hollow shaft having an inside diameter sized to accept
 ridges 1026 disposed about its outside diameter. The male                            standard hunting points, an outside diameter of no more
 insert includes a second end 1064 externally threaded to                            than 0.275 inches, and a spine of 0.500 inches or less;
 engage internal threading 1062 of the female field point                         an internal fit component coupled to the hollow shaft.
 1016. Between the first and second ends 1060 and 1064 is                 50      8. An arrow according to claim 7, wherein the internal fit
 a tapered head 1066 that includes a shoulder 1068 sized to                    component is an insert embedded completely within the
 approximately the same outside diameter of the shaft 1004.                    shaft and the arrow further comprises a hunting point
 Shoulder 1068 bears against the shaft 1004 when the first                     coupled to the insert.
 end 1060 of the male insert 1000 is inserted into the shaft                      9. An arrow according to claim 8 wherein the shaft
 1004. The head 1066 also includes a tapered surface 1070                 55   comprises a first end and a first end wall, the hunting point
 opposite of the shoulder 1068. A mating internal taper 1072                   comprises a shoulder, and the shoulder directly bears against
 is disposed in the point 1016 and facilitates alignment                       the first end wall.
 between the field point 1016 and the insert 1000.                               10. An arrow system, comprising:
    As shown in FIG. 14B, the point 1016 may include an                          a reduced diameter FRP hunting arrow shaft, comprising:
 extension or flange in the form of a skirt 1073 that extends             60     an inside diameter of 0.204 inches;
 over shaft 1004 so that the skirt 1073 in essence envelops the                  a spine of 0.500 inches or less;
 shaft 1004 to aid in alignment.                                                 an outside diameter of no more than 0.275 inches;
   An alternative embodiment is shown in FIG. 14C. The                            an internal fit component coupled to the reduced diameter
 point 1016 may include a pilot aperture or female pocket                            FRP hunting arrow shaft.
 1032 which interfaces with a pilot extension or male end                 65      11. An arrow system according to claim 10, wherein the
 1034 of the male insert 1000. The pilot aperture 1032 and                     internal fit component is an insert disposed completely
 pilot extension 1034 are circular in cross section, which                     within the shaft and a point coupled to the insert.
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                                                             US 7,270,618 B2
                             19                                                                            20
    12. An arrow system according to claim 11 wherein the                       31. The arrow of claim 22 wherein the outside diameter is
 shaft comprises a first end and a first end wall, the point                  no more than approximately 0.275 inches.
 comprises a shoulder, and the shoulder directly bears against                  32. The arrow of claim 22 wherein the outside diameter is
 the first end wall.                                                          approximately 0.245 inches to 0.280 inches.
    13. An arrow system according to claim 10 wherein the                       33. The arrow of claim 22 wherein the outside diameter is
 outside diameter ranges between approximately 0.258 and                      approximately 0.265 inches.
 0.275 inches.                                                                  34. The arrow of claim 22 wherein the outside diameter is
    14. An arrow system, comprising:                                          approximately 0.271 inches.
    a reduced diameter FRP hunting arrow shaft, comprising:                     35. The snow of claim 22 wherein the spine is no more
    an inside diameter of 0.200 inches;                                  10   than approximately 0.500 inches and the outside diameter is
    a spine of 0.500 inches or less;                                          approximately 0.245 inches to 0.280 inches.
    an outside diameter of no more than 0.275 inches;                           36. The arrow of claim 35 wherein the outside diameter is
   an internal fit component coupled to the reduced diameter                  approximately 0.260 inches to 0.275 inches.
       FRP hunting arrow shaft.                                                 37. The arrow of claim 36 wherein the spine is no more
    15. An arrow system according to claim 14 wherein the                15
                                                                              than approximately 0.440 inches.
 outside diameter is between approximately 0.255 and 0.271                      38. The arrow of claim 22 wherein at least a portion of the
 inches.                                                                      hunting arrow shaft has an inside diameter of approximately
    16. An arrow system according to claim 14 wherein the                     0.204 inches.
 inside diameter of about 0.200 inches is receptive of stan                     39. The arrow of claim 22 wherein at least a portion of the
 dard half-out inserts.                                                       hunting arrow shaft has an inside diameter of approximately
    17. An arrow system, comprising:                                          0.200 inches.
    a reduced diameter FRP hunting arrow shaft, comprising:                      40. The arrow of claim 22 wherein the hunting arrow shaft
    an inside diameter of less than 0.200 inches;                             is an FRP hunting arrow shaft.
    a spine of 0.500 inches or less;                                     25      41. The arrow of claim 22 wherein the hunting arrow shaft
    an outside diameter of no more than 0.275 inches;                         includes a first end and a first end wall, the arrow further
    an internal fit component coupled to the reduced diameter                 comprising a point including a shoulder, wherein the point
       FRP hunting arrow shaft.                                               is coupled to the first end of the hunting arrow shaft so that
    18. An arrow system according to claim 17 wherein the                     the shoulder contacts the first end wall.
 inside diameter is approximately 0.187 inches.                          30
                                                                                42. The arrow of claim 22 wherein the internal fit com
    19. An arrow system according to claim 17 wherein the                     ponent is an insert which is disposed completely within the
 spine ranges between 0.300 inches and 0.500 inches and the                   hunting arrow shaft.
 outside diameter ranges between 0.248 and 0.266 inches.                        43. The arrow of claim 22 wherein the internal fit com
    20. An arrow system according to claim 17, wherein the                    ponent comprises an insert positioned so that part of the
 internal fit component comprises an insert disposed com                 35   insert is disposed outside of the hunting arrow shaft.
 pletely within the shaft, and wherein the arrow system                          44. The arrow of claim 43 wherein the insert comprises a
 further comprises a point coupled to the insert.                             half-out insert.
    21. An arrow system according to claim 20 wherein the                       45. The arrow of claim 22 where the spine is no more than
 shaft comprises a first end and a first end wall, the point                  0.500 inches and the outside diameter is approximately
 comprises a shoulder, and the shoulder directly bears against           40   0.245 inches to 0.280 inches, and wherein the internal fit
 the first end wall.                                                          component is an insert positioned so that part of the insert is
    22. An arrow, comprising:                                                 disposed outside of the hunting arrow shaft.
    a hunting arrow shaft having a spine and an outside                         46. The arrow of claim 45 wherein the insert comprises a
      diameter,                                                               half-out insert.
   an internal fit component inserted into and secured to a              45     47. The arrow of claim 22 where the spine is no more than
     front end of the hunting arrow shaft;                                    0.440 inches and the outside diameter is approximately
   wherein upon Supplying the spine and the outside diam                      0.260 inches to 0.275 inches, and wherein the internal fit
     eter to the following equation,                                          component comprises an insert positioned so that part of the
       spine(in inches)=-160/15*the outside diameter(in
                                                                              insert is disposed outside of the hunting arrow shaft.
            inches)+b, b is no more than 52/15.                          50      48. The arrow of claim 47 wherein the insert comprises a
                                                                              half-out insert.
    23. The arrow of claim 22 wherein b is                no more than          49. An arrow comprising:
 51.5/15.                                                                       a hunting arrow shaft having a spine and an outside
    24. The arrow of claim 22 wherein b is                no more than             diameter; and
 50.4f15.                                                                55     an internal fit component coupled to the hunting arrow
    25. The arrow of claim 22 wherein b is                no more than             shaft;
 49.6/15.                                                                       wherein upon Supplying the spine and the outside diam
    26. The arrow of claim 22 wherein b is                no more than            eter to the following equation,
 49.1/15.
   27. The arrow of claim 22 wherein the spine is no more                60
                                                                                    spine(in inches)=-160/15* the outside diameter(in
                                                                                         inches)+b, b is no more than 52/15.
 than approximately 0.520 inches.
   28. The mow of claim 22 wherein the spine is no more                         50. The arrow of claim 49 wherein b is no more than
 than approximately 0.500 inches.                                             49.6/15.
   29. The arrow of claim 22 wherein the spine is no more                       51. The arrow of claim 49 wherein the spine is no more
 than approximately 0.440 inches.                                        65   then approximately 0.500 inches.
    30. The arrow of claim 22 wherein the outside diameter is                   52. The arrow of claim 49 wherein the spine is no more
 no more than approximately 0.280 inches.                                     than approximately 0.440 inches.
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                                                    US 7,270,618 B2
                                21                                                               22
   53. The arrow of claim 49 wherein the outside diameter is            an internal fit component coupled to the hunting arrow
 no more than approximately 0.280 inches.                                  shaft;
   54. The arrow of claim 49 wherein the spine is no more               wherein the spine and the outside diameter intersect at a
 than approximately 0.500 inches and the outside diameter is              point on a plot of spine versus outside diameter that is
 approximately 0.260 inches to 0.275 inches.                              below and to the left of a straight line that includes a
   55. The arrow of claim 49 wherein at least a portion of the            first point having a spine of 0.320 inches and an outside
 hunting arrow shaft has an inside diameter of approximately
 0.204 inches.                                                            diameter of 0.295 inches, and a second point having a
   56. The arrow of claim 49 wherein at least a portion of the            spine of 0.480 inches and an outside diameter of 0.280
 hunting arrow shaft has an inside diameter of approximately     10        inches.
 0.200 inches.                                                           61. The hunting arrow system of claim 60 wherein the
   57. The arrow of claim 49 wherein the internal fit com             internal fit component comprises an insert which is disposed
 ponent is a half-out insert.                                         completely within the hunting arrow shaft.
   58. The arrow of claim 49 wherein the internal fit com
 ponent comprises an insert which is disposed completely         15
                                                                         62. The hunting arrow system of claim 60 wherein the
                                                                      internal fit component comprises a half-out insert.
 within the hunting arrow shaft.
   59. The arrow of claim 49 wherein the internal fit com                63. The hunting arrow system of claim 60 wherein the
 ponent comprises an insert configured to receive a nock.             internal fit component comprises an insert configured to
   60. A hunting arrow system comprising:                             receive a nock.
   a hunting arrow shaft having a spine and an outside 20
      diameter,
    Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 86 of 157 PageID #: 777
               UNITED STATES PATENT AND TRADEMARK OFFICE
                     CERTIFICATE OF CORRECTION

PATENT NO.           : 7,270,618 B2                                                               Page 1 of 1
APPLICATIONNO. : 1 1/2694.80
DATED                : September 18, 2007
INVENTOR(S)          : Teddy D. Palomaki
       It is certified that error appears in the above-identified patent and that said Letters Patent is
       hereby corrected as shown below:

       Column 19, Line 62, “mow should be -- arrow --.
       Column 20, Line 9, “Snow should be -- arrow --.




                                                                   Signed and Sealed this
                                                           Fourth Day of December, 2007


                                                                                  WDJ
                                                                             JON. W. DUDAS
                                                         Director of the United States Patent and Trademark Office
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                              ATTACHMENT E
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                                                                                                                      US007 115055B2


 (12) United States Patent                                                                          (10) Patent No.:                  US 7,115,055 B2
        Palomaki et al.                                                                             (45) Date of Patent:                         *Oct. 3, 2006

 (54) ARROW SYSTEM                                                                                    5,291,875 A * 3/1994 Koziol ..................... 126,41 R
                                                                                                      5,465,979 A * 11/1995 Buhler                         ... 473,578
 (75) Inventors: Teddy D. Palomaki, Park City, UT                                                     5,496.042 A * 3, 1996 Craft et al. ................. 473,583
                      (US); Jacob C. Smith, Salt Lake City,                                           6,017,284 A         1/2000 Giles
                      UT (US)                                                                         6,241,634 B1        6/2001 Armer, Jr. ................... 473,581
                                                                                                      6,251,036 B1*       6/2001 Wu et al. ......          ... 473,578
                                                                                                      6,274,230 B1        8/2001 Sarrelongue ...             428/293.7
 (73) Assignee: Jas. D. Easton, Inc., Van Nuys, CA                                                    6,520,876 B1        2/2003 Eastman, II ...           ... 473,578
                      (US)                                                                            6,554,726 B1        4/2003 Thurber ...................... 473,578
  c                                                 - 0                                               6,932,728 B1        8/2005 Palomaki et al.
 (*) Notice:          Subject to any disclaimer, the term of this                                 2003/0013565 A1         1/2003 Song .......................... 473,578
                      patent is extended or adjusted under 35                                     2003/0073524 A1         4/2003 Song .............        ... 473,578
                      U.S.C. 154(b) by 0 days.                                                    2003. O104884 A1        6/2003 Eastman, II ................ 473,578
                      This patent is Subject to a terminal dis-                                                    OTHER PUBLICATIONS
                      claimer.                                                                   Beman Product Catalog, 1999.
                                                                                                 Game Tracker Catalog, 1998.
 (21) Appl. No.: 10/678,821                                                                      Advertisement for Easton PC AD-Carbon Hunting Shaft, date
                                                                                                 unknown.
 (22) Filed:          Oct. 3, 2003                                                               * cited by examiner
 (65)                Prior Publication Data                                                      Primary Examiner John A. Ricci
         US 2005/OO752O2 A1 Apr. 7, 2005                                                         (74) Attorney, Agent, or Firm—Holland & Hart
 (51) Int. Cl.                                                                                   (57)                    ABSTRACT
      F42B 6/04                   (2006.01)                                                      The invention involves an arrow system having a shaft
 (52) U.S. Cl. ....................................... 473/578; 473/582                          having a first end and an insert receptive of a standard point,
 (58) Field of Classification Search ................ 473/578,                                   the insert being disposed completely within the first end of
                                                                        473/582,583              the shaft. An insert installation tool may be used as part of
         See application file for complete search history.                                       the invention to facilitate insertion of the insert into the first
                                                                                                 end of the shaft. The invention further includes a reduced
 (56)                   References Cited                                                         diameter hunting arrow shaft that maintains Sufficient spine
                  U.S. PATENT DOCUMENTS                                                          and weight characteristics. The reduced diameter hunting
                                                                                                 arrow shaft is receptive of standard or non-standard internal
        4,203,601 A         5, 1980 Simo.......................... 7/58                          components for increasing arrow penetration and shot accu
        25.           ck    f         Sha    - - - - - - - - - - - - - - - - - - - - - - - i..
                                       Claa? . . . . . . . . . . . . . . . . . . . . . . .
                                                                                                 racy. Still further, the invention includes an arrow tip assem
        5,035,764 A         7, 1991 Blake .........................                              bly including a male insert and a female point to assist in
        5,090,149 A         2, 1992 Muk Kim ....................                                 aligning points with arrow shafts.
        5,242,720 A         9, 1993 Blake ..........                        ... 428/34.5
        5,273,293 A * 12/1993 Lekavich .................... 473,578                                             20 Claims, 14 Drawing Sheets


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                              Fig. 1                         Fig. 2
                            (Prior Art)                     (Prior Art)
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                                    Deflection (n) = Spine




                                            28 in.

                                           Fig. 3
                                      (Prior Art)




                                          Fig. 4A
                                      (Prior Art)


                                                 538            536a
                     504                                                 536


                     ZzZZ7
                 ,                  S52
                 ZZZZZZZZZZZZZZZZZZZZZZZZZZZZZZZZZZN


                                                                  538a
                                          Fig. 4B
                                          (Prior Art)
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      529                            530                           500           526
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              516                                531
                                                       00                      533

                              z77232,374

                539          5E 5E                                       504

                                           Fig. 5D
                                           R



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                               539
                                     23.       2(7
                                                532
                                                                         NN
                                                                         504

                                           Fig. 5E
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                   550
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                                     642              644   504
Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 96 of 157 PageID #: 787


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                                                              12 MV2 = 65 ft-bS

              300                               it. ETH
   Velocity   260
     (fps)




                300   350    400       450      500     550       600      650    700
                                       Arrow Mass (Grains)
                                             Fig. 7
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                       1/2 MW2 = 65ft-lbs

    S.
    SO

    f
    S.

     S.
        s
    al

                 425                  518              568      654
                                  Arrow Mass (Grain)
                                            Fig. 8




   |                                  KEat impact (ft-lbs)

                                            Fig. 9
Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 98 of 157 PageID #: 789


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                                                                  Op




                         Gelatin Penetration
                            Depth (inches)
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Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 100 of 157 PageID #: 791
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            r                 Yx         w                        N    N                N              -    ve

                                             Weight G 29" (grains)
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                                       S
                     ZaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaZYYYYZZYZZZZZZZZZZZZZZZZZZZ

                                                           1004
                                   Fig. 14A

                     1000
  1016


                      aaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaaa
                       a.




                                                            1004
              1073




                                                22222222a2a24a2aaaaaaaaaaaaa


                                            aaaaaaaaaaaaaaaaaaaaaaaaaaayaayaaaa


                                                                       1004
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                                                      US 7,115,055 B2
                                1.                                                                    2
                        ARROW SYSTEM                                    components only. Use of the point outsert 200 often results
                                                                        in damaged points and outserts 200, and further causes
                        TECHNICAL FIELD                                 points and outserts 200 to detach from the arrow shaft and
                                                                        remain inside the target after the arrow is pulled from the
     This invention relates to arrow systems, including in         5    target. Points and/or outserts 200 lost inside a target may
  particular hunting arrow systems.                                     cause damage to Subsequent arrows that happen to impact
                                                                        the target at the same location as the lost points or outserts.
           BACKGROUND OF THE INVENTION                                  As a result, some commercial archery ranges have banned
                                                                        outsert-equipped arrow shafts.
     Many different types of arrows and arrow shafts are           10      In an apparent attempt to address the limitations described
  known for use in hunting and sport archery. One arrow type            above, modern FRP arrows with new types of construction
  of relatively recent design is the fiber reinforced polymer           have been developed. The typical modern FRP arrows
  (FRP) arrow. FRP is a generic term including, but not limited         include glass and/or carbon fibers arranged in multiple
  to, fiberglass composites and carbon fiber composites. Tra            directions, as opposed to the unidirectional fiber arrange
  ditional FRP arrow shafts have been typically produced by        15   ment of the earlier FRParrows. The multi-directional fiber
  a number of different manufacturing processes. The first              arrangement (e.g., fibers that run perpendicularly or at an
  FRParrow shafts were constructed with unidirectional rein             angle relative to each other) increases the hoop strength of
  forcing fibers aligned parallel to the axis of the shaft.             the shafts, which allows the shafts to support greater internal
     Prior designs and processes for constructing FRP shafts            loads, including internal loads generated by insert compo
  resulted in a low circumferential or hoop strength. The hoop          nents. Such modern FRP arrows have, however, been tra
  strength of these arrow shafts was so low that the arrows             ditionally made having an outside diameter and wall thick
  could not withstand even Small internal loads applied in a            ness of a size sufficient to accommodate standard-sized
  direction radially outwardly from the center of the shaft. For        inserts. These carbon-composite arrows were generally
  example, internal loads generated from inserting standard             lighter than aluminum shafts, but were generally of the same
  components into the inside of these types of shafts would        25   spine. “Spine' is an industry-standard measurement of
  have resulted in failure of the arrow shaft. Standard arrow           arrow shaft stiffness. Spine is measured according the
  components, such as those shown in FIG. 1, include inserts            parameters shown in FIG. 3. As shown, a shaft 304 is
  100, points 116 (“point’ as used herein means any structure           supported at two points 306 and 308, which are separated by
  formed at or secured to the forward or distal end of the              a distance of 28 inches. A 1.94 pound weight is applied at a
  arrow, including without limitation field points, broadheads,    30   mid point 310 of the shaft 304. The deflection 312 of the
  etc.), and nocks 102, all of which are mounted to an arrow            shaft 304 relative to the horizontal is defined as the “spine.”
  shaft 104. It should be noted that fletching, required for            An arrow must have certain spine characteristics, depending
  proper arrow flight, is not shown in the drawings, but is well        on its length and the draw weight of the archery bow, to
  understood by those skilled in the art.                               achieve proper flight. Generally, the heavier the draw weight
     Because insert components have not been practical for use     35   the stiffer the spine (i.e., less deflection) must be.
  with the relatively small diameter FRP prior art shafts of               As a major portion of the archery market has moved
  types discussed above, externally attached components have            toward lighter weight shafts, the modern FRP arrow has
  been developed and used. FIG. 2 illustrates two such exter            gained widespread acceptance. Lighter arrow shafts have the
  nal components, known as “outserts' in the industry. The              principal advantage of higher Velocities when launched from
  term “outsert,” as it suggests, refers to an arrow component     40   the same bow. Such higher velocities result in a flatter arrow
  that is inserted or installed over the outside diameter of the        trajectory. The practical advantage of flatter trajectory is that
  arrow. The two outserts shown in FIG. 2 include an outsert            a misjudgment by an archer of the range to a target has less
  receptacle 200 to receive a point 116 and an outsert nock             effect on the point of impact.
  202. Outserts were, at the time, the only viable way to attach          Due to material and structural considerations, however, in
  the various other arrow components to these prior FRP            45   designing internal-component FRParrow shafts for reduced
  shafts because of their low hoop stress. Arrow shaft outserts         weight, it became necessary to both increase shaft outside
  have, however, at least three key disadvantages. First, out           diameter and reduce wall thickness relative to the prior art
  sert nocks 202 have a feel that is objectionable to most              FRP outsert shafts in order to provide desirable spine/weight
  archers. Generally, archers prefer a smooth outer surface of          combinations. For aluminum arrow shafts, for example, to
  the shaft without any projections (other than the fletching).    50   provide lighter weight arrows, the wall thickness must be
  This smooth outside diameter preference correlates with the           reduced and the diameter of the arrow, both the inside
  general understanding that an arrow will have better aero             diameter and the outside diameter, must be increased to
  dynamic efficiency with fewer structural projections outside          maintain adequate spine. This process of thinning the wall
  of the arrow shaft.                                                   and increasing shaft diameter has, however, practical limi
     Second, outsert nocks 202 frequently result in mechanical     55   tations. At some point, if taken to an illogical extreme, the
  interference with many types of arrow rests when launching            arrow would have mechanical properties similar to an alu
  the arrow. Most arrow rests hold the arrow in a particular            minum beverage can with no practical resistance to side
  position when the archery bow is drawn and the arrow is               loads or crushing.
  released. With many arrow rests, the arrow continues to                 With some arrows, inserts, such as "half-out” inserts,
  contact the arrow rest as the arrow passes the location of the   60   were introduced to the market some time ago. A typical
  arrow rest. Contact between the nock outsert and the arrow            half-out insert assembly is shown in FIG. 4A. A half-out
  rest can result in unpredictable disturbances during launch of        insert 400 includes a first insert portion 412 with a diameter
  the arrow, and therefore will affect the accuracy of the shot.        smaller than the standard insert 100 shown in FIG. 1 such
     Third, the point outsert 200 has a larger diameter relative        that the first insert portion 412 may be inserted into a
  to the diameter of the shaft, which makes the arrows             65   reduced diameter shaft 404. A second portion 414 of the
  containing the point outsert 200 more difficult to extract            half-out insert 400 has a larger outside diameter that is
  from various targets as compared to arrows with insert                receptive of a standard point 416, yet its outside diameter
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                                 3                                                                       4
  corresponds to the outside diameter of shaft 404. Therefore,            or less, and an outside diameter of 0.275 inches or less. The
  half-out inserts facilitate use of standard field points with           inside diameter of about 0.204 is receptive of standard point
  arrow shafts having inside diameters Smaller than standard              inserts.
  arrow shafts.                                                              Another embodiment of the invention comprises an arrow
    Half-out assemblies have, however, several disadvantages              including a shaft with a first end, a male insert disposed
  and have not been well accepted. Half-out assemblies are                partially within the first end and extending beyond the first
  cantilevered at the front of the arrow shaft 404. The canti             end, and a female point having a flange or skirt that extends
  lever results in a system that tends to deform more readily             over the arrow shaft in a tight-fitting manner to assist in
  on impact as compared to other arrow assemblies. The                    alignment of the point with the arrow shaft.
  half-out assemblies also make it more difficult to precisely       10      Still another embodiment comprises a reduced diameter
  align points 416 with the shaft 404, as will be discussed               FRP hunting arrow shaft including an inside diameter of
  below in greater detail.                                                approximately 0.200 inches, a spine of approximately 0.500
                                                                          inches or less. The outside diameter may range between
              SUMMARY OF THE INVENTION                                    approximately 0.255 and 0.271 inches. The inside diameter
                                                                     15   of about 0.200 is receptive of standard half-out inserts.
     The present invention comprises an arrow including a                    Another embodiment comprises a reduced diameter FRP
  shaft with a first end and an insert receptive of a point, the          hunting arrow shaft, including an inside diameter less than
  insert being disposed completely within the first end of the            0.200 inches, a spine of 0.500 inches or less, and an outside
  shaft. Hunters commonly use field points for practice and               diameter of 0.275 inches or less. The inside diameter may be
  broadheads (either expandable or fixed-blade) for hunting.              approximately 0.187 inches.
  Although this aspect of the present invention (i.e., an inter              Another embodiment comprises a point assembly includ
  nal component Small outside diameter arrow shaft and a                  ing a male insert having a first end configured to engage an
  novel insert installation system) is advantageous when field            arrow shaft and a second end, and a female point configured
  points are used, the invention is particularly advantageous             to mate with the second end of the male insert. The male
  when using broadheads because broadheads exacerbate                25   insert may include a tapered head between the first and
  many shaft/insert/point alignment problems.                             second ends, and the female point may include an interior
     According to one embodiment, the point may include a                 tapered surface shaped to mate with the tapered head of the
  shoulder and the shaft may include an end wall. The insert              male insert.
  is seated at a depth within the shaft such that the shoulder of           Yet another embodiment of the invention comprises an
  the point bears directly against the end wall of the shaft         30   arrow including a shaft with a first end, a male insert
  when the point is engaged with the insert. In one embodi                disposed partially within the first end and extending beyond
  ment, the shaft may have an inside diameter of approxi                  the first end, and a female point engaged with the male
  mately 0.204 inches, a spine of approximately 0.500 inches              insert.
  or less, and an outside diameter less than 0.275 inches. When              Still another embodiment comprises an insert installation
  spine is discussed herein, “stiffer spine means less arrow         35   tool including a positioning rod, where the rod includes a
  deflection (i.e., a smaller numeric value), and “weaker'                first end, a second end, a first diameter at the first end sized
  spine means greater arrow deflection (i.e., a larger numeric            Smaller than an inside diameter of an insert, one or more lips
  value). Thus, the terms “less spine” and “stiffer spine” have           disposed between the first and second ends, the one or more
  the same meaning throughout. In a similar manner, the terms             lips having a diameter sized to provide an interference fit
  "more spine' and “weaker spine' have the same meaning              40   with an inside diameter of an arrow shaft, and a shoulder
  throughout.                                                             disposed between the first end and the one or more lips sized
     Another embodiment comprises an arrow including a                    larger than the inside diameter of the insert; where the first
  shaft having an inside diameter, a first end, and a first end           end of the rod is configured to engage the point insert. The
  wall, and a point having a head, a shoulder, and a shank,               installation tool is designed to position the insert at a desired
  where the shoulder of the point bears directly against the first   45   depth inside the arrow shaft.
  end wall and the shank fits Snugly inside the arrow shaft and              Another aspect of the invention involves a method of
  bears against the inside surface of the arrow shaft. The direct         coupling a point to an arrow shaft including inserting an
  contact between the point and arrow shaft improves align                entire point insert into the arrow shaft and fastening the point
  ment between these two components. In this embodiment,                  to the point insert. According to this method, the point
  the insert is disposed completely inside the shaft and the         50   includes a shoulder and a shank, where the shoulder directly
  point is threadedly received by the insert.                             engages an end wall of the arrow shaft and the shank directly
     Still another embodiment comprises a reduced diameter                engages the inside surface of the arrow shaft, all of which
  carbon-composite hunting arrow shaft including an inside                assists with point alignment.
  diameter of approximately 0.204 inches, a spine of approxi                 Another aspect of the invention involves a method of
  mately 0.500 inches or less, and an outside diameter less          55   coupling a point to an arrow shaft including installing a point
  than approximately 0.275 inches. In this embodiment, an                 insert onto the installation tool and pressing the point insert
  insert may be disposed completely within the shaft and a                into the shaft with the tool to a predetermined depth such
  point coupled to the insert.                                            that a first end of the point inserted is flush with or interior
     Yet another embodiment comprises a hunting arrow                     to a first end of the shaft. The insert installation tool may
  including a hollow shaft having an inside diameter sized to        60   include a grip with a diameter larger than an outside diam
  accept standard points, an outside diameter of less than                eter the arrow shaft or another similar end wall that limits the
  0.275 inches, and a spine of 0.500 inches or less. This                 extent to which the point insert can be pushed inside of the
  embodiment may include an insert embedded completely                    arrow shaft.
  within the shaft and a point coupled to the insert.                       Yet another aspect of the invention involves a method of
     Another embodiment comprises a reduced diameter FRP             65   improving alignment between an arrow point and an arrow
  hunting arrow shaft including an inside diameter of approxi             shaft by embedding an insert completely within the shaft and
  mately 0.204 inches, a spine of approximately 0.500 inches              coupling the arrow point to the insert, where the arrow point
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                                5                                                                     6
  and the shaft directly interface between each other at a first              FIG. 5B is an assembled perspective view of the arrow
  location where a shoulder of the point and an end surface of              shown in FIG. 5A;
  the shaft contact each other and at a second location where                 FIG. 5C is an exploded partial sectional side elevation
  the shank of the point and the inside diameter of the shaft               view of an end of the arrow shown in FIG. 5A;
  contact each other. Embedding the insert may include                        FIG. 5D is a partial sectional side elevation view of the
  extending the insert to a predetermined depth within the                  end of the arrow as shown in FIG. 5B;
  shaft.                                                                       FIG. 5E is an enlarged view of the area 5E-5E of FIG.
     Still another embodiment of the invention comprises an                 5D, according to one embodiment of the present invention;
  arrow including a shaft with a first end defining a first end                FIG. 5F is a perspective view of an arrow being prepared
  wall, an insert with a first end defining a first end wall, the      10   for receipt of an arrow insert system according to the present
  insert being disposed inside the shaft such that the first end            invention;
  wall of the insert is flush with or interior to the first end wall           FIG. 5G is a side elevation view, partly in section, of the
  of the shaft.                                                             arrow preparation process shown in Fig. G.;
     In another embodiment, an arrow system includes an                        FIG. 6A is a perspective view of an arrow insert instal
  insert of substantially constant outside diameter such that the      15   lation tool according to one embodiment of the present
  insert is fully insertable into an arrow shaft, the insert                invention;
  including a threaded portion, and a point including a                       FIG. 6B is a side elevation view of the arrow insert
  threaded portion engagable with the threaded portion of the               installation tool of FIG. 6A with an insert secured thereto;
  insert.                                                                      FIG. 6C is a side elevation view, partly in section, of the
     Another aspect of the invention involves an arrow prepa                arrow insert installation tool of FIG. 6A showing the insert
  ration tool comprising an abrasive material to engage an end              being installed inside an arrow shaft;
  wall of an arrow shaft and a protuberance extending from the                 FIG. 6D is a perspective view of an alternative embodi
  abrasive material, where the protuberance is sized to inter               ment of an arrow insert installation tool according to the
  face with an inside surface of the arrow shaft such that                  present invention;
  rotation of the arrow shaft relative to the abrasive material        25      FIG. 6E is a perspective view of another alternative
  will cause a chamfer to form between the inside surface of                embodiment of an arrow insert installation tool according to
  the arrow shaft and the end wall of the arrow shaft.                      the present invention;
     Still another aspect of the present invention involves an                 FIG. 7 is a graph illustrating a constant kinetic energy
  internal fit component FRP hunting arrow shaft comprising                 curve plotted on a mass versus Velocity chart;
  an arrow shaft to receive internal fit components, where the         30      FIG. 8 is a graph illustrating penetration depth of various
  arrow shaft has a weight in proportion to twenty-nine inches              arrows into a gelatin material, each arrow having Substan
  of arrow shaft, and wherein the weight or the spine falls on              tially the same kinetic energy;
  a plot of weight versus spine above and to the left of a                     FIG. 9 is a graph illustrating penetration depth of various
  straight line that includes a first point having a weight of 190          arrows into a gelatin material as a function of kinetic energy
  grains and an outside diameter of 0.275 inches, and a second         35   for various arrows;
  point having a weight of 320 grains and an outside diameter                  FIG. 10 is a graph illustrating penetration depth of dif
  of 0.305 inches.                                                          ferent FRParrow shafts into a gelatin material where kinetic
     Another aspect of the present invention involves an                    energy has been maintained constant and the shaft outside
  internal fit component FRP hunting arrow shaft comprising                 diameter has changed;
  an arrow shaft to receive internal fit components, wherein           40      FIG. 11 is a graph illustrating spine vs. weight character
  the arrow shaft spine or the outside diameter of the arrow                istics of various prior art shafts as well as shafts according
  shaft falls on a plot of spine versus outside diameter below              to the present invention;
  and to the left of a straight line that includes a first point               FIG. 12 is a graph illustrating various spine vs. outside
  having a spine of 0.320 inches and an outside diameter of                 diameter characteristics of various prior art arrow shafts as
  0.295 inches, and a second point having a spine of 0.480             45   compared to arrow shafts according to the present invention;
  inches and an outside diameter of 0.280 inches.                              FIG. 13 is a graph illustrating weight vs. outside diameter
                                                                            characteristics of various prior art arrow shafts compared to
           BRIEF DESCRIPTION OF THE DRAWINGS                                arrow shafts according to the present invention;
                                                                               FIG. 14A is an exploded sectional side elevational assem
     The accompanying drawings illustrate various embodi               50   bly view of an arrow system according to an alternative
  ments of the present invention and are a part of the speci                embodiment of the present invention; and
  fication. The illustrated embodiments are merely examples                    FIG. 14B is a sectional side elevational assembly view of
  of the present invention and do not limit the scope of the                an arrow system according to yet another alternative
  invention.                                                                embodiment of the present invention; and
    FIG. 1 is a side view of an FRP arrow utilizing inserts            55      FIG. 14C is an exploded sectional side elevational assem
  according to the prior art;                                               bly view of an arrow system according to still another
    FIG. 2 is a side view of an FRP arrow utilizing outserts                alternative embodiment of the present invention.
  according to the prior art;                                                  Throughout the drawings, identical reference numbers
    FIG. 3 is a diagram illustrating spine measurement param                designate similar, but not necessarily identical, elements.
  eters;                                                               60
     FIG. 4A is a side view of an FRParrow utilizing half-out                              DETAILED DESCRIPTION
  inserts according to the prior art;
     FIG. 4B is a partial sectional side elevation view of a PIN               The present specification describes a novel arrow system
  nock system according to the prior art;                                   that may be used for archery, and particularly for bowhunt
     FIG. 5A is an exploded perspective assembly view of an            65   ing. One aspect of the novel arrow system relates to a
  arrow according to one embodiment of the present inven                    reduced diameter hunting arrow. The reduction in diameter
  tion;                                                                     of a hunting arrow facilitates more accurate shooting and
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                               7                                                                       8
  better penetration than previous arrows. The reduced diam             shaft 104. The insert 500 of the embodiment shown in FIGS.
  eter hunting arrow may be sized to accommodate standard               5A-E, however, may be fully embedded within the shaft
  arrow point assemblies, half-out arrow point assemblies, or           504. Accordingly, the insert 500 may have a substantially
  smaller diameter arrow point assemblies. The reduced diam             constant outside diameter (without regard to conventional
  eter hunting arrow may also be used to accommodate a new         5    glue grooves) sized to fit within an inside diameter of the
  point insert System and a new arrow point assembly, both of           shaft 504.
  which are further described below. The novel arrow system                The insert 500 may include one or more ridges 526 about
  also involves an insert installation tool to facilitate place         its outer diameter, as shown in FIGS.5A and 5B. The ridges
  ment of the novel insert into an arrow shaft and an arrow             526 do not, however, extend beyond the substantially con
  shaft preparation tool to ensure the shaft will properly         10   stant outside diameter of the insert 500 and thus do not
  accommodate a point.                                                  prevent full insertion of the insert 500 into the shaft 504. The
     Accordingly, the specification describes various aspects           insert may include a through hole, as shown in FIGS. 5C and
  of the invention according to the following order. First,             5D, or may have a so-called blind hole in the back wall of
  embodiments of an arrow utilizing the new point inserts are           the insert (not shown).
  shown and described, along with the arrow point assembly         15
                                                                           The shaft 504 is preferably constructed of a carbon
  tool. Second, experimental data illustrating the advantages           composite material and includes a first end 522 and a first
  of a reduced diameter arrow is discussed. Third, various              end wall 524. The first end wall 524 corresponds to the
  embodiments of reduced diameter arrow shafts are
  described. Fourth, various embodiments relative to the new
                                                                        terminating end of shaft 504. The shaft 504 also includes a
  arrow system and assembly method for reduced diameter                 second end 534 that is receptive of a nock 536. A nock
  arrows are shown and described.                                       adapting insert 538 may be included between the shaft 504
     As used in this specification and the appended claims, the         and the nock 536. Although FIGS.5A and 5B show such an
  phrases “completely within' or “completely inside” mean               insert, it is to be understood that any nock system, such as
                                                                        without limitation, direct fit nock systems (e.g., as shown in
  that an item is located interior to an object and does not            FIG. 1), UNITM bushings with g-nock systems (e.g., as
  protrude or extend from the object. “Completely within' and      25
                                                                        shown in FIG. 5B), and PIN nock systems with PIN nocks
  “completely inside' also include arrangements in which the            (e.g., as shown in FIG. 4B), may be used without departing
  item is located interior to and flush with the object.                from the scope of the present invention. In addition, a
     The term “insert” is used broadly to encompass any                 plurality of vanes or other fletching (not shown in the
  apparatus that is or may be at least partially introduced into        drawings) may be secured to the second end 534 of the shaft.
  or inside an arrow shaft.                                        30
     “Hunting arrow’ is also used broadly to include any                   As mentioned above, the insert 500 is receptive of the
  arrows, parts of arrows, or arrow assemblies that are                 point 516. The point 516 is preferably a standard size,
  intended specifically for hunting.                                    commercially available point. The point 516 includes a head
     “Fiber reinforced polymer (FRP) refers to any combi                529 and a shoulder 530 where a relatively greater outside
  nation of materials of which carbon is one, including without    35   diameter of the point 516 transitions to a shank 531. Accord
  limitation fiber reinforced materials, advanced composites,           ing to principles described herein, the insert 500 has no lip
  and other material sets that include only carbon.                     (e.g., element 118 in FIG. 1) and is inserted to be at least
     “Spine” is used to indicate a stiffness measurement                flush with or below the end wall 524 of shaft 504. Therefore,
  according to the standard parameters described above, as              the shoulder 530 of the point 516 advantageously bears
  understood by those skilled in the art.                          40   directly against the end surface 524 of the shaft 504 as
     “Point as used to describe the present invention shall             shown in FIGS. 5B, 5D, and 5E. The direct engagement
  mean, for purposes of simplifying the description, any type           between the shoulder 530 and the end surface 524 according
  of arrow point, including without limitation field points and         to FIGS. 5A-D provides a first direct interface location 532
  broadheads.                                                           (FIGS.5D and 5E) between the end wall 524 of the shaft 504
     “Internal insert components’ means inserts that fit inside    45   and the shoulder 530 of point 516 which facilitates a simpler,
  of an arrow shaft as well as any type of arrow point received         more precise alignment between the point and the arrow
                                                                        shaft.
  by Such inserts.
     As mentioned above, a number of developments in arrow                The novel arrow system also provides a second interface
  technology, and particularly hunting arrow technology, have           location 537 (FIGS. 5D and 5E) between the arrow 504 and
  recently occurred. While there are many different types of       50   the point 516. Specifically, the outside surface of the shank
  arrows available, conventional arrows have traditionally not          531 of point 516 bears directly against and the inside surface
  provided the combination of accuracy, flat trajectory, short          533 of the arrow shaft 504.
  travel time, penetration and internal fit components offered             In contrast, prior art arrow systems, as shown in FIG. 1,
  by a reduced diameter hunting arrow shaft according to the            provided an extra structural element (i.e., the insert) between
  present invention. The methods and devices described             55   the arrow shaft and the point at all locations. Thus, prior art
  herein include various reduced diameter arrow shafts and              arrow systems provided at least four (4) different sets of
  other associated devices. The particular implementations,             interfacing surfaces, all of which have the potential to affect
  however, are exemplary in nature, and not limiting.                   alignment of the respective parts. One set is located between
    Turning now to the figures, and in particular to FIGS.              the shoulder 117 of the point 116 and the outer, flat surface
  5A-E, a hunting arrow 520 according to one embodiment of         60   of lip 118 extending from insert 100. Another is located
  the present invention is shown. According to FIGS. 5A-E,              between the bottom surface 119 of lip 118 and the end
  the hunting arrow 520 includes a shaft 504 and an insert 500.         surface 124 of the arrow shaft 104. Still another set of
  The insert 500 is receptive of a point 516. The insert 500 is         interfacing Surfaces is between the cylindrical outer Surface
  advantageously sized to fit Snugly completely within the              of the insert 100 and the inside surface 111 of the arrow shaft
  shaft 504 as shown in FIGS. 5B and 5D. Previous inserts, for     65   104. A final set of interfacing surfaces is between the shank
  example the insert 100 shown in FIG. 1, include a lip 118             115 on the point 116 and the corresponding inside cylindri
  that prevents disposing the insert 100 completely with the            cal Surface 113 of the insert 100.
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     Thus, arrow system of the present invention eliminates               first shoulder 652 is formed. Therefore, the first shoulder 652
  two of these sets of interfacing Surfaces to improve greatly            is sized to abut the insert 500, as shown in FIG. 6B, which
  the alignment between the point and the arrow shaft. Spe                will allow an operator to push the insert 500 into the arrow
  cifically, as shown in FIGS. 5C, 5D, and 5E, the present                shaft 504 to a predetermined, precise depth.
  invention provides two sets of direct interfacing Surfaces                 The rod 642 may also include one or more wipers. The
  (interfaces 532 and 537 as shown in detail in FIG. 5E)                  embodiment of FIGS. 6A-6C comprises a first peripheral
  between the arrow shaft 504 and the point 516 to greatly                ring or lip 648 and a second peripheral ring or lip 650
  improve alignment. It is to be understood that while some               disposed between the first shoulder 652 and second shoulder
  aspects of the present invention are directed to hunting                654 of the insert installation tool 640. The first and second
  arrows only, this particular aspect of the present invention       10   wipers 648 and 650 may have equal diameters and may be
  applies to all types of arrows, both hunting arrows and target          sized to provide an interference fit with an inside diameter
  aOWS.                                                                   of the arrow shaft 504. The first and second wipers 648 and
     As shown in FIGS. 5F and 5G, an arrow preparation tool               650 are intended to remove any excess adhesive from the
  550 is provided to appropriately place a chamfer on the                 inside Surface of the shaft. According to one embodiment,
  distal end 522 of shaft 504. The arrow preparation tool 550        15   the diameter of the first and second wipers 648 and 650 is
  comprises a frusto-conically shaped protuberance 552 over               approximately 0.206 inches. Such diameters are not, how
  which an end of arrow shaft 504 is inserted. After the arrow            ever, limited to any particular measurement, nor are the first
  shaft is inserted over protuberance 552, a downward force F             and second wipers 648 and 650 necessarily of equal diam
  is applied to the arrow shaft as the shaft is rotated R (FIG.           eter.
  5G) back and forth until the end wall 524 abuts the top                   Another embodiment of an insert installation tool 740 is
  surface of preparation tool 550. At that point, a proper                shown in FIG. 6D. Each end of the insert installation tool
  chamfer 539 has been created on the distal end 522 of shaft             740 includes a rod 742 which extends toward and terminates
  504 between the end wall 524 and the inside Surface 537 of
                                                                          at a tip or first end 744. Each rod 742 attaches to a handle
  shaft 504. In addition, a portion of end wall 524 will also             or second end 746, which may be made of any suitable size
  remain. As shown in FIG. 5E, the purpose for preparing the         25   or shape. The handle 746 incorporates an ergonomic design
  arrow shaft with a chamfered surface 539 is to accommodate              to facilitate grasping by a person doing the insert installa
  points that may have a radius R (FIG. 5E) between the                   tion. Any suitable design may be incorporated into the
  shoulder 530 and the shank 531. It is to be understood that
  the arrow preparation tool 550 may be made of any appro                 handle 746. The outside diameter of each tip or first end 744
                                                                          is sized to fit within the threaded section of the inside
  priately abrasive material. Such as bonded aluminum oxide.         30
                                                                          diameter of the insert 500 (FIG. 6C). Each rod end 744
  As shown in FIGS. 5F and 5G, the arrow preparation tool                 terminates at a first shoulder 752 and transitions to a second
  550 may be placed on top of a flat surface so that as the               section 742, which terminates, in turn, at the handle portion
  arrow is rotated back and forth R as shown in FIG. 5G,                  746. Each first shoulder 752 is designed to abut an insert
  there is no need to hold the porous, abrasive arrow prepa               500, in a manner similar to what is shown in FIG. 6B, to
  ration tool 550. Alternatively, the arrow preparation tool 550     35
                                                                          allow an operator to push the insert 500 into the arrow shaft
  may be held by the person performing the chamfering                     504 to a predetermined, precise depth.
  process. Those skilled in the art will understand that other               Each rod 742 also includes one or more wipers in the form
  arrow preparation tools may be utilized without departing               of a first peripheral ring or lip 748 and an optional second
  from the scope of the present invention. Still further, pre             peripheral ring or lip 750 disposed between the first shoulder
  prepared arrow shafts with appropriate chamfers may be             40
                                                                          752 and wall 754 of handle portion 746. The first and second
  provided to accommodate points with radii, without depart               wipers 748 and 750 may be of equal diameters and may be
  ing from the scope of the present invention.                            sized to provide an interference fit with an inside diameter
     After the shaft 504 has been properly conditioned, per               of the arrow shaft 504. The first and second wipers 748 and
  haps by arrow preparation tool 550, the insert 500 of FIGS.             750 are intended to remove excess adhesive from the inside
  5A-E may be installed completely within the shaft 504 in a         45
                                                                          Surface of the shaft. According to one embodiment, the
  number of ways. One way might be for a user to couple the               diameter of the first and second wipers 748 and 750 is
  insert 500 to the point 516 and install both together as a unit.        approximately 0.206 inches. Such diameters are not, how
  Another way, however, may be to use an insert installation              ever, limited to any particular measurement, nor are the first
  tool 640, as shown in FIGS. 6A-C. The tool 640 allows the               and second wipers 748 and 750 necessarily of equal diam
  interface 532 between point 516 and shaft 504 to be more           50
                                                                          eter. When tool 740 is used to install insert 500 into shaft
  precisely controlled. The tool, as discussed below, provides            504, the wall 754 of handle 746 abuts the end 524 of the
  the advantage of precise depth control of the insert 500 and            shaft.
  prevents adhesive contamination on the portion of the inside               In order to facilitate the interference fit between the
  of the shaft corresponding to the area of interface 537 (FIGS.
  5D and 5E) between shank 531 of point 516 and the inside           55   wipers and the inside diameter of the arrow shaft 504, the
  Surface 533 of shaft 504.                                               insert installation tools 640, 740 may be made of multiple
    According to the embodiment of FIGS. 6A-C, the insert                 grades and “pliabilities” of plastic or another suitable mate
  installation tool 640 includes a rod 642 which extends                  rial that can flex and provide an appropriate interference fit.
  toward and terminates at a tip or first end 644. The rod 642            Still further, the tool 640, 740 could be made of any other
  attaches to a handle or second end 646, which may be made          60   material. Such as metal, where, for example and without
  of any suitable size or shape. The outside diameter of the              limitation, rubber O-rings are used for the wipers.
  first end 644 is sized to fit within the threaded section of               Alternatively, as shown in FIG. 6E, tool 740 may include
  insert 500. FIG. 6B shows an insert positioned on the first             a specialized depth gauge 759 (FIG. 6D) on one end of tool
  end 644 of the installation tool 640. FIG. 6C shows the insert          740 to ensure that chamfer 539 has been properly instilled
  500 being positioned inside the arrow shaft 504 using the          65   into shaft 504.
  installation tool 640. The outside diameter of the rod 642 is             As described in the background, the phenomenon of
  different than the outside diameter of the tip 644 such that a          increased penetration for reduced shaft diameter was gen
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                                11                                                                                12
  erally felt by archers and bowhunters to be true, but was not                     that for a constant arrow shaft OD, penetration performance
  well addressed in a scientific manner in the past.                                is a strong function of kinetic energy, and separate from the
     Therefore, a number of experiments were performed                              independent parameters of mass and Velocity. That is, within
  according the present invention to better understand and                          the range of arrow masses and impact velocities tested,
  evaluate arrow penetration. The tests were performed shoot                   5    penetration depth was constant if impact kinetic energy was
  ing arrows into industry-standard ballistic gelatin that has                      constant, regardless of whether the kinetic energy was
  heretofore been used for analysis of firearms and ammuni                          achieved by a low mass arrow traveling at high Velocity, or
  tion.                                                                             a high mass arrow traveling at a low velocity.
     According to one test measuring arrow penetration (Test                           To confirm the hypothesis that penetration is only a strong
  1), arrow mass and impact Velocity were varied according to                  10   function of kinetic energy, Test 2 was conducted whereby
  the graph shown in FIG. 7 to provide a constant kinetic                           the bow draw weight and resultant impact velocity were
  energy                                                                            varied. The specific test parameters are shown in Table 3
                                                                                    below.
                    1                                                          15                                    TABLE 3
  (kinetic energy = sm. y?,
                                                                                           Bow Draw Weights and Kinetic Energy at Impact in Test 2.
                        where m = total arrow mass and v = impact velocity)
                                                                                                                            Bow Peak          Kinetic Energy
                                                                                        Arrow Size Designation             Draw Weight          at Impact
                                                                                        (Aluminum Shafts)                      (1b)               (ft-lb)
  of 65 foot-pounds. The arrows tested were aluminum shafts                             2212                                    50                    47
  with a nominal outside diameter of 0.344 inches. Table 1                              2216                                    60                    69
  (below) lists the four specific shafts tested.                                        2219 Standard
                                                                                        2219 Heavy (plastic weight
                                                                                                                                70
                                                                                                                                70
                                                                                                                                                      77
                                                                                                                                                      8O
                                  TABLE 1.                                     25       tube added to shaft ID)

                        Penetration Test Shaft Description                             The results of Test 2 are shown in FIG. 9. Again, pen
                                                   Arrow Mass (grain) (total        etration is shown to be a strong linear function of impact
                                                     flight weight of shaft,        kinetic energy.
  Arrow Size Designation            Shaft Outside      point, nock, vanes,     30
                                                                                       Another test, designated as Test 3, then investigated the
  (Aluminum Shafts)                 Diameter (in.) bushing and adhesives)           effect of shaft outside diameter on penetration performance.
  2212                                  O.3452                424.9                 For Test 3, two arrows with different outside diameters were
  2216                                  O346O                 SO8.3                 used. The first arrow was an ICSHunter(R) 400 Heavy, and is
  2219 Standard                         O.3440                567.8
  2219 Heavy (plastic weight            O.3440                653.8            35
                                                                                    an internal component carbon-composite shaft. The second
  tube added to shaft ID)                                                           was a 2413 aluminum alloy arrow. Again, both were tested
                                                                                    with New Archery Products 85 grain Thunderhead(R) fixed
                                                                                    broadheads. Table 4 (below) lists the parameters and results
     Each arrow included an identical arrow point, which was                        of Test 3.
  a fixed-blade broadhead known as a New Archery Products
  Thunderhead(R). Each arrow point had a mass of 85 grains.                    40
                                                                                                                     TABLE 4
  As shown in Table 1, the variation in shaft outside diameter
  for each arrow was relatively small such that the interface                                   Shaft Diameter and Kinetic Energy at Impact in Test 3
  between arrow and target was Substantially the same. How                                                            Arrow Mass (grain)
  ever, the difference in mass between the arrows was sub                                                   Shaft      (total flight weight   Impact       Pene
  stantial. Therefore, the bow draw weight was adjusted for                    45                          Outside       of shaft, point,     Kinetic      tration
  each arrow to provide an impact velocity yielding an                              Arrow Size            Diameter    nock, vanes, bushing    Energy       Depth
  approximately constant level of kinetic energy at impact.                         Designation             (in.)        and adhesives)       (ft-lb)       (in.)
  The bow draw weights used for each arrow are shown in                             ICSHunter (R) 400      O.2935            464.4             SO.8         12.2
  Table 2 below.                                                                    Heavy (FRP)
                                                                               50   (plastic weight
                                                                                    tube added to
                                  TABLE 2                                           shaft ID)
          Bow Draw Weights and Kinetic Energy at Impact in Test 1                   2413 (aluminum)        O.3719            464.1             SO.6         1O.O

                                    Bow Peak        Impact       Kinetic
  Arrow Size Designation          Draw Weight      Velocity     Energy at      55      Based on the results of Tests 1 and 2, it was anticipated
  (Aluminum Shafts)                   (1b)           (fps)    Impact (ft-lb)        that the two arrows shot according to the parameters of Test
  2212                                 64.O         263.6             65.5
                                                                                    3 would have nearly identical penetration depths, given the
  2216                                 6O.O         241.0             65.5          approximately identical impact kinetic energy. Instead, the
  2219 Standard                        59.5         228.9             66.O          unexpected result was 22% greater penetration for the
  2219 Heavy (plastic                  59.0         213.3             66.O     60   smaller diameter ICSHunterR 400 Heavy than for the larger
  weight tube added to                                                              diameter 2413. Test 3 shows that the effective outer dimen
  shaft ID)                                                                         sions is another key factor in improving penetration perfor
                                                                                    mance, and that as the outside diameter of the shaft is
     The penetration results from shooting the four arrows                          reduced, the penetration increases.
  according to the test parameters are shown in FIG. 8. The                    65     Another test (Test 4) was conducted to isolate one other
  results show that the penetration for all four arrow shafts was                   variable and confirm the unexpected results of Test 3.
  the same, approximately 12.5 inches. Such results indicate                        According to the parameters of Test 3, there was room for
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                                                                     US 7,115,055 B2
                               13                                                                                14
  speculation as to whether the improved penetration depth of                       ciated, penetration depth turns out to be a very strong linear
  the ICSHunterR 400 Heavy was due to its smaller diameter,                         function of shaft outside diameter. In FIG. 10, the solid line
  or to some other factor given FRP construction (as opposed                        connecting the three data points represents the actual physi
  to the aluminum construction of the 2413) of the shaft.                           cal testing conducted. The dashed line extrapolates this data
  Therefore, in Test 4 an aluminum shaft and FRP shaft having                       to even smaller shaft outside diameters that have not been
  substantially the same outside diameters were tested for                          tested, but would reasonably be expected to exhibit the same
  penetration performance. Table 5 (below) shows the param                          improved penetration performance. Accordingly, these
  eters and results of Test 4.                                                      ranges of outside diameters shall be considered part of the
                                                                               10
                                                                                    present invention.
                                  TABLE 5
                                                                                                                 TABLE 6
              Shaft Material and Kinetic Energy at Impact in Test 4
                                                                                             Arrow Parameters and Penetration Parameters of Test 5
                       Shaft Arrow Mass (grain) (total Impact Pene
                      Outside flight weight of shaft, Kinetic tration                                   OD Avg Wit Avg Impact Avg KE Penetration
  Arrow Size         Diameter       point, nock, vanes,     Energy     Depth   15
                                                                                    Model               (in) (gr)   Vel (fps)  (ft-lb) Depth (in)
  Designation           (in.)     bushing and adhesives)    (ft-lb)    (in.)
                                                                                    Invention          O.264   3.04.0     258.2        44.7          13.4
  1816                O.2840              409.7              SO.O      11.4         ICSHunter (R)      O.296   304.2      257.1        44.6          13.0
  (aluminum)                                                                        FatBoy TM          O.353   3O4.1      257.9        44.9          12.1
  Evolution TM        O.30O3              411.2              S.O.3     11.3
  500 (FRP)
                                                                                       Therefore, according to embodiments of the present
     The results of Test 4 indicate that shaft material had no                      invention, the arrow shaft outside diameter is reduced rela
  appreciable affect on penetration depth. Thus, the unex                           tive to standard sizes to increase arrow penetration perfor
  pected results achieved pursuant to the results of Test 3                         mance. The embodiments described below include shaft
                                                                               25
  (shown in Table 4) were not attributable to differences in                        diameters of reduced size relative to conventional hunting
  shaft material.                                                                   arrows to better optimize accuracy, time-of-flight, trajectory,
    Another penetration test, Test 5, was performed to assess                       and penetration.
  the effect of shaft diameter on penetration performance. In                          The arrow shaft invention is unique in that it provides a
  Test 5, three different arrow shafts were constructed accord                 30   certain combination of spine and weight with a smaller
  ing to the parameters of Table 6, set forth below. All shafts                     outside diameter (OD) than the prior art hunting arrows on
  were constructed from FRP material. Additionally, the over                        the market today. The present invention pertains to FRP
  all length of each shaft was adjusted such that the total arrow                   shafts which use internal fit components and have spine/
  mass would be substantially identical. As in the other                            weight relationships useful for hunting, and further pertains
  penetration tests, NAP ThunderheadTM 85 grain broadheads                     35   to all types of aluminum-carbon arrow shafts. It does not
  were used. The only difference among the various shafts was                       include other external fit (outsert) components, nor does it
  the outside diameters. The ICSHunter(R) and Fat BoyTM                             include the general class of target arrows, which have a spine
  models and other similar large diameter shafts represent                          from 0.450 inches to greater than 1.000 inches.
  shafts available on the market today. The bow parameters                     40
                                                                                       FIG. 11 shows a typical plot of spine vs. weight for
  utilized in Test 5 were selected and adjusted during the test                     various internal fit component, FRParrow shafts. According
  so that the impact velocities, and thus the kinetic energies at                   to FIG. 11, the spine-weight relationship of the arrow shaft
  impact, for all arrows into the ballistic gelatin targets were                    of the present invention is well within the range of other,
  substantially identical. Prior tests, specifically Test 1, estab                  common spine-weights that have been established for hunt
  lished that penetration depth into the gelatin target was                    45   ing arrows. FIG. 11 does not, however, distinguish among
  identical if the kinetic energy at impact was held constant                       the outside diameters of the shafts.
  and the outside “envelope” (i.e., the shaft diameter and point                       FIG. 12 shows a plot of the same arrow shafts in FIG. 11,
  interfacing with the target material) were unchanged. As                          but FIG. 12 plots the spine vs. outside diameter of the arrows
  with the prior test, the kinetic energy for Test 5 was                            represented. FIG. 12 shows that prior art arrow shaft designs
  maintained constant.                                                         50   are all tightly grouped together. The stiffest shafts (those
     In Test 5, the kinetic energy at impact was constant                           with spine values of 0.340 inches or less) fall in an OD range
  because both arrow masses and impact velocities were held                         of 0.294 inches to 0.303 inches. The weakest prior art shafts
  constant. Therefore, one might expect that the penetration                        (those with spine values of 0.480 inches or greater) in FIG.
  depth would be the same for all arrows tested, unless another                     12 fall in an OD range of 0.280 inches to 0.293 inches. In
  variable had a significant effect on the penetration result. In              55
  Test 5, the variable of shaft outside diameter was well                           contrast, the arrow shaft of the present invention has, in one
  isolated, and would be the only factor which could have an                        embodiment, an OD of 0.275 inches for a spine of 0.300
  effect on depth of penetration. The present invention dem                         inches. In another embodiment, the arrow shaft of the
  onstrates that shaft outside diameter is a variable that                          present invention has an OD of 0.258 inches for a spine of
  directly and linearly affects depth of penetration.                          60
                                                                                    0.500 inches.
     Table 6 shows the results of Test 5, particularly relative to                     FIG. 13 shows a plot of the weights vs. ODs for the same
  penetration depth. Unlike the results in Test 1, the penetra                      family of arrow shafts as FIGS. 11 and 12. Again, prior art
  tion depths are not the same. Rather, the smaller outside                         designs are tightly grouped together. The heaviest shafts
  diameter shaft had improved penetration relative to the                           (those weighing 255 grains and up) from the prior art group
  larger outside diameter shafts of the prior art. FIG. 10 plots               65   have ODs ranging from 0.296 inches to 0.303 inches. The
  depth of penetration as a function of shaft outside diameter                      lightest shafts (those weighing 211 grains or less) from the
  for the arrow shafts evaluated in Test 5. As can be appre                         prior art group have ODs ranging from 0.280 inches to 0.293
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                                15                                                                                 16
  inches. This is a significant difference from the arrow shaft
  of the present invention, which has an OD of 0.275 inches                                                   TABLE 8
  for the heaviest design of one embodiment (310 grains) and                                       Reduced diameter arrow parameters
  an OD of 0.258 inches for its lightest design of 235 grains.                                      according to some embodiments
                                                                            5
    Thus, FIGS. 12 and 13 are clear illustrations that the shaft                                           Wall Thickness            Weight (grains in.,
  of this invention is new and unique in its combination of                       Spine (in.)   OD (in.)        (in.)       ID (in.) optional parameter)
  spine/weight/outside diameters. None of the prior art hunt
  ing shafts recognize the utility of this combination, and in                      O.300
                                                                                    O.340
                                                                                                 O.271
                                                                                                 O.267
                                                                                                               O.O37
                                                                                                               O.O3S
                                                                                                                            O.200
                                                                                                                            O.200
                                                                                                                                            10.8
                                                                                                                                            10.2
  fact are all grouped together in a significantly larger OD                10      O.400        O.263         O.O33        O.200            9.2
  regime.                                                                           O.SOO        0.255         O.O29        O.200            8.2
     The accuracy of reduced diameter arrows made according
  to principles described herein is increased because the                           In addition to using half-out inserts, the insert 500 of
  propensity of an arrow to be influenced during flight by                       FIGS. 5A-D may be specially sized to fit within the 0.200
  external factors (e.g., cross winds) is reduced by a smaller              15
                                                                                 inch inside diameter shafts. New, specially sized points of a
  diameter shaft. A smaller diameter shaft has a smaller                         diameter and thread different than standard points currently
  Surface area for a cross wind or other external force to act                   in use may be needed to engage Such a specially sized insert.
  upon. Because of the many point and nock components of                            Arrow shaft diameters may be even further reduced,
  standard sizes currently available, however, it may also be                    although they may not be compatible with standard points or
  desirable to combine reduced outside diameter shafts for the
                                                                                 half-out inserts. Instead, the arrow shaft diameters may
  purposes described above, with inside diameters receptive of                   necessitate insert components (including inserts shaped
  standard arrow components.                                                     according to principles described above) sized to fit the
     Therefore, hunting arrow shafts may, according to prin                      further reduced diameter shafts. For example, according to
  ciples described herein, include shafts that have an inside               25   embodiments of the present invention there may be arrow
  diameter of 0.204 inches to accommodate all standard                           shafts having an inside diameter of less than 0.200 inches, a
  hunting points currently available. The hunting arrows                         spine of 0.500 inches or less, and an outside diameter of less
  according to principles described herein may therefore                         than 0.275 inches. The inside diameter may be, for example,
  include the advantages of a smaller shaft diameter and the                     0.187 inches and the outside diameter may range between
  convenience of compatibility with standard hunting points.                30   0.230 and 0.270 inches. Other exemplary embodiments may
  For example, according to Some embodiments of the present                      include arrow shafts having the following combinations of
  invention there may be arrow shafts having an inside diam                      parameters (see Table 9 below).
  eter of 0.204 inches, a spine of 0.500 inches or less, and an
  outside diameter of less than 0.275 inches. The outside                                                     TABLE 9
  diameter may range, according to some embodiments,                        35
  between 0.248 and 0.275 inches, depending upon spine.                                            Reduced diameter arrow parameters
  According to another embodiment the inside diameter is                                            according to some embodiments
  0.204 inches, the spine is 0.500 inches or less, and the                                                 Wall Thickness            Weight (grains in.,
  outside diameter is less than approximately 0.275 inches.                       Spine (in.)   OD (in.)        (in.)       ID (in.) optional parameter)
  Other exemplary embodiments may include arrow shafts                      40      O.300        O.266         O.040        O.187           11.5
  having the following combinations of parameters (see Table                        O.340        O.263         O.O38        O.187           10.7
  7 below).                                                                         O.400        O.254         O.O34        O.187            9.5
                                                                                    O.SOO        O.248         O.O31        O.187            8.5
                               TABLE 7
                    Reduced diameter arrow parameters                       45     The outside diameters shown in Table 9 may be even
                     according to Some embodiments                               further reduced, if desired.
                            Wall Thickness            Weight (grains in.,          Although it may be convenient to use readily available
   Spine (in.)   OD (in.)        (in.)       ID (in.) optional parameter)        standard points for the shafts and inserts described above, a
                                                                                 new arrow point assembly according to various embodi
     O.300        0.275         O.O3S        O.204           10.7
     O.340        O.267         O.O31        O.204            9.5
                                                                            50   ments of the present invention are shown with reference to
     O4(OO        O.264         O.O3O        O.204            9.0                FIGS. 14A-14C. Typical arrow point assemblies (e.g. FIG.
     O.SOO        O.258         O.O27        O.204            8.1                1) include the female insert 100, FIG. 1 and the male point
                                                                                 116, FIG. 1. However, according to the embodiment of
                                                                                 FIGS. 14A-14C, there is a male insert 1000 and a female
    The reduced diameter arrow shafts may also be used with                 55   point 1016. The male insert 1000 includes a first end 1060
  the insert 500 and the insert installation tool 640 described                  sized for insertion into a standard or non-standard arrow
  above.                                                                         shaft 1004. The first end 1060 may include one or more
     Arrow shaft diameters may be even further reduced,                          ridges 1026 disposed about its outside diameter. The male
  although they may no longer be compatible with standard                        insert includes a second end 1064 externally threaded to
  points. Instead, the arrow shaft diameters may be sized for               60   engage internal threading 1062 of the female field point
  half-out inserts. For example, according to embodiments of                     1016. Between the first and second ends 1060 and 1064 is
  the present invention there may be arrow shafts having an                      a tapered head 1066 that includes a shoulder 1068 sized to
  inside diameter of 0.200 inches, a spine of 0.500 inches or                    approximately the same outside diameter of the shaft 1004.
  less, and an outside diameter of 0.271 inches or less. Other                   Shoulder 1068 bears against the shaft 1004 when the first
  exemplary embodiments may include arrow shafts having                     65   end 1060 of the male insert 1000 is inserted into the shaft
  the following combinations of parameters (see Table 8                          1004. The head 1066 also includes a tapered surface 1070
  below).                                                                        opposite of the shoulder 1068. A mating internal taper 1072
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                                17                                                              18
  is disposed in the point 1016 and facilitates alignment                 10. An arrow according to claim 1 wherein the shaft
  between the field point 1016 and the insert 1000.                     comprises:
     As shown in FIG. 14B, the point 1016 may include an                  an end wall;
  extension or flange in the form of a skirt 1073 that extends            an inside Surface;
  over shaft 1004 so that the skirt 1073 in essence envelops the          a chamfer between the end wall and the inside surface.
  shaft 1004 to aid in alignment.                                          11. An arrow system, comprising:
    An alternative embodiment is shown in FIG. 14C. The                   a hunting arrow, comprising:
  point 1016 may include a pilot aperture or female pocket                a shaft having a first end and a first end wall;
  1032 which interfaces with a pilot extension or male end                an insert being recessed within the shaft;
  1034 of the male insert 1000. The pilot aperture 1032 and        10     a point having a head and a shoulder;
  pilot extension 1034 are circular in cross section, which               wherein the point shoulder directly bears exclusively
  allows point 1016 to be rotated relative to insert 1000. The                against the first end wall.
  pilot members 1032, 1034 further aid in alignment of the                 12. An arrow system according to claim 11 wherein the
  point 1016 and shaft 1004.                                            shaft comprises an inside diameter of approximately 0.204
     Although the arrow point assembly of FIGS. 14A-14C            15   inches, a spine of approximately 0.500 inches or less, and an
  may be used with the reduced diameter shafts described                outside diameter less than 0.275 inches.
  above, it should not be so limited. The arrow point assembly             13. An arrow system according to claim 11 wherein the
  of FIGS. 14A-14C may also be used with any other type of              shaft comprises an inside diameter of less than 0.200 inches,
  suitable arrow shafts.                                                a spine of approximately 0.500 inches or less, and an outside
     While this invention has been described with reference to          diameter less than 0.275 inches.
  certain specific embodiments and examples, it will be rec               14. A hunting arrow, comprising:
  ognized by those skilled in the art that many variations are            a shaft having a first end defining a first end wall;
  possible without departing from the scope and spirit of this            an insert having a first end defining a first end wall, the
  invention. The invention, as defined by the claims, is                     insert being disposed inside the shaft such that the first
  intended to cover all changes and modifications of the           25        end wall of the insert is interior to the first end wall of
  invention which do not depart from the spirit of the inven                 the shaft.
  tion. The words “including and “having,” as used in the                 15. An arrow, comprising:
  specification, including the claims, shall have the same                an arrow shaft having a first end, a first end wall, an inside
  meaning as the word “comprising.”                                          Surface, and an outside surface;
    What is claimed is:                                            30
                                                                          an insert completely recessed within the first end of the
    1. An arrow, comprising:                                                 arrow shaft;
    a shaft having a first end;                                           a point connected to the insert, the point comprising a
    an insert receptive of a point, the insert being recessed               shoulder and a shank extending from the shoulder;
       within the first end of the shaft.                                 wherein the shoulder bears only against first end wall of
     2. An arrow according to claim 1 wherein the point            35
                                                                            the arrow shaft and the shank bears directly against the
  comprises a shoulder and the shaft comprises an end wall;                  inside surface of the arrow shaft.
  wherein the insert is seated at a depth within the shaft such           16. An arrow according to claim 15, further comprising a
  that the shoulder of the point bears only against the end wall        chamfer between the end wall and the inside surface.
  of the shaft when the point is fully engaged with the insert.           17. An arrow according to claim 15 wherein the shoulder
     3. An arrow according to claim 1 wherein the shaft            40
                                                                        is flush with the outside surface of the arrow shaft.
  comprises an inside diameter of approximately 0.204 inches,             18. An arrow according to claim 15, wherein the shank
  a spine of approximately 0.500 inches or less, and an outside         comprises a reduced diameter threaded portion threadedly
  diameter less than 0.275 inches.
     4. An arrow according to claim 1 wherein the shaft                 connected to receiving threads of the insert.
  comprises an inside diameter of approximately 0.200 inches,      45
                                                                          19. An arrow, comprising:
  a spine of approximately 0.500 inches or less, and an outside           an arrow shaft having a first end and a first end wall;
  diameter less than 0.275 inches.                                        an insert having a forward end, the forward end being
    5. An arrow according to claim 1 wherein the insert                     completely recessed within the first end of the arrow
  comprises a Substantially constant outside diameter and a                  shaft;
  threaded recess.                                                 50     a point connected to the insert, the point comprising a
    6. An arrow according to claim 5 wherein the substantially               shoulder;
  constant outside diameter comprises a plurality of ridges.              only a single interface at the shoulder of the point.
    7. An arrow according to claim 1 wherein the shaft                    20. An arrow, comprising:
  comprises an FRP shaft.                                                 an arrow shaft having a first end and a first end wall;
    8. An arrow according to claim 1 wherein the shaft             55     an insert having a forward end, the forward end being
  comprises an aluminum-carbon shaft.                                        recessed below the first end of the arrow shaft;
    9. An arrow according to claim 1 wherein the point                    a point connected to the insert, the point comprising a
  comprises a shoulder and a shank, and the shaft comprises                  shoulder;
  an end wall and an inside surface; wherein the shoulder of              the shoulder of the point bearing directly against the first
  the point bears directly against the end wall of the shaft and   60        end wall of the arrow shaft.
  the shank bears directly against the inside Surface of the
  shaft.
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                               ATTACHMENT F
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             AUG 24 '06 01=43PM HOLLAND                     &   HART                                                                                 P.5/23



                 Atty 0kt. No. 52802.0036                                                                            Application No. 11/269,480


                                 IN THE UNITED STATES PATENT AND TRADE:rJARK OFFICE
                 APPLICATION NO ........................................................................................................ 11/269,480
                FILING DATE ...................................................................................................... 8 November 2005
                INVENTORS ..................................................................... Teddy D. Palomaki and Jacob C. Smith
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                ART UNIT ................................................................................................................................. 3711
                ATTORNEY'S DOC.KET NO ........................................................................................ 52802.0036
                TITLE ..................................................................................................................... AR.Row SYSTEM


                                                           RESPONSE TO OFFICE ACTION

                To: Mail Stop Amendment                                                From:         L. Grant Foster
                    Commissioner for Patents                                                         HOLLAND & HART LLP
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                          This responds to the Office Action dated 17 May 2006, concerning the above-identified

                patent application.

                          Listini of the Claims begins on page 2 of this document.

                          Remarks/Arguments begin on page 13 3 of this document.

                          Please amend the application as follows. Applicants have used the convention widerline

                to indicate added text and strili:etS:Peagh to indicate deleted text.




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                Atty Dkt. No. 52802.0036                                                                   Application No. 11/269.480


                Listing of the Claims:


                This listing of claims will replace all prior versions, and listings of claims in the application:

                          1-12. (Canceled)



                          13.       (Currently amended) A reduced diameter FRP hunting arrow shaft, comprising:
                          an inside diameter of approximately 0.204 inches;

                          a spine of approximately 0.500 inches or less;

                          an outside diameter of less no more than approximately 0.275 inches.



                          14.       (Original)       A reduced diameter FRP arrow shaft according to claim 13 wherein

                the outsjde diameter is approximately 0.275 inches.



                          15.       (Original)       A reduced diruueter FRP arrow shaft               according to claim 13 wherein

                the inside diameter of about 0.204 inches is receptive of standard hunting points.



                          16.      (Original)        A reduced diameter FRP arrow shaft according to claim 13, further

                comprising an insert disposed completely within the shaft and a point coupled to the insert.



                          17.      (Original)       A reduced diameter FRP arrow shaft according to claim 16 wherein

                the shaft comprises a first end and a first end wall, the point comprises a shoulder, and the

                shoulder directly bears against the first end wall.



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                 Atty Dkt. No. 52802.0036                                                                   Application No. l l /269,480


                           18.       (Currently Amended)            An arrow, comprising:

                           a hollow shaft having an inside diazneter sized to accept standard hunting points, an

                 outside ~iameter of~ no more than approximately 0.275 inches, and a spine of approximately

                 0.500 inches or less.



                           19.       (Original)          An an-ow according to claim 18, further comprising an insert

                 embedded completely within the shaft and a hunting point coupled to the insert.



                           20.       (Original)       An arrow according to claim 19 wherein the shaft comprises a first

                 end and a first end wall, the hunting point comprises a shoulder, and the shoulder directly bears

                 against the first end wall.



                          21.       (Cur.rently Amended) An arrow system, comprising:

                          areduced diameter FRP hunting arrow shaft, comprising:
                          an inside diameter of approximately 0.204 inches;

                          ~ spine    of approximately 0.500 inches or less;

                          an outside diameter less no more than awroximately 0.275 inches.



                          22.       (Original)       An arrow system according to claim 21, further comprising an insert

                 dispose~ completely within the shaft and a point coupled to the insert.




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                 Atty Dirt. No. 52802.0036                                                                 Application No. 11/269,480


                           23.       (Original)      An arrow system according to claim 22 wherein the shaft comprises a

                 first end and a first end wall, the point comprises a shoulder, and the shoulder directly bears

                 against the first end wall.



                           24.       (Original)      An arrow system according to claim 21 wherein me outside diameter

                 ranges between approximately 0.258 and 0.275 inches.



                           25.      {Currently Amended} An arrow system, comprising:

                           a reduced diameter FRP hunting arrow shaft, comprising:

                           an inside diameter of approximately 0.200 inches;

                           a spine of approximately 0.500 inches or less;

                          an outside diameter less no more than IM:rnroximately 0.275 inches.



                          26.       (Original)       An arrow system according to claim 25 wherein the outside diameter

                 is between approximately 0.255 and 0.271 inches.



                          27.       (Original)       An arrow system according to claim 25 wherein the inside diameter

                 of about 0.200 is receptive of standard half-out inserts.




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                 Atty Dkt. No. 52802.0036                                                                   Application No. 11 /269,480


                           28.       (Currently Amended)            An arrow system comprising:

                           a reduced diameter FRP hunting arrow, comprising:

                           an inside diameter less than 0.200 inches;

                           a spine of 0.500 inches or less;

                           an outside diameter less no more than approximately 0.275 inches.



                           29.       (Original)       An arrow system according to olaim 28 wherein the inside diameter

                 is approximately 0.187 inches.



                           30.       (Original)        An arrow system according to claim 28 wherein the spine ranges

                 between 0.300 inches and 0.500 inches and the outside diameter ranges between 0.248 and 0.266

                 inches.



                           31.      (Original)       An arrow system according to claim 28, further comprising an insert

                 disposed completely within the shaft and a point coupled to the insert



                           32.      (Original)       An arrow system according to claim 31 wherein the shaft comprises a

                 first end and a first end wall, the point comprises a shoulder, and the shoulder directly bears

                 against the first end wall.



                           33-72. (Canceled)



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                 Atty Dkt. No. 52802.0036                                                                   Application No. 11/269,480


                           73.       (New)       The reduced diameter FRP hunting arrow shaft of claim 13 coupled to an

                 internal fit component.



                           74.       (New)       The reduced diameter FRP hunting arrow shaft of claim 73 wherein the

                 internal fit component is a half-out insert.



                           75.       (New)        An internal fit component hunting auow shaft having a spine and an

                 outside diameter, wherein upon supplying the spine and the outside diameter to the following

                 equation.

                           spine (in inches)= -160/15 * the outside diameter (in inches)+ b,

                           b is no more than 52/15.



                           76.       (New)       The internal fit component hllllting arrow shaft of claim 75 wherein bis

                 no more: than 51.5/15.



                           77.       (New)       The internal fit component hunting arrow shaft of claim 75 wherein bis

                 no more than 50.4/15.



                           78.      (New)        The intern.al fit component hunting arrow shaft of claim 75 wherein bis

                 no more than 49.6/15.




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                 Atty Dkt. No. 52802.0036                                                                  Application No. 11/269,480


                           79.      (New)       The internal fit component hunting arrow shaft of claim 75 wherein bis

                 no more than 49.1/15.




                           80.      (New)       The internal fit component hwiting arrow shaft of claim 75 wherein the

                 spine is no more than approximately 0.520 inches.



                          81.       (New)       Toe internal fit component hunting arrow shaft of claim 7 5 wherein the

                 spine is no more than approximately 0.500 inches.



                          82.       (New)       The internal fit component hunting arrow shaft of claim 75 wherein the

                 spine is no more than approximately 0.440 inches.



                          83.       (New)       The internal fit component hunting arrow shaft of claim 75 wherein the

                 outside diameter is no more than approximately 0.280 inches.



                          84.       (New)       The internal fit component hunting arrow shaft of claim 75 wherein the

                 outside diameter is no more than approximately 0.275 inches.



                          85.       (New)       The internal fit component hunting arrow shaft of claim 75 wherein the

                 outside diameter is approximately 0.24S inches to 0.280 inches.




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                 Atty Dkt. No. 52802.0036                                                                 Application No. 11/269,480


                           86.      (New)       The internal fit component hunting arrow shaft of claim 75 wherein the

                 outside diameter is approximately 0.265 inches.



                          87.       (New)       The internal fit component hunting arrow shaft of clahu 75 wherein the

                 outside diameter is approximately 0.271 inches.



                          88.       (New)       The internal fit component hunting arrow shaft of claim 75 wherein the

                 spine is no more than approximately 0.500 inches and the outside diameter is approximately

                 0.245 inches to 0.280 inches.



                          89.       (New)       The internal fit component hunting arrow shaft of claim 88 wherein the

                 outside diameter is approximately 0.260 inches to 0.275 inches.



                          90.       (New)       The internal fit component hunting arrow shaft of claim 89 wherein the

                 spine is no mo:re than approximately 0.440 inches.



                          91.       (New)       The internal fit component hunting arrow shaft of claim 75 wherein at

                 least a portion of the intemal fit component hunting arrow shaft has an inside diameter of

                approximately 0.204 inches.




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                 Atty Dkt. No. 52802.0036                                                                   Application No. l l/269,480


                           92.       (New)        The internal fit component hunting arrow shaft of claim 75 wherein at

                 least a portion of the internal fit component hunting arrow shaft has an inside diameter of

                 approximately 0.200 inches.



                           93.       (New)       The internal fit component hunting arrow shaft of claim 75 wherein the

                 internal fit componeut himting arrow shaft is an FRP hunting arrow shaft.



                           94.      (New)        The internal fit component hunting arrow shaft of claim 75 including a

                 first end and a first end wall, the internal fit component hunting arrow shaft being coupled to a

                 point including a shoulder, wherein the point is coupled to the first end of the internal fit

                 component hunting arrow shaft so that the shoulder contacts the first end wall.



                           95.      (New)       The internal fit component hunting arrow shaft of claim 75 coupled to an

                 insert which is disposed completely within the internal fit component hunting arrow shaft.



                          96.       (New)       The internal fit component hunting arrow shaft of claim 75 coupled to an

                 insert so that pan of the insert is disposed outside of the imemal fit component hunting arrow

                 shaft.



                          97.       (New)        The internal fit component hunting arrow shaft of claim 96 wherein the

                 insert comprises a half-out insert.



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                 Atty Dkt. No. 52802.0036                                                                    Application No. 11/269,480


                           98.       (New)        The internal fit component hunting arrow shaft of claim 75 where the

                 spine is no more than 0.500 inches and the outside diameter is approximately 0.245 inches to

                 0.280 inches, the internal fit component hunting arrow shaft being coupled to an insert so that

                 part of the insert is disposed outside of the internal fit component hunting arrow shaft.



                           99.       (New)       The internal fit component hunting arrow shaft of claim 98 wherein the

                 insert comprises a half-out insert.



                           100.      (New)        The internal fit component bW1ting arrow shaft of claim. 75 where the

                 spine is no more than 0.440 inches and the outside diameter is approximately 0.260 inches to

                 0.275 inches, the intemal fit component hunting arrow shaft being coupled to an insert so that

                 part of the insert is disposed outside of the internal fit component hunting arrow shaft.



                           101.     (New)       Toe internal fit component hunting arrow shaft of claim 100 wherein the

                 insert comprises a half-out insert.



                          102.      (New) An arrow comprising:

                          a hunting arrow shaft having a spine and an outside diameter; and

                          an internal fit component coupled to the hu11ting arrow shaft;

                          wherein upon supplying the spine and the outside diameter to the following equation.

                                    spine (in inches)= -160/15 + the outside diameter (in inches)+ b;

                                    b is no more than 52/15.


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                 Atty Dkt No. 52802.0036                                                                     Application No. 11/269,480


                           103.      (New)       The arrow of claim 102 wherein bis no more than 49.6/l 5.



                           104.      (New)       TI1e an·ow of claim 102 wherein the spine is no more than approximately

                 0.500 inches.



                           l OS.     (New)       The arrow of claim 102 wherein the spine is no more than approximately

                 0.440 inches.



                           106.      (New)        The arrow of claim 102 wherein the outside diameter is no more than

                 approximately 0.280 inches.



                           107.      (New)       The arrow of claim 102 wherein the spine is no more than approximately

                 0.500 inches and the outside diameter is approximately 0.260 inches to 0.275 inches.



                           108.      (New)       The arrow of claim 102 wherein at least a portion of the hunthlg arrow

                 shaft has an inside diameter of approximately 0.204 inches.



                           109.      (New)       The arrow of claim 102 wherein at least a portion of tbe hunting arrow

                 shaft has an inside diameter of approximately 0.200 inches.



                           110.      (New)       The arrow of claim l 02 wherein the internal fit component is a half~out

                 insert.

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                 Atty Dkt. No. 52802.0036                                                                   Application No. 11/269,480


                           J 11.     (New)       The arrow of claim 102 wherein the internal fit component comprises an

                 insert which is disposed completely within the hunting arrow shaft.



                           112.      (New)      The arrow of claim 102 wherein the internal fit component comprises an

                 insen configured to receive a nock.


                           113.     (New) An internal fit component FRP hunting arrow shaft comprising:

                           a hunting arrow shaft to receive an internal fit component, the arrow shaft having a spine

                 and an outside diameter, wherein the spine and the outside diameter intersect at a point on a plot

                 of spine versus outside diameter that is below and to the left of a straight line that includes a first

                 point having a spine of 0.320 inches and an outside diameter of 0.295 inches, and a second point

                 having a spine of 0.480 inches and an outside diameter of 0.280 inches.



                          114.      (New)          The intern.al fit component FRP hunting arrow shaft of claim 113

                wherein the internal fit component comprises an insert which is disposed completely within the

                hunting arrow shaft.



                          115.      (New)          The internal fit component FRP hunting arrow shaft of claim 113

                wherein the internal fit component comprises a half~out insert.



                          116.      (New)          The internal fit component FRP hunting arrow shaft of claim 113

                wherein the internal fit component comprises an insert configured to receive a nock.

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                 Atty 0kt. No. 52802.0036                                                                Application No. 11/269.480


                                                                      REMARKS


                          Applicants thank the Examiner for the detailed Office Action dated 17 May 2006.

                 Applicants respectfully request reconsideration of the presei1t application in view of the

                 foregoing amendments and following remarks.

                          Claims 13-32 were pending in the application.                      Claims 13, 18, 21, 25, and 28 are

                cUJTently amended. Claims 73·116 are being added. After amending the claims as set forth

                above, claims 13-32 and 73rl 16 are llOW pending in this application.

                          For simplicity and clarity purposes in responding to the Office Action, Applicants'

                remarks are primarily focused on the rejections applied to the independent claims (i.e., claims 13,

                 18, 21, 25, and 28) as outlined in the Office Action with the understanding that the dependent

                claims that depend from the independent claims are patentable for at least the same reasons (and

                in most cases other reasons) that the independent claims are patentable. Applicants expressly

                reserve the right to argue the patentability of the dependent claims separately in any future

                proceedings.


                          Interview Snmxnary

                          On 15 August 2006, Applicants' undersigned representative participated in an interview

                with Examiner John Ricci and Supervisory Patent Examiner Eugene Kim. In the interview, all

                of the claims were discussed in view of U.S. Patent No. 6,251,036 (Wu                            et al.).   Additionally,

                certain new claims were discussed, which are included in the newly presented claims. The

                Examiner requested that Applicants provide a declaration explaining the advantages of the

                invention o-ver the prior art.             Applicants have included a declaration by inventor Teddy D.

                Palomaki with this response.
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                Atty Dkt. No. 52802.0036                                                                  Application No. 11/269,480


                          Claim Rejections - 35 U.S.C. § 103(a)

                Independent Claims 13, 18, 21, 25, and 28

                          On page 2 of the Office Action, independent claims 13, 18, 21, 25, and 28 and various

                dependent claims were rejected wider 35 U.S.C. § 103(a) as being unpatent.able over U.S. Patent

                No. 6,251>036 (Wu et al.) in view of the alleged knowledge of one of ordinary skill. Applicants

                respectfully traverse the rejection.

                          }).pplicants respectfully challenge the official notice taken by the Patent Office that "one

                of ordinary skill would be aware ... that arrows with a stiff spine, for example less than 0.500

                inches, are desirable. 0          Applicants note that the PTO acknowledges that "[o]fficial notice

                unsupported by documentary evidence should only be taken by the Examiner where the facts

                asserted to be well-known, or to be common knowledge in the art are capable of instant and

                unguestionable        de;mopst.ration      as being well-known."              MPEP 2144.03 (emphasis added).

                Applicants respecrfully disagree and request that the Patent Office provide a reference showing

                that the facts asserted to be well known are in-fact well known or withdraw the official notice.

                Applicants further note that the spjne of an arrow that is either too stiff or too loose can result in

                po~r arrow perfonnance (e.g., flight, penetration, etc.) and there are numerous factors that affect

                the spine selection such as bow string type, weight of the point, draw length, draw weight, arrow

                length, and so forth.

                          Without being able to rely on the facts taken by official notice, the Patent Office has

                failed to identify any motivation, teaching, or suggestion to modify the arrow in Wu et al. to

                provide the subject matter recited in independent claims 13, 18, 21, 25, and 28.




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                           Applicants further submit that even if the official notice taken by the Patent Office was

                 proper, the combination of Wu et al. and the subject matter taken by official notice still does not

                 account for all of the limitations recited in each independent claim.                               For example, each

                 independent claim includes an outside diameter limitation.                         The Patent Office has failed to

                 identify   any motivation, teaching, or suggestion why the skilled artisan, viewing Wu s;t al. as a
                whole and with 110 knowledge of the claimed invention, would have modified Wu et al. to

                provide a hunting arrow having the recited outside diameter. The Office Action failed to even

                refer to the outside diameter limitations included in the independent claims~ much less cite a

                reference or teaching showing that it would be                     obvious to provide an arrow having such a
                feature.

                           Dependent claims 16-17, 19-20, 22-23, 27, 31, and 32, which were rejected as being

                unpatentable over Wu et al. in view of U.S. Patent No. 4,203,601 (Simo), should be allowable

                for at least the same reasons that the independent claims from which they depend are patentable.

                           Applicants respectfully submit that the subject matter recited in independent claims 13,

                 18, 21, 25, and 28 and the claims which are dependent thereon., considered as a whole, would not

                have been obvious to a person of skill in the art and are patentable. Accordingly. Applicants

                request withdrawal of the rejection of the claims under 35 U.S.C. § 103(a).


                          New Claims

                          Applicants have added new claims 73·116, of which claims 75, 102, and 113 are vvritten

                in independent fonnat. Applicants submit that these claims are allowable because independent

                claims 75 and 113 recite an internal fit component hunting arrow shaft and claim 102 recites a

                hunting arrow shaft each of which have a combination of spine and outside diameter that is not

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                shown by Wu et al. Applicants further note that the equation used in claims 75 and 102 was

                obtained by solving for the slope and y intercept of the straight line that includes one point where

                the spine is 0.320 inches and the outside diameter is 0.295 inches and another point where the

                spine is 0.480 inches and the outside diameter is 0.280 inches. Support for this amendment can

                be found, for example, in the last paragraph of the sununary in the application and Figure 12.

                Many dependent claims recite other spine and outside diameter combinations as well as more

                specific "internal fit components" (e.g., standard inserts, inserts disposed completely within the

                hunting arrow shaft, half-out inserts, and nocks).

                         Applicants respectfully submit that the present Application is in condition for allowance.

                Applicants request reconsideration and allowance of the pending claims.

                         The Examiner is invited to contact the undersigned by telephone if there remain any

                unresolved matters to expedite the prosecution of the present application.

                                                                         Respectfully submitted,



                Date:   1., Lf   ~                 1,(/(J'




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                    Atty Dkt. No. 52802.0036                                                            Applica.tion No. 11/269,480

                                  IN TRE UNITED STATES PATENT AND TRADEMARK OFFICE
                    U.S. PATENT APPLICATIONN0 ................................................................ 11/269.480
                    FILIN'G DATE .................................................................................... 8 November 2005
                    INVENTORS ..................................................... Teddy D. Palomaki and Jacob C. Smith
                    ASSIGNEE ....................................................................................... Jas. D Baston, Inc.
                    EXAMINER .............................................................................................. John A. Ricci
                    ART tJNlT ............................................................................................................. 3711
                    ATTORNEY'S DOCKET NO ....................................................................... 52802.0036
                    TITLE ................................................................................................... ".A:r'tow System"

                                                   DECLARATION UNDER 37 CFR § 1.132

                    To: Mail Stop: Amendment                                     From:       L. Grant Foster
                        Commissioner for Patents                                             HOLLAND & HART LU'
                        P .o. Box 1450                                                       P.O. Box 11583
                        Alexandria. VA 22313~1450                                            Salt Lake City, Utah 84111
                                                                                             Telephone: (801) 799·5830
                                                                                             Facsimile: (801) 799-5700


                    I, Teddy D. Palomaki, declare that:

                             1.       I am named a.s an innntot Oll the patent application referenced above.

                             2.       I am currently Vice President of Product Development for Baston

                   Technical Products, Inc., a leading manufacturer of anows.                                 I have spent nearly ten

                   years designing, testing1 modifying, and improving arrows, including arrows used for

                   hunting.

                             3.       I personally oversaw and observed a number of experiments to better

                   understand and evaluate ponetration of hunting arrows. The tests were performed by

                   shooting hunting arrows into industryMstandard ballistic gels.tin that has been used to

                   analyze penetration in the firearms and ammunition industries.

                             4.       The tests indicated that for hunting arrows haYing a constant arrow shaft

                   outer diameter, penetration performance depends primarily on kjnetic energy and is

                   separate from the independent parameters of mass and velocHy. Tables 1-3 and Figures
                                                                                                                               3594298_1.DOC




PAGE 21123 •RCVD AT 8/24/2006 4:44:11 PM ~astern Daylight TimeJ -SVR:USPTO·EFXRF-6/29' DNIS:2738300 -CSID:801578 6010 -DURATION jmm-ss):05·30
         Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 130 of 157 PageID #: 821

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                   Atty Dkt. No. 52802.0036                                                         Application No. 11/269,480

                   7.9 in the specification of the above•referenced patent applioation show the results of

                   these tests.

                            S.       Given these results, arrows having auow shafts with different outside

                   diameters but nearly identical kinetic energy could be expected to have nearly identjoal

                   penetration depths. However, a series of tests indicated that for arrows having the sa.me

                   kinetic energy, those arrows that had smaller outside diameter arrow shafts experienced

                   significantly greater penetration than those arrows that had larger outside dfometer

                   arrow shafts. As the outside diameter of the arrow shafts was reduced the penetration

                   of the arrow increased. Tables 4-6 and Figures l 0-13                     w the specification of the above-
                   referenced patent application show the results of these tests.

                            6.       Hunting arrows having reduced diameter arrow shafts provide a number of

                   advantages over prior art hunting arrows.                           Conventional hunting arrows have

                   traditionally not provided the combination of accuracy, flat trajectory, short travel time,

                   and penetration offered by the reduced diameter arrow shafts of the invention.                                    For

                   example, as the test results showed, hunting arrows having reduced diameter arrow

                   shafts resulted in significantly improved penetration performance. Also, the accuracy

                   of hunting arrows having reduced diameter arrow shafts increases because the

                  propensity of an arrow to be influenced during flight by external factors (e.g., cross

                  winds) is reduced.             In addition, reduced diameter arrow shafts may accommodate

                   internal fit components. Further, even though the outside diameter of the arrow shaft

                   has been reduced, the hunting arrows may still have internal diameters that are

                  receptive of standard arrow components. Thus, the improved hunting arrows described

                  in the specification of the above-referenced patent application may have the advantages


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         Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 131 of 157 PageID #: 822

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                   Atty Dkt. No. 52802.0036                                                         Application No. 11/269,480

                   of a smaller arrow shaft diameter and the convenience of being compatible with

                   standard hUI1ting components. Figure 12 of the above--referenced patent application

                   illustrates that the     at"J'OW   she.ft of this invention is new and unique in its combination of

                   spine and outside diameter.

                            7.       I further declare that all statelllents made herein of_my own knowledge are

                   true and that all statements made on information and belief are believed to be true; aD.d

                   further that these statements were made with the knowledge that willful false statements

                   and the like so made ~e punishable by fme or imprisomoent or both under section 1001

                   of Title 18 of the United States Code, and that such willful false statements may

                  jeopardize the validity of the above-referenced application or any pa.tent issuing

                   thereon.



                   Date                                                  Teddy D. Palomaki




                                                                                                                          3594298_1.DOC
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PAGE 23/23 *RCVD AT 8/24/2006 4:44:11 PM ~astern Da~ight Time]• SVR:USPTO,EFXRF-6/29 •DNIS:2738300 •CSID:801578 6010 •DURATION jmrn-ss):05,30
         Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 132 of 157 PageID #: 823

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                                                                                                                                                                                                                                                AUG 2 4 2008

                                                                                                                Thursday, August 24, 2006

                 To:             Examiner John A. Ricci                                                                                                         Fax : 571 -273.8300
                                 Art Unit 3711, U.S. Patent and                                                                                                 Phone:
                                 Trademark Office



                 From: L. Grant Faster                                                                                                                          Fax : (801) 799-5700
                                                                                                                                                                Phone: (801) 799-5830


                 Message: Please see accompanying documents.




                No Confirmation Copy                                                                                                                    Number of pages including cover sheet: 23
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                destruction or n::turn.
                Attorney Number:                              5144                     Client/Matter;                                                       52802.0036                                     Time Deadline:

                Operator Initials:                            KC                       Date 1'ransmiHed;                                                    08-24-06                                       ·rime Transmitted:
                ltoll,md a Hart U.P Attorneys at Law
                Phone (~01) 595-7800 F.JlC (eOl) 364·9124 www.hOIIH,llhart.com
                60    e. South    Tamplc Suite 2000 Salt Lake Cl[y, Utah 84ll1·l03l
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         Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 133 of 157 PageID #: 824

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                                                                                                                    AUG 2~ 2006
                                     IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                 U.S. PATENT APPLICATION NO.............................................................................................................. 11/269,480
                 FILING DATE .................................................................................................................................... 8 November 2005
                 INVBNTOR ...................................................................................................... Teddy D. Palomaki and Jacob C. Smith
                 ASSIGNEE ........................................................................................................................................ Jas 0. Easton, Inc.
                 GROUP ART UNIT ................................................................................................................................................ 371 I
                 EXAMINER .............................................................................................................................................. John A. Ricci
                 ATTORNEY'S DOCKET NO ...................................................................................................................... S2802.0036
                 TITLE ................................................................................................................................................. "A:rrow System"


                      TRANSMITTAL LETTER AND CERTIFICATE OF FACSIMILE TRANSMISSION

                 To:         Commissioner for Patents                                                 From:            L. Grant Foster
                             P.O. Box 1450                                                                             HOLLAND & HART LLP
                             Alexandria, VA 22313-1450                                                                 P.O. Box 11583
                                                                                                                       Salt Lake City, Utah 84147-0583
                                                                                                                       Telephone: (801) 799-5830
                                                                                                                       Facsimile: (801) 799-5700

                 Transmitted herewith are the items listed below submitted regarding the matter identified above:

                 I.          Transmittal Letter with Certificate of Facsimile Transmission included
                 2.          Response to Office Action
                 3.          Declaration Under 37 CFR § 1.132
                 4.          Petition for Extension of Time      ·
                 5.          Fee Transmittal

                 Deposit Account Authori:.tntion ~ The Commissioner is hereby authorized to charge payment of or
                 credit any applicable fees to Deposit Account No. 08-2623.


                 Date:      ,z.l{ ~ . {                      ~

                                                   CERTIFICATE OF FACSIMILE TRANSMISSION

                        I hereby certify the items li~ied above are being sent via facsimile (facsimile number (571)
                 273·8300) on the below indicated date to the Commissioner for Patents, Attention: Examiner John
                 A. Ricci, Art Unit 3711.


                                                                                                           Signature:                         ~ I/!,,<'. ,
                                                                                                           Name:      Kathy Cas~
                                                                                                                                                                    3S970SO_l.DOC




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             AUG 24 '06 01=42PM HOLLAND                                    &      HART                                                                                                   P.4/23


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                 0    AJlpllcanl claims small entity slitus.        Se$ 37 CFR 1.27
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                                                                                                       Art Unit                        3711
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                 METHOD OF PAYME!NT (check 11111 that apply)

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              2. EXCE6S CLAIM FEES                                                                                                                              §mall Entitf
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              3. APPLICATION SIZE FEE
                If the specification and drawings exceed 100 sheets of paper (excluding electronically filed sequence or computer
                    listings under 37 CFR l .!iZ(e)), the application size fee due is $:?50 ($125 for small entity) for each additional 50
                    sheets or fraction thereof. See .'35 U.S.C. 4l~(lJG) an.d 37 CFR 1.1~~~;.,ffn
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             4. OTHER FEE(S)                                                                                                                                               E111P1is!m
                     Non•Engli,h Specification, $130 fee (no small entity discount)
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PAGE 4123 •RCVD AT 812412006 4:44:11 PM !Eastern Daylight TimeJ *SVR:USPTO-EFXRF,6129 *DNIS:2738300 *CSID:801578 6010 •DURATION (rnm-ss):05-30
         Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 135 of 157 PageID #: 826
             AUG 24 '06             01:42PM HOLLAND                  &   HART                                                                                                P.3/23




                                     IN THE UNITED STATES PATENT AND TRADEl\fARK OFFICE
                 U.S. PATENT APPLICATION NO.............................................................................................................. 11/269,480
                 FlLlNG DATE .................................................................................................................................... 8 Novcmber 2005
                 lNVE'.NTORS .................................................................................................... Ted.dy D. Palomaki and Jacob C. Smith
                 ASSlGNEE ........................................................................................................................................ Jas D. Easton, Inc.
                 GROUP ART UNIT ................................................................................................................................................ 371 l
                 EXAMfNER ..............................................................................................................................................JohnA. Ricci
                 ATTORNEY'S DOCKET NO..................................................................................................................... S2S02.0036
                 TITLE ................................................................................................................................................... "Arrow System"


                                                              PETITION FOR EXTENSION OF TIME

                To:          Commissioner for Patents                                               From: L. Grant Foster
                             P.O. Box 1450                                                                HOLLAND & HART LL!>
                             Alexandria, VA 22313-1450                                                            P.O. Box 11583
                                                                                                                  Salt Lake City. Utah 8414 7-0583
                                                                                                                  Telephone: (801) 799-5830
                                                                                                                  Facsimile: (801) 799-5700


                             Applicant hereby requests a one-month extension of time from 17 August 2006 until 17

                September 2006 for responding to the Office Action dated 17 May 2006. The Commissioner is

                hereby authorized to charge payment of the $120 extension of time fee to Deposit Account No. 08-

                2623.

                                                                                                                  Respectfully submitted,



                Dated:         1-4 a,,Sit %b

                                                                                                                           08/25/2006 NBINAS 00008051 082623                             11269480
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PAGE 3123 *RCVD AT 8124/2006 4:44:11 PM !Eastern Daylight Timep SVR:USPTO-EFXRF-6/29 *DNIS:2738300 ~ CSID:801578 6010 *DURATION (mm-ss):05-30
      Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 136 of 157 PageID #: 827
                                                                     Application No.                  Applicant(s)

                                                                      11/269,480                      PALOMAKI ET AL.
                           Interview Summary
                                                                      Examiner                        Art Unit

                                                                      John Ricci                      3711


  All participants (applicant, applicant's representative, PTO personnel):

 ( 1) John Ricci.                                                       (3) _ _ .

 (2) Grant Foster.                                                      (4) _ _ .

     Date of Interview: 20 December 2006.

     Type: a)~ Telephonic b)O Video Conference
         · c)O Personal [copy given to: 1)0 applicant               2)0 applicant's representative]

  Exhibit shown or demonstration conducted:          d)O Yes         e)O No.
     If Yes, brief description: _ _ .

  Claim(s) discussed: 13 and 73-116.

  Identification of prior art discussed: Wu.

  Agreement with respect to the claims f)O was reached. g)~ was riot reached.                h)O NIA.


  Substance of Interview including description of the general nature of what was agreed to if an agreement was
  reached. or any other comments: Wu shows a hollow arrow shaft, but does not suggest an internal fit
  component.Applicant belives the combination of a small diameter arrow shaft with an internal fit component is not
  suggested by the prior art. Claim 102 includes a small diameter shaft with internal fit component so appears to
  distinguish over Wu. Applicant agrees to amend the other claims to positively recite an internal fit component to
  distinguish over Wu, subiect to further review of the prior art .

  (A fuller description, if necessary, and a copy of the amendments which the examiner agreed would render the claims
  allowable, if available, must be attached. Also,. where no copy of the amendments that would render the claims
  allowable is available, a summary thereof must be attached.)

 THE FORMAL WRITTEN REPLY TO THE LAST OFFICE ACTION MUST INCLUDE THE SUBSTANCE OF THE
 INTERVIEW. (See MPEP Section 713.04). If a reply to the last Office action has already been filed, APPLICANT IS
 GIVEN A NON-EXTENDABLE PERIOD OF THE LONGER OF ONE MONTH OR THIRTY DAYS FROM THIS
 INTERVIEW DATE, OR THE MAILING DATE OF THIS INTERVIEW SUMMARY FORM, WHICHEVER IS LATER, TO
 FILE A STATEMENT OF THE SUBSTANCE OF THE INTERVIEW. See Summary of Record of Interview
 requirements on reverse side or on attached sheet.




   Examiner Note: You must sign this form unless it is an.
   Attachment to a signed Office action.                                            Examiner's signature, if required
U.S. Patent and Trademark Office
PTOL-413 (Rev. 04-03)                                        Interview Summary                                   PaperNo.20061220
       Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 137 of 157 PageID #: 828
                                                                    Application No.                   Applicant(s)

                                                                     11/269,480                       PALOMAKI ET AL
                            Interview Summary
                                                                     Examiner                         Art Unit

                                                                     John Ricci                       3711


  All participants (applicant, applicant's representative, PTO personnel):

 ( 1) John Ricci.                                                      (3) _ _ .

 (2) Grant Foster.                                                     (4) _ _.

     Date of Interview: 05 April 2007.

     Type: a)D Telephonic b)O Video Conference
           c)[gl Personal [copy given to: 1)0 applicant           2)[gl applicant's representative]

  Exhibit shown or demonstration conducted:         d)O Yes         e)[gl No.
     If Yes, brief description: _ _ .

  Claim(s) discussed: 13-32 and 74-116.

  Identification of prior art discussed: Wu, Simo.

  Agreement with respect to the claims f)[gl was reached. g)O was not reached.              h)D N/A.


  Substance of Interview including description of the general nature of what was agreed to if an agreement was
  reached, or any other comments: Combination of reduced diameter shaft and internal fit component results in
  significantly improved penetration, not suggested by prior art. Affidavit of 8124106 should be adequate to explain
  advantages.

  (A fuller description, if necessary, and a copy of the amendments which the examiner agreed would render the claims
  allowable, if available, must be attached. Also, where no copy of the amendments that would render the claims
  allowable is available, a summary thereof must be attached.)

 THE FORMAL WRITIEN REPLY TO THE LAST OFFICE ACTION MUST INCLUDE THE SUBSTANCE OF THE
 INTERVIEW. (See MPEP Section 713.04). If a reply to the last Office action has already been filed, APPLICANT IS
 GIVEN A NON-EXTENDABLE PERIOD OF THE LONGER OF ONE MONTH OR THIRTY DAYS FROM THIS
 INTERVIEW DATE, OR THE MAILING DATE OF THIS INTERVIEW SUMMARY FORM, WHICHEVER IS LATER, TO
 FILE A STATEMENT OF THE SUBSTANCE OF THE INTERVIEW. See Summary of Record of Interview
 requirements on reverse side or on attached sheet.




   Examiner Note: You must sign this fom, unless it is an
   Attachment to a signed Office action.                                           Examiner's signature, if required
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PTOL-413 (Rev. 04-03)                                       Interview Summary                                    PaperNo.20070415
         Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 138 of 157 PageID #: 829
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             To:        Examiner John A. Ricci                                 Fax :  571-273-8300
                        U.S. Patent and Trademark Office                       Phone:


             From: Kathy W. Case                                               Fax :  877-665-6809
                                                                               Phone: 801-799-5800



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              Number of pages Including cover sheet: 18
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              Holland & HartllP Attorneys 11t 1.11w
              Phone (801) 799-5800 Fax (801) 799-5700 w-.hollandflart.com
              60 E. South Temple Suite 2000 Salt take City, Utah 84111-1031
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PAGE 1/18 • RCVD AT 4/2712007 6:42:53 PM [Eastern Daylight Time]• SVR:USPTO-EFXRF-2/13 • DNIS:2738300 • CSID:Holland .Hart LLP • DURATION (mm-ss):04-54
         Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 139 of 157 PageID #: 830
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                   U.S. PATENT APPLICATIONNO...................................................................... m . . . . . . . . . . . . . . . . . ; . . . . . . . . . . . . . . . . . . . 11/269,480
                   FILING DATE......................................................................... .-........................................................ 8 November 200S
                   INVBNTORS ............................................................................"' ..................... Toddy D. Palomaki and Jacob C. SDU1h
                   ASSIONEB ....................................................................................................................................... Jas. D Baston, Inc.
                   GROUP ART UNIT ................................................................................................................................................3711
                   EXA}.{INER .............................................................................................................................................. John.A. Ricci
                   ATIORNEY'S DOCKETNO...................................................................................................................... S2802.0036
                   TITLE ................................................................................................................................................. "Jrrrow Systan"


                        TRANSMI'ITAL LE'ITER AND CERTIFICATE OF FACSIMILE TRANSMISSION

                   To:           Commissioner for Patents                                                       From:             L. Onmt Foster
                                 P.O. Box 1450                                                                                     HOLLAND &HARTUP
                                 Alexandria, VA 22313-1450                                                                        P.O. Box 11583
                                                                                                                                  Salt Lake City> Utah 84147-0583
                                                                                                                                  Telephone: (801) 799-5830
                                                                                                                                   Facsimile: (801) 799-5700

                   Transmitted herewith are the items listed below submitted regarding the matter identified above:

                   1.            Transmittal Letter with Certificate of Facsimile Transmission included
                   2.            Response to Office Action


                   Deposit Account Authorization - The Commissioner is hereby authori7.ed to charge payment ofor
                   credit any applicable fees to Deposit Account No. 08-2623.



                   Date:      _1.:._1_Af...;......;~'--L,=---'1c01---                                                By:
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                                                                                                                              Registration No. 33,236

                                                          CERTIFICATE OF FACSIMILE TRANSMISSION

                          I hereby certify the items listed above are being sent via facsimile (facsimile nwnber (571)
                   273-8300) on the below indicated date to the Commissioner for Patents, Attention: Examiner John
                   A. Ricci, Art Unit 3 711.



                                                                                                                       Signature:.--+-"00""""'-'-"-"~_..(-.ir-/""""-""-e:-~
                                                                                                                       Name:                  Kathy tpe

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         Case 1:18-cv-01222-RGA Document 47 Filed 09/26/19 Page 140 of 157 PageID #: 831
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                  Attorney Docket No. 52802.0036                                                                                           ApplicationNo. lln69,480


                                       IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                   U.S. PATENT APPLICATIONN0............................................................: ................................................. 11/269.480
                  FILIN"G DATE.................................................................................................................................... 8 Novembcr200S
                  INVENTORS .................................................................................................... Teddy D. Palomaki and Jacob C. Smith
                  ASSIGNEE ........................................................................................................................................ Jas.. D Baston, Inc.
                  BXAMINER. ................................................_. ...........................................................................................JobnA Ricci
                  ART UNIT ..............................................................................................................................................................3711
                  AITORNEY'S DOCKET NO ............................................................._....................................................... 52802.0036
                  'ITILE ................................................................................................................................................... "Arrow System"


                                                                      RESPONSE TO OFFICE ACTION

                   To: Mail Stop Amendment                                                             From:           L. Grant Foster
                       Commissioner for Patents                                                                        Holl.AND & HART LLP
                       P.O. Box 14SO                                                                                   P .0. Box 11583
                       Alexandria, VA 22313-1450                                                                       Salt Lake City, UT 84147-0583
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                                                                                                                       Facsimile: (801) 799-S700

                               This responds to the Office Action dated 29 January 2007. concerning the above-

                   identiµed patent application.

                               Listing of the Oaims begins on page 2 of this document.

                               Rcmarb/Arguments begin on page 14 of this document.




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                   Attorney Docket No. 52802.0036                                                         Applicatjon No. 11/269,480


                   Listing of the Claims:


                   This listing of claims will replace all prior versions, end &tings of claims in the application:



                            1-12. (Canceled)



                            13.       (Previously Presented) A hunting arrow system, comprising:
                            a reduced diameter FRP hunting arrow shaft comprising

                                      an inside diameter of approximately 0.204 inches;

                                      a spine of approximately 0.500 inches or le~;

                                      an outside diameter of no more than approximately 0.275 inches;

                            an internal fit component coupled to the reduced diameter FRP hunting arrow shaft.



                             14.      (Previously Presented)           A hunting arrow system according ta claim 13 wherein

                   the outside diameter is approximately 0.275 inches.



                             15.      (Previously Presented)           A hunting arrow system according to claim 13 wherein

                   the inside diameter of about 0.204 inches is receptive of standard hunting points.




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                   Attomey Docket No. 52802.0036                                                          Application No. 11/269,480


                            16. ·     (Previously Presented)          A hunting arrow system according to claim ·13, wherein

                   the internal fit component comprises an insert disposed completely within the reduced diameter

                   FRP hunting arrow         shaft. the hunting      arrow system further comprising a point coupled to the

                   insert



                            17.       (Previously Presented)           A hunting arrow system according to claim 16 wherein
!.
                   the reduced diameter FRP hunting arrow shaft comprises a first end and a first end wall, the point

                   comprises a shoulder, end the shoulder directly bears against the first end wall.



                            18.       (Currently.Amended)           An arrow, comprising:

                            a hollow shaft having an inside diameter sized to accept standard hunting points, an

                 · outsiQC diameter of no more than approximately 0.275 inch~ and a spine of approximately

                   0.500 inches or less;

                            an internal fit component coupled to the hollow shaft.



                             19.      (Previously Presented)           An arrow according to claim 18. wherein the internal fit

                   component is an insert embedded completely within the shaft wid the arrow further comprises a

                   hunting point coupled to the insert.



                          · 20.       (Original)       An arrow according to claim 19 wherein the shaft comprises a first

                   end and a first end 'W3ll, the hunting point comprises a shoulder. and the shoulder directly bears

                   against the first end wall.


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                   Attorney Docket No. 52802.0036                                                          Application No. 11/269,480


                             21.       (Previously Presented)         An arrow system, comprising:

                             a reduced diameter FRP hunting arrow shaft, comprising:

                                       an inside diameter of approximately 0.204 inches;

                                       a spine of approximately 0.500 inches or Jess;

                                       en outside diameter no more than approximately 0~275 inches;

                             an internal fit component coupled to the reduced diameter FRP hunting arrow shaft.


---              ----              -      -   ··-- -- ---~       -    -    --   --- ~----·--- - . ·-
                             22.       (Previously Presented)             An arrow system according to claim 21. wherein the

                   internal fit component is an insert disposed completely. within the shaft and a point coupled to th~

                   insert.



                             23.       (Original)     An arrow system according to claim 22 wherein the shaft comprises a

                   first end and a first end wall, the point comprises a shoulder, and the shoulder directly bears

                   against the first end wall.



                             24.       (Original)      An arrow system according to claim 21 wherein the outside diameter

                   range_s between approximately 0.258 and 0.27S inches.




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                   Attorney Docket No. 52802.0036                                                          Application No. 11/269,480


                            25.       (Previously Presented) . An arrow system. comprising:

                            a reduced diameter FRP hunting arrow~ comprising:

                                      an inside diameter of approximately 0.200 inches;

                                      a spine of approximately 0.500 inches or less;

                                      an outside diameter of no more than. approximately 0.275 inches;

                            an internal fit component coupled to the reduced diameter FRP hunting arrows.haft.



                            26.       (Original)      An arrow system BCCOrding to claim 25 wherein the outside diameter

                   is between approximately 0.255 and 0.271 inches.



                            27.       (Previously Presented)             An arrow system according to claim 25 wherein the

                   inside diameter of about 0.200 inches is receptive of standard half-<>ut inserts.



                            28.       (Previously Presented)          An arrow system comprising:

                             a reduced diameter FRl> hunting arrow shaft, comprising:

                                      an inside diameter oflcss than 0.200 inches;

                                      a spine of 0.500 inches or less;

                                      an outside diameter of no more than approximately 0.275 inches;

                             an internal fit component coupled to the reduced diameter FRP hwting arrow shaft.



                             29.       (Original)      An anow system according to claim.28 wherein the inside diameter

                   is approximately 0.187 inches.

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                   Attorney Docket No. 52802.0036                                                          ApplicationNo. 11/269,480


                             30.      (Original)       An arrow system according to claim 28 wherein the spine ranges

                   between 0.300 inches and 0.500 inches and the outside diameter ranges between 0.248 and 0.266

                   inches.



                             31.      (Previously Presented)            An arrow system according to claim 28, wherein the

                   internal fit component comprises an insert disposed completely within the shaft, and wherein the

                   arrow system further comprises a point coupled to the insert.



                             32.      (Original)      An arrow system according to claim 31 wherein the shaft comprises a

                   first end and a ftrst end wall, the point comprises a shoulder, and the shoulder directly bears

                   against the first end wall



                             33-73. (Canceled)



                             74.      (Previously Presented)             The hunting arrow system of claim 13 wherein 1he

                   internal fit component is a half-out insert.




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                   Attorney Docket No. 52802.0036                                                           Application No. 11/269,480


                             75.       (Previously Presented) An arrow, comprising:

                             a h1mting arrow shaft having a spine and an outside diameter.

                             an internal fit component inserted into and secured to a front end of the hunting arrow

                   shaft;

                             wherein upon supplying the spine and the outside diameter to the following equation.

                                       spine (in inches)= -160/15 • the outside diameter (an inches}+ b,

                                      bis no more than 52'15. ·



                             76.       (Previously Presented)             The arrow of claim 75 wherein b is no more than

                   51.5/15.



                             77.       (Previously Presented)             The arrow of claim 75 wherein b is no more than

                    50.4/15.



                             78.       (Previously Presented)             The arrow of claim 75 wherein b is no more than

                    49.6/15.



                             79.       (Previously Presented)             The arrow of claim 75 wherein b is no more than

                    49.1/15.



                             80.       (Previously Presented)          The arrow of claim 75 wherein the spine is no more than

                    approximately 0.520 inches.

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                   Attomey Docket No. 52802.0036                                                           Application No. 11/269,480


                            81.       (Previously Presented)          The arrow of claim 75 wherein the spine is no more than

                   approximately 0.500 inches.



                            82.       (Previously Presented)          The arrow of claim 75 wherein the spine is no more than

                   approximately 0.440 inches.



                             83.      (Previously Presented)            The arrow of claim 75 wherein the outside diameter is

                   no more than. approximately 0.280 inches.



                             84.      (Previously Presented)            The arrow of ~laim 75 wherein the outside diameter is

                   no more then approximately 0.275 inches.



                             85.      (Previously Presented)            The arrow of claim 75 wherein the outside diameter is

                   approximately 0.245 inches to 0.280 inches.



                             86.      (Previously Presented)            The arrow of claim 75 wherein the outside diameter is

                   approximately 0.265 inches.



                             87.      (Previously Presented)            The mow of claim 75 wherein the outside diameter is

                   approximately 0.2?°1 inches.




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                   Atto:mey Docket No. 52802.0036                                                          Application No. 111269,480


                             88.      (Previously Presented)          The anow of claim 75 wherein the spine is no more than

                   approximately 0.500 inches and the outside diameter is approximately 0.245 inches to 0.280

                   inches.



                             89.      (Previously Presented)           The arrow of claim 88 wherein the outside diameter is

                   approximately 0.260 inches to 0.275 inches.



                             90.      (Previously Presented)          The arrow of claim 89 wherein the spine is no more than

                   approximately 0.440 inches.



                             91.      (Previously Presented)           The arrow of claim 75 wherein at least a portion of the

                   hunting arrow shaft has an inside diameter of approximately 0.204 inches.



                             92.      (Previously Presented)           The arrow of claim 75 wherein at least a portion of the

                   hunting arrow shaft has an insi~e diameter of approximately 0.200 inches.



                             93.      (Previously Presented)          The arrow of claim 75 wherein 1he hunting arrow shaft is

                   an FRP hUJiting arrow shaft.




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                   Attorney Docket No. 52802.0036                                                           .Application No. 11/269,480


                          · 94.        (Previously Presented)           The arrow of claim 75 wherein the hunting arrow shaft

                    includes a first end and a first end              wall. the arrow further comprising a point                  including a

                    shoulder. wherein the point is coupled to the first end of the hunting arrow shaft so that the

                    shoulder contacts the first end wall.



                             95.       (Previously P~ted)                    The arrow of claim 75 wherein the internal fit

                    component is an insert which is disposed completely within the hunting arrow shaft.



                             96.       (Previously Presented)                The arrow of claim 75 wherein the internal fit

                    component comprises an insert positioned so that part of the insert· is disposed outside of the

                    hunting arrow shaft.



                             97.       (Previously Presented)            The arrow of claim 96 wherein the insert comprises a

                    half-out insert



                           . 98.       (Previously Presented)            The arrow of claim 75 where the spine is no more than

                    0.500 inches and the outside diameter is approximately 0.245 inches to 0.280 inches, and

                    ·wherein the internal fit component is an insert positioned so that part of the insert is disposed

                    outside of the hunting arrow shaft.



                              99.      (Previously Presented)             The arrow of claim 98 wherein the insert comprises a

                    half-out insert.

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                   Attomey Docket No. 52802.0036                                                           Applica1ionNo. 11/269,480


                             100.     (Previously Presented)           The arrow of claim 75 where tb.e spine is no more tban

                   0.440 inches and the outside diameter is approximately 0.260 inches to 0.275 inches, and

                   wherein the internal fit component comprises an insert positioned so that part of the insert is

                   disposed outside of the hunting Bll'OW shaft.



                             101.     (Previously Presented)           The   aITOW   of claim 100 wherein the insert comprises a

                   half-out insert



                             102.     (Previously Presented) An arrow comprising:

                             a hunting arrow shaft having a spine and an outside diameter; and

                             an internal :fit component coupled to the hunting arrow shaft;

                            wherein upon supplying the spine and the outside diameter 1o the following equation,

                                      spine (in inches)= -160/15 • the outside diameter (m inches)+ b;

                                      b is no more than 52/15.



                             103.     (Previously Presented)             The arrow of claim 102 wherein b is no more than

                   49.6/15.



                             104.     (Previously Presented)            The arrow of c]aim 102 wherein the spine is no more

                   than approximately 0.500 inches.




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                  Attomey Docket No. 52802.0036                                                          Application No. 11/269,480


                             105.    (Previously Presented)           The   8.tl'OW   of claim 102 wherein the spine is no more

                  than approximately 0.440 inches.



                             106.    (Previously Presented)           The arrow of cl3llD. 102 wherein the outside diameter is
                                                        I

                   no more than approximately 0.280 inches.



                             107.    (Previously Presented)            The arrow of claim 102 wherein the spine is no more

                   than approximately 0.500 inches and the outside diameter is approximately 0.260 inches to 0.275

                   inches.



                             108.    (Previously Presented)          The arrow of claim 102 wherein at least a portion of the

                   hunting arrow shaft has an inside diameter of approximately 0.204 inches.



                             l 09.    (Previously Presented)         The arrow of claim I 02 wherein at least a portion of the

                   hunting arrow shaft has an inside diameter of approximately 0.200 inches.



                             110.     (Previously Presented)              The arrow of claim 102 wherein the internal fit

                   com:P.{ment is a half-out insert



                             111.     (Previously Presented)              The arrow of claim I 02 wherein the internal fit

                   component comprises an insert which is disposed completely within the hunting arrow shaft.



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                   Attorney Dock.et No. 52802.0036                                                       Application No. 11/269,480


                             112.     (Previously Presented)              The arrow of claim ·102 wherein the internal fit

                   component comprises an insert configured to receive a noclc.



                             113.     (Previously Presented) A hunting arrow system comprising:

                            a hunting aaow shaft having a spine and an outside diameter,

                            an internal fit comp0nent coupled to the hunting arrow shaft;

                            w ~ the spine and the outside diameter intersect at a point on a plot of spine ve~
                   outside diameter th.at is below and to the left of a straight line that includes a first point having a

                   spine of 0.320 inches and an outside diameter of 0.295 inches, and a second point having a spine

                   of0.480 inches and an.outside diameter of0.280 inches.



                             114.     (Previously Presented)            The hunting arrow system of claim 113 wherein the

                   internal fit component comprises             an insert which is disposed completely within the huntiDg
                   arrow shaft.



                             115.     (Previously Presented)            The hunting arrow system of claim 113 wherein the

                   internal fit component comprises a half--OUt insert.



                          . 116.      (Previously Presented)            The bunting arrow system of claim 113 wherein the

                   internal fit component comprises an insert configured to receive a nock.




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                   Attorney Docket No. 52802.0036                                                          Application No. 11/269,480


                                                                         REMARKS

                             This responds to the Office Action dated 29 January 2007, and follows the in-person

                   interview between Examiner John Ricci and the undersigned attorney, L. Grant Foster. Claims

                   13-32 and 74-116 remain pending in the application..


                   Interview Summary

                             During the recent in-person interview conducted at the U.S. Patent and Trademark Office

                   on 5 April 2007. the Examiner and the undersigned attorney discussed the claims pending in the

                   application. We discussed the background of the invention. including small-diameter hunting

                   arrow shafts that use "outserts," such as those shown in FIG. 2. The term "outscrts" as it

                   suggests, refers to an arrow component that is inserted or installed over the outside diameter of

                   the arrow shaft. Outserts          are used on small-diameter hunting arrow shafts because they allow
                   standard archery components (e.g., points with standard shank diameters) to be installed and

                   utilized in connection with the small-diameter hunting arrow shaft.                           Outserts are, however,

                   objectionable to most archers because of the structure that extends radially beyond the diameter

                    of the shaft. Generally, archers prefer a smooth outer surface of the shaft without any projections

                    (otbe! than fl.etching).           This smooth diameter preference correlates with the general

                    understanding that an arrow will have better aerodynamic efficiency with no radially protruding

                    structures, except for perhaps fletching and broadhead blades, extending beyond the diameter of

                    the arrow shaft.

                          . In addition, outsert noclcs frequently result in mechanical interference with many types of

                    arrow rests when launching the arrow. Most arrow rests hold the arrow in. a particular position

                    when the archery bow is drawn and the arrow is released. With many arrow rests, the arrow

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                   continues to contact the arrow rest as the arrow passes the location of the arrow rest. Contact

                   between the nock outsert and the arrow rest can result in Ullpiedictable disturbances during

-                  launching of the arrow. and therefore will affect the accuracy of the shot.


I                         . Another disadvantage of outserts (in particular, outserts for attaching arrow points)

                   relates to their relative difficulty in extracting the arrow shaft from a target. The increased

                   diameter of the outsert, as compared to the shaft, creates resistance and makes extracting the

                   arrow from various targets difficult. In addition, given the additional resistance created by the

                   outsert, the outsert can be separated from the arrow shaft upon removing the arrow from the

                   target.

                             The claimed invention overcomes· the problems associated with outserts.                                    Each

                   independent claim now recites "internal fit. components" (e.g., h.on-outsett arrow components.

                   such ·as nocb, points, inserts). which are arrow components that do not extend beyond the

                   outside diameter of the small shafts. but not including fletching or broadhead blades.                                The

                   "internal fit component" limitation, :in combination with the claimed diameter and spine

                   limitations, renders the claims allowable over the prior art of record. The penetration benefits of

                   the claimed small diameter and spine characteristics of a hunting arrow shaft m:c explained in

                   association with FIGS. 8, 9, and 10. The testing of prior art hunting                    BD'OW   shafts in comparison

                   to various embodiments according to the present invention are shown in FIG. 12.

                             In discussing the benefits of the claimed invention. Applicant's representative and th~

                   Bxan:i.iner discussed the Wu and Simo prior art patents and their lack of any teaching or

                   suggestion of the claimed invention.

                             To conclude the in-person interview, the Examiner summarized as follows:

                   "Combination of reduced diameter shaft and internal fit component results in significantlY.
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                   Attorney Docket No. 52802.0036                                                           Application No. 11/269,480


                    improved penetration, not suggested by prior art. Affidavit of 8/24/06 should be adequate to

                    explain advantages." The Exro:niner also checked the box that an agreement with respect to the

                    claims was reached.

                                                                       CONCLUSION

                             In view of the foregoing, Applicant respectfully submits that the application should be in

                    condition for allowance. Applicant requests the Examiner to telephone the undersigned attorney

                    to expedite the handling of this matter if their remain any unresolved matters in connection with

                    the present application.

                                                                             Respectfully submitted,




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                                                                             Registration No. 33,236




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       Dated: September 26, 2019

                                          Respectfully submitted,



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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the above document has been

 submitted through the Court's CM/ECF system on September 26, 2019 and accordingly served to

 all counsel of record who are deemed to have consented to electronic service via the Court's

 CM/ECF system.



                                                     By: /s/ Alessandra Glorioso
                                                     Alessandra Glorioso (DE Bar No. 5757)
